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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



   REGENERON PHARMACEUTICALS, INC.
                                           C.A. NO.: 1:22-cv-00697-RGA-JLH
                 Plaintiff,

         v.                                JURY TRIAL DEMANDED

   AMGEN INC.                               REDACTED PUBLIC VERSION
                                            FILED: August 30, 2023
                 Defendant.




              EXHIBITS A – C TO STIPULATION AND [PROPOSED] ORDER
                       REGARDING AMENDED COMPLAINT


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                              EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



   REGENERON PHARMACEUTICALS, INC.
                                                      C.A. NO.: 1:22-cv-00697-RGA-JLH
                  Plaintiff,

          v.                                          JURY TRIAL DEMANDED

   AMGEN INC.                                         ATTORNEYS’ EYES ONLY – FILED
                                                      UNDER SEAL
                  Defendant.




                                     AMENDED COMPLAINT

          Plaintiff Regeneron Pharmaceuticals, Inc. (“Regeneron” or “Plaintiff”) files this

   Complaint against Defendant Amgen Inc. (“Amgen” or “Defendant”) and alleges, upon

   knowledge as to itself and otherwise upon information and belief, as follows:

                                       NATURE OF ACTION

          1.     This is an antitrust case involving an effort to eliminate from the market a life-

   saving medicine that has served thousands of patients. Defendant Amgen is engaged in a persistent

   exclusionary campaign to deny patients the life-saving benefits of Plaintiff Regeneron’s

   cholesterol-reducing medication, Praluent® (alirocumab). And the reason is simple: for years,

   Praluent® has been the only direct competitor to Amgen’s own drug Repatha® (evolocumab) and

   Amgen is doing everything it can to avoid competing with Regeneron on the merits.

          2.      Before commencing the unlawful, anticompetitive bundling scheme challenged

   here, Amgen tried to enlist this Court to enter an injunction and force Praluent® off the market

   entirely, after Praluent® was already approved and being used by patients. Amgen did so by



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   enforcing overbroad patents covering millions of biologic compounds, known as antibodies.

   Amgen sought this injunction even though Praluent® is a novel, patented drug discovered and

   developed by Regeneron with an entirely different chemical structure from Repatha® and with a

   meaningfully differentiated efficacy and safety profile. In addition, Amgen directed its salesforce

   to spread misinformation about Praluent® by communicating that Praluent® would be taken off the

   market as a result of Amgen’s patent litigation campaign. Amgen’s patent challenge to Praluent®

   was ultimately a failure before this Court, the Federal Circuit, and the Supreme Court which

   concluded that Amgen’s patents were invalid and tried to cover compounds (like Praluent®) that

   Amgen had never invented.1

           3.      Now, Amgen has pivoted to an unlawful commercial strategy to try to exclude

   Praluent® from the market.                                                                                ,

   Amgen is engaged in an illegal, anticompetitive bundling scheme forcing key intermediaries (who

   cover and pay for the majority of the cost of these drugs) to jettison Regeneron’s Praluent® in favor

   of Amgen’s Repatha® in order to access substantial rebates on entirely unrelated anti-inflammation

   medications in Amgen’s portfolio that these intermediaries cannot avoid purchasing. Importantly,

   one of these unrelated medications is a monopoly product Amgen acquired in a divestiture ordered

   by the Federal Trade Commission (“FTC”). When the value of these massive, unavoidable

   bundled rebates is compared to the cost of Repatha® standing alone, it becomes clear that Amgen

   is pricing Repatha® so that Regeneron cannot make a viable financial offer to compete.

           4.      Significant, ongoing developments since Regeneron initiated this lawsuit in May


   1
    See Amgen Inc. v. Sanofi, 143 S. Ct. 1243 (2023); Amgen Inc. v. Sanofi, Aventisub LLC, 987 F.3d 1080
   (Fed. Cir. 2021); Amgen Inc. v. Sanofi, Aventisub LLC, 850 F. App’x 794, 796 (Fed. Cir. 2021), petition for
   cert. docketed, No. 21-757 (U.S. Nov. 22, 2021); Amgen Inc. v. Sanofi, No. CV 14-1317-RGA, 2019 WL
   4058927, at *8 (D. Del. Aug. 28, 2019), aff’d sub nom. Amgen Inc. v. Sanofi, Aventisub LLC, 987 F.3d
   1080 (Fed. Cir. 2021).



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   of 2022 serve to fully confirm the details and extent of Amgen’s anticompetitive scheme and the

   harm it is causing.




                                               The anticompetitive content described in black and

   white in Amgen’s documents has been confirmed in depositions with Amgen employees, and—

   on information and belief—will find further support in forthcoming discovery from Third-Party

   Payors and further discovery from Amgen.

          5.      The harm from Amgen’s conduct is not hypothetical and continues to deepen.




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   Amgen’s misconduct has devastated a product that benefits thousands of patients who suffer from

   high cholesterol. Put simply, Amgen has made it economically unfeasible for Regeneron to

   continue selling Praluent®. In 2022, the brand was unprofitable, for the first time since Regeneron

   has marketed the product, due to the anticompetitive marketplace conditions created by Amgen.

   And Praluent® is expected to be unprofitable again in 2023. Specifically, Amgen’s bundling

   scheme has (i) artificially suppressed Praluent® sales by heavily restricting its market access, and

   (ii) imposed artificial and substantially higher costs on the limited Praluent® sales where market

   access is not totally cut off. All of this has continued to worsen since Regeneron initiated this

   action in May of 2022. As a result of Amgen’s ongoing use of a multi-product, bundled rebate

   scheme, Regeneron is now foreclosed from the majority of the formularies of the three largest

   pharmacy benefit managers (“PBMs”), the Third-Party Payors who follow their formularies, and

   many smaller PBMs, too. Amgen’s conduct has also attracted additional scrutiny, as the Federal

   Trade Commission has now brought a suit based on Amgen’s practice of using cross-market

   bundles and expressly adopting Regeneron’s allegations in this case.

          6.      Amgen’s scheme to exclude, hobble, and permanently handicap Praluent® has

   caused Regeneron and the patients it serves significant injury, has harmed competition in the

   relevant market, and violates federal and state antitrust, unfair competition, and tort laws.

   Regeneron commences this action to redress these significant harms.

                                          INTRODUCTION

          7.      This case is about Amgen’s unlawful campaign to entrench its monopoly position

   in the market for a class of drugs known as PCSK9 inhibitors (“PCSK9i”) that help high-risk

   patients lower their low-density lipoprotein cholesterol (“LDL-C”)—often termed “bad

   cholesterol”—and thereby reduce their risk of heart attack, stroke, and cardiovascular disease. See

   Amgen, Inc. v. Sanofi, Aventisub LLC, 872 F.3d 1367, 1371 (Fed. Cir. 2017).


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              8.      Until recently, Regeneron’s Praluent® and Amgen’s Repatha® were the only two2

   PCSK9 inhibitors approved by the U.S. Food and Drug Administration (“FDA”) available in the

   United States. Although they work on the same overall therapeutic pathway—and neither is

   interchangeable with other cholesterol-lowering medications like statins—Praluent® and Repatha®

   are very different drugs both in terms of their chemical structures and their safety and efficacy

   profiles. As Regeneron’s founder, President, and Chief Executive Officer (“CEO”), Dr. Leonard

   Schleifer, MD, PhD, has testified, “[t]hese are incredibly different molecules, totally different in

   structure, totally in their sequence, different in their label,” meaning that “the effect of taking one

   off the market can be rather serious for patients.” Preliminary Injunction Hearing Transcript, at

   93:12-15, Amgen Inc. v. Sanofi, No. CV 14-1317-RGA (D. Del. Aug. 8, 2019), ECF No. 1043 (“PI

   Hearing Tr.”). Among the many unique medical benefits of Praluent® relative to Repatha® are:

   Praluent®’s demonstrated meaningful mortality benefit in clinical trials; Praluent® is available in

   a low-dose option preferred by doctors; Praluent® can be administered to patients with latex

   allergies; Praluent® has been shown to reduce unstable angina requiring hospitalizations; and

   Praluent® has been shown to decrease the need for apheresis (a technique for separating blood

   components to treat certain illnesses). Given these benefits, Praluent® would take significant share

   from Repatha® in the PCSK9i market3 if allowed to compete on its medical merits without the

   exclusionary commercial barriers that Amgen has erected.

              9.      Since the FDA’s approval of Praluent®, Amgen has sought by hook or by crook to

   exclude Praluent® from the market in order to entrench Repatha®’s monopoly position. Amgen

   first pursued an injunction against the sale of Praluent® through a patent litigation campaign in this


   2
       Emphasis is added in bold, italics, or underline, unless otherwise noted herein.
   3
    Unless otherwise noted, all references to the PCSK9i market refer to both the PCSK9i market and, in
   addition and in the alternative, to the Pharmacy-dispensed PCSK9i sub-market. See infra ¶¶ 102–108.



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   Court. But that strategy failed. So Amgen turned to an anticompetitive bundling scheme designed

   to leverage sales of unrelated multibillion-dollar drugs in Amgen’s portfolio to artificially raise the

   effective cost of Praluent® for key intermediaries. That illegal scheme is now having its intended

   effect, depriving Praluent® of a critical mass of market share so that it is no longer a financially

   viable competitor to Repatha®. Of course, the scheme also deprives patients of a unique

   medication that neither Amgen nor anyone else other than Regeneron can provide.

          10.     Amgen’s patent-enforcement campaign against Praluent® in this Court was based

   on excessively broad patents claiming ownership of millions of antibodies—including Praluent®—

   that Amgen had never invented. To be sure, Amgen has a patent that specifically covers Repatha®.

   Amgen, 850 F. App’x at 796 (citing U.S. Patent 8,030,457). But Praluent® is vastly different from

   Repatha® and, accordingly, Amgen’s Repatha® patent does not cover Praluent®. See id. So Amgen

   instead resorted to obtaining and attempting to enforce patents that cover “millions of candidates

   claimed with respect to multiple specific functions,” even though “it is clear that the claims are far

   broader in functional diversity than the disclosed examples” Amgen provided. Amgen, 987 F.3d

   at 1087–88. Amgen pursued litigation against Regeneron that went far beyond merely protecting

   its patent on Repatha® from infringement; it instead sought to exclude Praluent®.

          11.     Further illustrating Amgen’s intent in pursuing its patent claims, Amgen did not

   merely seek damages from Regeneron. Amgen instead sought an injunction against the sale of

   Praluent®, trying to take Praluent® off the market and out of the hands of the patients who needed

   it. Amgen was clear about its motivation for seeking an injunction, alleging that Praluent®’s

   “direct competition in this two-supplier market [was] causing Amgen to suffer price erosion,

   reputational harm, lost sales, and lost market share.” Opening Br. in Support of Motion for

   Permanent Injunctive Relief at 6, Amgen Inc. v. Sanofi, No. CV 14-1317-RGA, (D. Del. Apr. 27,




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   2016), ECF No. 340 (“PI Motion”). To further supplement this patent-litigation campaign,

   Amgen’s sales representatives misleadingly promoted Repatha® with false claims to nurses,

   physicians, and other medical practitioners that Praluent® would soon be removed from the market.

          12.     Had Amgen obtained the injunction it requested, Repatha® would have become the

   monopoly PCSK9 inhibitor product on the market, leaving Amgen with complete control over

   prices and sales. And had Amgen prevailed in its attempt to enforce patents on “millions of

   candidates” for future PCSK9 inhibitors, it would have effectively used the patent system to block

   potential new market entrants and protect Repatha® from competition. Amgen, 987 F.3d at 1088.

          13.     But after many years of litigation, the Court of Appeals for the Federal Circuit held

   that Amgen’s patents were invalid, thereby stopping Amgen’s campaign to use the patent laws to

   exclude Praluent® from the market and rid Repatha® of competition. The Federal Circuit forcefully

   rejected Amgen’s efforts to durably “suppress innovation” by attempting “to control what it has

   not invented”—namely, Praluent®. Amgen, 850 F. App’x at 796. The Supreme Court has since

   affirmed the Federal Circuit’s decision. Amgen, 143 S. Ct. at 1258. In other words, Amgen told

   this Court that it was trying to keep Praluent® off the market because competition was forcing

   Amgen to lower prices and hurt its bottom line.

          14.     Amgen’s efforts to control the PCSK9i market did not end in court: Amgen has

   now crossed the line in the marketplace, implementing a multi-prong anticompetitive commercial

   strategy to unlawfully cement its monopoly position in the PCSK9 inhibitor market. Amgen is

   doing so by leveraging unrelated mega-products in its portfolio—including a recently acquired

   monopoly product—whose combined sales are more than 36 times that of Praluent® to coerce

   intermediaries who cover and pay for the majority of the cost of these drugs into eliminating

   competition in the much smaller PCSK9i market. Amgen’s scheme prevents head-to-head




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   competition between Repatha® and Praluent®, allowing Repatha® to maintain and deepen its

   monopoly position.

          15.     Beginning in 2020, Amgen started conditioning rebates for two of its dominant

   products in much larger, unrelated therapeutic areas upon exclusivity or practical exclusivity

   for Repatha® on the formularies of the key insurers (“Third-Party Payors”), such as pharmacy

   benefit managers (“PBMs”). This ongoing strategic portfolio approach has leveraged and

   continues to leverage Amgen’s massive anti-inflammatory portfolio to secure multi-year favorable

   positioning for Repatha® on PBM formularies. Formulary positioning is critical for Praluent® and

   Repatha®, because PCSK9i prescriptions are, in large part, ultimately paid for by Third-Party

   Payors, and the Payors’ formularies drive which PCSK9 inhibitor—Praluent® or Repatha®—

   physicians will prescribe.

          16.     Amgen’s bundled-rebate scheme represents a radical departure from the norms of

   competition in the PCSK9i market. Amgen and Regeneron for years had competed on the merits

   of Praluent® and Repatha® for formulary positioning with PBMs. But all that changed in 2020,

   when Amgen acquired Otezla®, an oral treatment for moderate-to-severe psoriasis that was so

   dominant that the FTC ordered it divested as a condition for approving the Bristol Meyers

   Squibb/Celgene merger. Amgen outbid other potential acquirers by paying an FTC-record $13.4

   billion for Otezla®, which immediately became Amgen’s third-largest product. The acquisition of

   this non-contestable monopoly product was key to launching Amgen’s anticompetitive scheme, as

   Amgen quickly began using its new monopoly product—together with its other blockbuster

   immunology product, Enbrel®—as the core pillars of its scheme to free itself of the need to

   compete on price with Praluent®.




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          17.     The difference in scale between these blockbuster products and the relatively small

   PCSK9i market is staggering. Praluent® generated just $356 million in total U.S. net sales for

   2020 ($186 million) and 2021 ($170 million). Otezla® and Enbrel®, meanwhile, generated $12.8

   billion in U.S. net sales in the same period, which is more than 36 times what Praluent® generated.

   Put another way, Praluent®’s U.S. net sales amount to only 2.8 percent of what Otezla® and

   Enbrel® generated. Therefore, the threat of paying just 3 percent more for Otezla® and Enbrel®

   easily overwhelms the total amount of sales generated by Praluent®, leaving Payors trapped and

   with no viable choice but to exclude Praluent® from their formularies.

          18.     Accordingly, Amgen threatens to withhold significant rebates on these blockbuster

   products unless Payors accept either outright exclusivity for Repatha® or else “equal” formulary

   position. And “equal” is not really equal for several reasons, including the threat of an injunction

   against the sale of Praluent® (while Amgen’s patent-litigation campaign was still pending), and the

   false claims made by Amgen’s sales force designed to dissuade medical providers from prescribing

   Praluent®. Moreover, Amgen knows full well that it can support its product with a massive sales

   force dedicated to Repatha® alone, as well as the huge sales force it employs to cover its much

   larger portfolio of more than 20 products, that Regeneron cannot possibly match. Thus even where

   Amgen does not achieve outright exclusivity for Repatha®, Amgen can artificially tilt the playing




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   field to influence physicians to prescribe Repatha® over Praluent®, making even “equal” formulary

   position de facto exclusive.

          19.     By conditioning rebates for Otezla® and Enbrel®—

                                                       —on ensuring Repatha® exclusivity or practical

   exclusivity on Third-Party Payor formularies, Amgen has unlawfully excluded Praluent® by

   making it virtually impossible for Regeneron to meaningfully engage in the competitive bidding

   process. Third-Party Payors, of course, are motivated by securing the lowest net prices—that is,

   including rebates—across all of the products they cover. The threat of lost rebates, and, in turn,

   increased prices for Otezla® and Enbrel® constitute a monetary penalty that Regeneron cannot

   match and that Payors cannot afford.



                                                        . Those are substantially larger products in

   unrelated classes where Regeneron markets no drugs and does not compete for the same

   indications. Moreover, Regeneron has a relatively limited drug portfolio with only four products

   that it markets, three of which are overwhelmingly not dispensed as prescription drug via

   pharmacies and, thus, are not subject to significant coverage or reimbursement by Third-Party

   Payors. So Regeneron does not have the practical ability to match Amgen’s multi-product bundled

   rebate offer with its own multi-product bundled rebate offer.

          20.     Amgen’s bundled rebate scheme further excludes competition by pricing Repatha®

   such that Regeneron cannot make a financially viable case for Praluent®. Repatha® generated

   nearly $1.02 billion for Amgen in U.S. net sales for 2020 ($459 million) and 2021 ($557 million),

   which is dwarfed by the $12.8 billion in U.S. net sales generated by Otezla® and Enbrel® in that

   same period. Given this enormous gap in sales, and after allocating the entirety of Amgen’s




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   use outright misrepresentation to steer prescribers away from Praluent®, therefore exacerbates

   these spillover effects. These compounding factors have already artificially limited Praluent®’s

   market access and will continue to cripple Regeneron’s ability to remain a viable competitor.

   Further, if Amgen’s unlawful anticompetitive tactics remain unrestrained by the law, potential new

   entrants will foresee their future foreclosure and refuse to invest (unless they are one of a few giant

   pharmaceutical firms or have products that would not compete as a prescription drug dispensed

   via pharmacies).

          25.     The harm to competition, to Regeneron, and, especially, to patients resulting from

   Amgen’s unlawful anticompetitive behavior is significant. Because of Amgen’s exclusion of

   Praluent®, patients and physicians are deprived of choice in PCSK9 inhibitor treatments and

   competition is harmed by the diminution of competition and resultant higher prices for Repatha®

   in the long term. Regeneron accordingly files this suit to redress this unlawful anticompetitive

   behavior and harm to competition.

                                                PARTIES

          26.     Plaintiff Regeneron is a corporation organized and existing under the laws of the

   State of New York with its principal place of business located at 777 Old Saw Mill River Road,

   Tarrytown, New York 10591. Regeneron is in the business of inventing, developing,

   manufacturing, and marketing a variety of innovative pharmaceutical products. Regeneron

   markets and distributes Praluent® in the United States.

          27.     Defendant Amgen is a corporation organized and existing under the laws of the

   State of Delaware with its principal place of business located at One Amgen Center Drive,

   Thousand Oaks, California 91320. Amgen markets and distributes Repatha®, Enbrel®, and

   Otezla® in the United States.




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                                    JURISDICTION AND VENUE

          28.     This Court has subject matter jurisdiction over all claims asserted against Defendant

   pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1337(a), 15 U.S.C. § 4, 15 U.S.C. § 15, and 15 U.S.C.

   § 26. This Court has supplemental jurisdiction over Plaintiff’s pendent state law claims pursuant

   to 28 U.S.C. § 1367.

          29.     This Court has personal jurisdiction over Amgen under the U.S. Constitution and

   nationwide contacts under Section 12 of the Clayton Act, 15 U.S.C. § 22.

          30.     Venue is proper in this District under Section 12 of the Clayton Act, 15 U.S.C. §

   22, and under 28 U.S.C. § 1391(b) and (c).

          31.     For personal jurisdiction and venue purposes, Amgen may be found in or transacts

   business in this District, including through the marketing and sale of Repatha®, Enbrel®, and

   Otzela®. Amgen’s unlawful behavior was specifically intended to, has had, and will continue to

   have an anticompetitive effect and impact on Regeneron and U.S. consumers in this District, and

   elsewhere. Additionally, Amgen’s patent litigation campaign against Regeneron was pursued in

   this District, including the sought-after injunction that, in turn, Amgen’s sales representatives used

   to discourage physicians from prescribing Praluent® in favor of Repatha®.

                                     INTERSTATE COMMERCE

          32.     The commercialization, development, manufacturing, marketing, sale, and

   distribution of Praluent®, Repatha®, Enbrel®, and Otezla® occurs in interstate commerce.

                                     FACTUAL BACKGROUND

          A.      Treatment of High Low-Density Lipoprotein Cholesterol

                  i.      PCSK9 Inhibitors

          33.     High systemic levels of LDL-C or “bad cholesterol” can lead to heart attacks,

   strokes, and cardiovascular disease. PCSK9 inhibitors eliminate LDL-C by leveraging the body’s


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   natural way of removing LDL-C from the blood. In particular, LDL-C receptors, which are located

   on the surface of liver cells, are responsible for extracting LDL-C from the bloodstream. The

   PCSK9 protein, however, regulates this process by binding to and causing the degradation of these

   LDL-C receptors inside the liver cells. PCSK9 inhibitors prevent PCSK9 from binding to the

   LDL-C receptors, so the receptors are not degraded inside the cell. Therefore, the receptors can

   return to the cell surface and continue the body’s natural process of removing LDL-C from the

   bloodstream. See Amgen, 987 F.3d at 1082.

          34.     While there are other FDA-approved treatments for lowering cholesterol, none is

   reasonably interchangeable with PCSK9 inhibitors. Doctors have historically treated high LDL-

   C levels with drugs called statins. In many cases, however, statins are not enough to bring a

   patient’s LDL-C to a healthy level and/or may not be tolerated by patients due to side effects. In

   those cases, PCSK9 inhibitors are critical. PCSK9 inhibitors therefore serve a unique patient

   population. Doctors typically prescribe only PCSK9 inhibitors for patients at a high risk for

   cardiovascular problems, such as individuals with familial hypercholesterolemia (“FH”), people

   at high risk who are unable to lower their cholesterol using other drugs, or people who are statin-

   intolerant. Clinical trials have shown that PCSK9 inhibitors can reduce cholesterol by 45 or 60

   percent depending on the dose, and can reduce the risk of heart attack, stroke, and, in the case of

   Regeneron’s Praluent®, unstable angina requiring hospitalization in adults with established

   cardiovascular disease.5

                         a.      Regeneron’s Praluent®




   5
       Regeneron Pharmaceuticals, Praluent® (alirocumab) package insert                (April   2021),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.


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          35.     In 2015, Praluent®, which Regeneron invented and brought to market, became the

   first PCSK9 inhibitor to obtain FDA approval. Praluent® is a monoclonal antibody that specifically

   targets and binds to PCSK9 and thereby effectively prevents the patient’s body from stopping the

   degradation of bad cholesterol. Praluent® is a unique and highly effective molecule that is

   structurally and functionally distinct from Repatha® and offers distinctive medical benefits that

   Repatha® does not provide. See Amgen, 872 F.3d at 1372.

          36.     Praluent® “targets PCSK9 to prevent it from binding to and destroying” LDL-C

   receptors. Id. In this way, it permits the receptors to “extract LDL-C thereby lowering overall

   LDL-C levels.” Id. Specifically, when Praluent® binds PCSK9, it almost entirely covers the exact

   region on PCSK9 to which the LDL-C receptor binds. In 2011, the U.S. Patent and Trademark

   Office recognized the novelty of Praluent® and issued Regeneron a patent that covers the precise

   amino acid sequence of Praluent®. Id.; see U.S. Patent No. 8,062,640. The FDA approved

   Praluent® in July 2015, allowing Praluent® to become the first PCSK9 antibody marketed in the

   United States. See Amgen, 872 F.3d at 1372.

          37.     Praluent® is the only PCSK9 inhibitor that demonstrated in clinical trials a

   meaningful mortality benefit. This means that fewer patients died taking Praluent® than taking a

   placebo. As reported in the New England Journal of Medicine, Praluent® showed a 15 percent

   reduction in all-cause mortality and a 29 percent reduction in all-cause death for higher-risk

   patients whose baseline LDL-C is equal to or greater than 100 mg/dL.6 These results were so




   6
    Gregory G. Schwartz, et al., Alirocumab and Cardiovascular Outcomes after Acute Coronary Syndrome,
   379 New Eng. J. Med. 2097–2107, at Table 2 (2018).


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   notable that the FDA allowed Regeneron to include data describing this distinguishing benefit in

   its label.7

             38.   Praluent® is available in two dosage options: a 75 mg low dose and 150 mg high

   dose. These dosage options provide doctors and patients with flexibility to choose either less LDL-

   C lowering with the low dose or more LDL-C lowering with the high dose. This optionality is

   critical. As a practical matter, doctors prefer the low dose and prescribe it more frequently than

   the high dose. Additionally, physicians—including members of the FDA’s advisory panel for

   Praluent® and Repatha®—have expressed concerns about the unknown long-term effects of LDL-

   C levels that are too low.8 Praluent® thus provides doctors with the option of prescribing a low

   dose where appropriate—i.e., prescribing only as much medication as is necessary to treat the

   patient—and preventing any potential long-term effects that could arise from too low LDL-C

   levels.

                           b.      Amgen’s Repatha®

             39.   Amgen, too, developed a PCSK9 inhibitor and obtained FDA approval for the drug

   it markets as Repatha®. Amgen, 872 F.3d at 1371. Like Praluent®, Repatha® “targets PCSK9 to

   prevent it from destroying” LDL-C receptors. Id. Unlike Praluent®, however, Repatha® only

   minimally binds the region on PCSK9 to which the LDL-C receptor binds.




   7
      Regeneron Pharmaceuticals, Praluent® (alirocumab) package insert, at 21 (April 2021),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.
   8
    See Response of Amicus Curiae Practitioners Who Currently Treat Patients with Praluent in Support of
   Appellants’ Motion for Stay Pending Appeal, at 7, filed in Sanofi v. Amgen, Inc., No. 17-1480, (Fed. Cir.
   Jan. 24, 2017), ECF No. 40 (“[T]he amicus practitioners believe that forcing patients to pursue a different
   and higher dosage course of treatment would be medically unnecessary.”).



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              40.   Repatha® further lacks a number of Praluent®’s key benefits. First, Repatha®’s

   clinical trials did not show a mortality benefit.9 In fact, the results showed a slight increase in all-

   cause death and cardiovascular death in patients taking Repatha® as compared with patients taking

   placebo.10

              41.   Second, Repatha® is available only in higher doses—a 140 mg/mL dose and a

   420mg/3.5mL dose. Therefore, unlike Praluent®, Repatha® does not provide doctors and patients

   with a 75 mg dose option or any other low dose equivalent.

              42.   Third, Repatha® is administered via a single-use prefilled syringe, a single-use

   SureClick autoinjector, or a single-use Pushtronex system (which is an on-body infuser with a

   prefilled cartridge)—each of which presents certain disadvantages not presented by Praluent®’s

   administration. Specifically, the Repatha® label warns latex-sensitive patients that the “needle

   cover of the glass single-dose prefilled syringe and the single-dose prefilled autoinjector contain

   dry natural rubber (a derivative of latex) which may cause an allergic reaction in individuals

   sensitive to latex.”11 As a result, certain practitioners believe that, “due to the risks associated with

   Repatha, patients with latex allergies or rubber allergies should not be started on Repatha.”12

   Praluent®, on the other hand, is administered via a single-dose pre-filled pen with a “needle shield

   [that] is not made with natural rubber latex” and is therefore a safer option for patients with latex




   9
    Marc S. Sabatine, et al., Evolocumab and Clinical Outcomes in Patients with Cardiovascular Disease,
   376 New England J. Med. 1713–1722, at Table 2 (2017).
   10
        Id.
   11
        Amgen,    Inc.,    Repatha®     (evolocumab)     package   insert,  at     3       (Sept.    2021),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125522s029s031lbl.pdf.
   12
     See Response of Amicus Curiae Practitioners Who Currently Treat Patients with Praluent in Support of
   Appellants’ Motion for Stay Pending Appeal, at 7, filed in Sanofi v. Amgen, Inc., No. 17-1480, (Fed. Cir.
   Jan. 24, 2017), ECF No. 40.



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   sensitivities.13 Praluent®’s single-dose pre-filled pen is also faster and far easier to use than

   Repatha®’s single-use Pushtronex system, which requires the patient to remain still for five

   minutes following dosage administration.14

           43.     Fourth, Praluent®’s clinical trial data demonstrated a 39 percent reduction in

   unstable angina requiring hospitalizations,15 whereas Repatha® showed no similar effect.16

   Additionally, only Praluent® has been shown to decrease the need for apheresis in patients with

   heterozygous familial hypercholesterolemia (HeFH) who were previously undergoing regular

   apheresis.17

           44.     Regeneron’s founder, President, and CEO, Dr. Leonard Schleifer has testified to

   the differences between the two products and the value to patients of having both on the market.

   “[W]e’re not talking about just having a simple choice where you make aspirin at a company in

   Delaware and another aspirin company in Virginia,” Dr. Schleifer explained. PI Hearing Tr. at

   93:9–11. Rather, “[t]hese are incredibly different molecules, totally different in structure, totally

   in their sequence, different in their label.” Id. at 93:12–14. As a result, Dr. Schleifer added, “the

   effect of taking one off the market can be rather serious for patients.” Id. at 93:14–15. This is

   because “there are some people who don't respond at all to one drug and who respond to the other

   drug,” or sometimes the drugs “lose their efficacy,” and “so you want [patients] to switch” to the


   13
     Regeneron Pharmaceuticals, Praluent® (alirocumab) package insert, at 21 (April 2021),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.
   14
         Amgen,    Inc.,   Repatha®     (evolocumab)     package    insert,  at    3       (Sept.   2021),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125522s029s031lbl.pdf.
   15
     Gregory G. Schwartz, et al., Alirocumab and Cardiovascular Outcomes after Acute Coronary Syndrome,
   379 New Eng. J. Med. 2097–2107, at Figure 2 (2018).
   16
     Marc S. Sabatine, et al., Evolocumab and Clinical Outcomes in Patients with Cardiovascular Disease,
   376 New Eng. J. Med. 1713–1722, at Table 2 (2017).
   17
     Patrick M. Moriarty, et al., Alirocumab in patients with heterozygous familial hypercholesterolemia
   undergoing lipoprotein apheresis: the ODYSSEY ESCAPE trial, 37 European Heart J. 3588–95 (2016).


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   other option “so they can get the benefit of a PCSK9” inhibitor. Id. at 93:21–25, 94:2–4. Dr.

   Schleifer further clarified some of the differences between the two drugs. First, Praluent® “has

   been clearly shown to have an effect on unstable angina.” and “has in its label, in the beta section

   a benefit related to mortality,” which if “you look at Repatha, you don’t see.” Id. at 94:6–12.

   Second, and “maybe this is the most important thing on the safety side,” Praluent® offers “a lower

   dose” to avoid “lower[ing] the LDL so much that you might have a risk . . . that everybody has

   been concerned about.” Id. at 94:15–20. So while the two drugs compete against one another and

   can serve many of the same patients, Dr. Schleifer concluded that “efficacy, safety, the details,

   resistance to the drug,” coupled with the unique benefits Praluent® offers, are “all reasons that

   these two drugs really should be available to patients.” Id. at 95:2–4.

                           c.      Novartis’s Leqvio® (inclisiran)

           45.     Until December 22, 2021, Praluent® and Repatha® were the only two drugs in the

   PCSK9i class that had been approved by the FDA—and thus the only PCSK9 inhibitors that were

   on the market. Very recently, the FDA approved a new PCSK9 inhibitor manufactured by Novartis

   Pharmaceuticals Corporation (“Novartis”) called Leqvio® (inclisiran).18

           46.     Leqvio®, however, is not and cannot be a competitive constraint on Praluent® and

   Repatha®. Unlike Praluent® and Repatha®, which are self-administered by patients outside a

   medical office once every two weeks, Leqvio® will be administered by doctors twice a year

   through a subcutaneous injection. Due to this need for in-office administration, Leqvio® is sold to

   doctors through different sales channels, and is not subject to the same type of contracting and




   18
     See FDA approves Novartis Leqvio® (inclisiran), first-in-class siRNA to lower cholesterol and keep it
   low with two doses a year, NOVARTIS (Dec. 22, 2021), https://www.novartis.com/news/media-
   releases/fda-approves-novartis-leqvio-inclisiran-first-class-sirna-lower-cholesterol-and-keep-it-low-two-
   doses-year.


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   rebating that drive patient access to Praluent® and Repatha®. Rather, Leqvio® is managed as a

   “medical benefit” under Medicare Part B, not a “prescription drug” benefit under Medicare Part D

   (as explained in more detail below).19 Upon information and belief, Third-Party Payors

   administering commercial insurance will manage Leqvio® the same way, as a “medical benefit.”

   In other words, Leqvio® is not going to be subject to the same PBM-driven payment structure as

   Praluent® and Repatha®, where patients buy the drug and Third-Party Payors pay a portion of the

   cost that is determined through contracts negotiated between manufacturers and PBMs. Instead,

   Leqvio® is being launched using a “buy-and-bill” payment system, which is where physicians and

   providers buy the drug and bill the costs after administering it to patients.20 Under the program,

   physicians and providers will reportedly be reimbursed the average selling price plus 6 percent.21

          47.     Leqvio® also differs from Praluent® and Repatha® in a number of other ways.

   While Praluent® and Repatha® are antibody therapies that bind to the PCSK9 protein to prohibit

   its binding to LDL-C receptors, Leqvio® is a small interfering RNA (“siRNA”) therapy that

   interferes with the synthesis of the PCSK9 protein itself. The prices of the drugs are different, too.

   The list price of Leqvio® at launch is reported to be $3,250 per injection, or $9,750 for the first

   year based on a schedule of three doses, and $6,500 annually for two doses per subsequent year.22


   19
     Angus Liu, Novartis aims to avoid pitfalls of earlier PCSK9 launches with its new blockbuster hopeful
   Leqvio, FIERCE Pharma (Dec. 22, 2021), https://www.fiercepharma.com/marketing/novartis-belated-
   leqvio-fda-approval-avoid-pitfalls-amgen-regeneron-pcsk9-cholesterol.
   20
     Id.; see also Novartis AG, Novartis enters into agreement to acquire The Medicines Company: Investor
   Presentation, at 22 (Nov. 25, 2019), https://www.novartis.com/sites/www.novartis.com/files/novartis-
   agreement-acquire-medicines-company-investor-presentation.pdf (identifying flexibility of U.S. market
   access strategy through a “buy-and-bill” payment system).
   21
        See Jessica Merrill, Novartis Sees Reimbursement Advantage for PCSK9 Launch,
   https://pharmaintelligence.informa.com/resources/product-content/novartis-sees-reimbursement-
   advantage-for-pcsk9-launch (last visited May 25, 2022).
   22
       Q4 2021 Results Investor Presentation, NOVARTIS (Feb. 2, 2022), at slide 30
   https://www.novartis.com/sites/novartis_com/files/q4-2021-investor-presentation.pdf;            Michael
   O’Riordan, Pricey Inclisiran Is Rolling Out: a ‘Buy-and-Bill’ Model May Smooth Its Path, tctMD (Jan. 17,


                                                    22
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   Praluent® and Repatha®, on the other hand, are less expensive and cost roughly $220 to $230 per

   injection, or $6,000 annually based on a schedule of 26 doses per year. Since its launch, sales for

   Leqvio® have been “not meaningful” according to Novartis.23 Additionally, unlike Praluent®

   which demonstrated a meaningful mortality benefit,24 “the effect of Leqvio® on cardiovascular

   morbidity and mortality has not been determined.”25 Finally, unlike Praluent®, Leqvio® is not

   indicated to lower dangerous cardiovascular events such as heart attack or stroke in patients with

   established cardiovascular disease.26

                   ii.     Other Drugs for Lowering Bad Cholesterol

            48.    While there are other FDA-approved treatments for lowering bad cholesterol, none

   of these treatments has the same mechanism of action as PCSK9 inhibitors. These other treatments

   are also not used interchangeably with, and do not otherwise compete closely with, PCSK9

   inhibitors. Additionally, most are substantially less expensive than Praluent® and Repatha®, which

   cost approximately $500 per month or $6,000 per year. While “[m]ost patients do not pay the list

   price”27 for PCSK9 inhibitors, the pricing of other FDA-approved drugs does not constrain the




   2022),     https://www.tctmd.com/news/pricey-inclisiran-rolling-out-buy-and-bill-model-may-smooth-its-
   path.
   23
     2022 Q1 Results Presentation & Transcript, NOVARTIS, at slide 7, https://www.novartis.com/investors/
   financial-data/quarterly-results/2022-q1-transcript.
   24
     Gregory G. Schwartz, et al., Alirocumab and Cardiovascular Outcomes after Acute Coronary Syndrome,
   379 New Eng. J. Med. 2097-2107, at Table 2 (2018).
   25
     Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1, (last visited May 25, 2022),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf
   26
     Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1, (last visited May 25, 2022),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf ; Regeneron Pharmaceuticals,
   Praluent®       (alirocumab)        package         insert,     at        1       (April      2021),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.
   27
     See Paying for Repatha®, (last visited May 25, 2022), https://www.repatha.com/repatha-cost; see also
   Starting & Paying for PRALUENT, (last visited May 25, 2022), https://www.praluent.com/starting-
   andpaying-for-praluent-rx/.


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   pricing of PCSK9 inhibitors.28 Other FDA-approved treatments for lowering bad cholesterol

   include:

           •       Statins: Statins, which were first released in 1987,29 are HMG-CoA reductase
                   inhibitors that work in the liver and prevent cholesterol from forming. Statins are
                   oral medications that may be used in combination with other FDA-approved drugs
                   to increase their effectiveness. There are several brand name and generic versions
                   of statins available in the United States, including Atorvastatin (Lipitor®),
                   Fluvastatin (Lescol®), Lovastatin (Mevacor®, Altoprev®), Pravastatin (Pravachol®,
                   Livalo®, Zypitamag™), Rosuvastatin Calcium (Crestor®), and Simvastatin
                   (Zocor®). Some generic statins cost patients less than $1 per tablet.30

           •       Ezetimibe: Like statins, Ezetimibe and its brand name version, Zetia®, is a tablet
                   that patients ingest orally. Ezetimibe lowers cholesterol by preventing its
                   absorption in the intestines. The FDA first approved Zetia® in late 2002 and
                   approved the generic version in December 2016.31 The average net cost for Zetia®
                   is about $20 per 30-day supply, while a 30-day supply of the generic version may
                   cost less than $1 for some patients.32

           •       Adenosine triphosphate-citrate lyase (“ACL”) inhibitors: The FDA recently
                   approved two types of ACL inhibitors, Nexletol® and Nexlizet®. Nexletol® is a
                   form of bempedoic acid whereas Nexlizet® is bempedoic acide and ezetimibe.33
                   Like statins, ACL inhibitors prevent the liver from producing cholesterol, but ACL



   28
     While both Regeneron and Amgen reduced the list price of Praluent® and Repatha® by 60 percent from
   their initial launch price in response to competition from one another, Repatha® and Praluent both cost
   approximately $500 per month for patients without insurance copayments or other discounts, while the cost
   of other FDA-approved cholesterol drugs mostly range from $1-$15 per month. See, e.g., Sanofi and
   Regeneron offer Praluent® (alirocumab) at a new reduced U.S. list price, (Feb. 11, 2019),
   https://www.news.sanofi.us/2019-02-11-Sanofi-and-Regeneron-offer-Praluent-R-alirocumab-at-a-new-
   reduced-U-S-list-price;        Paying      for   Repatha®,      (last    visited   May      25,     2022),
   https://www.repatha.com/repatha-cost.
   29
     U.S. Food & Drug Admin, Statins: A Success Story Involving FDA, Academia, and Industry,
   https://www.fda.gov/media/110452/download (last visited May 25, 2022).
   30
         Lauren   Chase,   How      much     do   Statins       Cost?,    GoodRx®       (Feb.    4,   2020),
   https://www.goodrx.com/blog/statin-pricing-comparison/.
   31
     Ronilee Shye, Generic Zetia for High Cholesterol Now Available, GoodRx® (Jan. 9, 2017),
   https://www.goodrx.com/blog/generic-zetia-for-high-cholesterol-now-available/.
   32
     Ezetimibe Prices, Coupons and Patient Assistance Programs, Drugs.com, https://www.drugs.com/price-
   guide/ezetimibe#oral-tablet-10-mg (last visited May 25, 2022).
   33
         Cholesterol Medications, American Heart Association, https://www.heart.org/en/health-
   topics/cholesterol/prevention-and-treatment-of-high-cholesterol-hyperlipidemia/cholesterol-medications
   (last visited May 25, 2022).



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                  inhibitors target a different part of the process. Nexletol® and Nexlizet® are taken
                  orally and cost about $300 for a 30-day supply.34

          •       Bile Acid Sequestrants: Bile acid sequestrants work by binding bile acids that
                  contain cholesterol to an insoluble complex. Because this complex cannot be
                  dissolved in the body, it and the cholesterol is excreted rather than being absorbed.
                  Bile acid sequestrants may be ingested in a tablet form or by mixing a powder with
                  water. Like statins, there are several brand and generic forms available in the
                  United States, including Cholestyramine (Questran®, Questran® Light, Prevalite®,
                  Locholest®, Locholest® Light), Colestipol (Colestid®), and Colesevelam Hcl
                  (WelChol®). Bile acid sequestrants have been available to treat cholesterol since
                  the late 1990s and may cost patients less than $1 per dose.35

          B.      The Role of Third-Party Payors in the PCSK9i Market

          49.     The PCSK9 inhibitor market in which Praluent® and Repatha® participate operates

   through several key intermediaries and meaningfully relies on pricing through negotiated rebates.

   After a physician prescribes Praluent® or Repatha®, patients transact with the pharmacy at which

   they fill their prescription, usually paying only a copayment—or “copay”—that is an amount (or

   a portion of the drug’s list price) that is set by the plan sponsor and the insurance provider.

   Insurance companies, in turn, pay the pharmacy based on the drug’s list price. The insurance

   company then receives a negotiated rebate from the manufacturer. Most insurance companies

   contract with an intermediary, called a PBM, to manage this interaction between the pharmacies

   and manufacturers.

          50.     For the commercial segment of the market, PBMs handle the pharmacy benefit of

   all types of private group health plan sponsors, such as HMO plans, self-insured employer plans,

   indemnity plans, labor union plans, and plans covering public employees. Similarly, on the public




   34
     Alex Evans, FDA Approves Nexletol, a New Kind of Cholesterol Medication – Here’s What You Need to
   Know, GoodRx® (Mar. 13, 2020), https://www.goodrx.com/blog/fda-approves-nexletol-for-high-
   cholesterol/.
   35
     Cholestyramine Prices, Coupons and Patient Assistance Programs, https://www.drugs.com/price-
   guide/cholestyramine#oral-powder-for-reconstitution-4-g-5-g (last visited May 25, 2022).



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   side, the federal government contracts with private insurance companies to administer healthcare

   to Medicare beneficiaries.36 Medicare benefits are grouped into four parts; Part D, most relevant

   here, provides prescription drug coverage.37 To fulfill their contracts with the federal government,

   most private insurance companies responsible for administering Medicare plans contract with

   PBMs to manage the prescription drug benefits under Medicare Part D.38 According to the U.S.

   Government Accountability Office, PBMs manage about 74 percent of Medicare Part D plans.39

              51.    Together, these PBMs and other health insurance providers are referred to as

   “Third-Party Payors.” The significant majority of patients with prescription drug insurance

   coverage—whether that is through a commercial or government insurance provider—receive their

   benefits through a Third-Party Payor.40

              52.    Access to a Third-Party Payor’s drug formulary—that is, the Third-Party Payor’s

   official list of covered medications, which determines how much a patient will pay for them—is

   critical to the success of many branded drugs, including self-administered PCSK9 inhibitors.

   According to a joint report on competition in the health care industry by the U.S. Department of



   36
      Medicare Part D, MEDICARE INTERACTIVE.org, https://www.medicareinteractive.org/get-
   answers/medicare-basics/medicare-coverage-overview/medicare-part-d (last visited May 25, 2022).
   37
     The remaining parts are: Part A, which, provides medical benefit coverage for inpatient and hospital
   services; Part B, which, provides medical benefit coverage for outpatient services (such as regular doctor’s
   office visits or, as described above, in-office injections of Novartis’ Leqvio®); and Part C, which offers an
   alternative to “original” Medicare through a “Medicare Advantage Plan.” See The parts of Medicare (A, B,
   C, D), MEDICARE INTERACTIVE.org, https://www.medicareinteractive.org/get-answers/medicare-
   basics/medicare-coverage-overview/original-medicare (last visited May 25, 2022).
   38
     See MEDICARE PART D Use of Pharmacy Benefit Managers and Efforts to Manage Drug Expenditures
   and Utilization, U.S. Government Accountability Office, (July 2019), https://www.gao.gov/assets/gao-19-
   498.pdf.
   39
        Id. at 14.
   40
     See, e.g., Examining the Drug Supply Chain: Hearing Before the Subcomm. on Health of the H. Comm.
   on Energy & Commerce, 115th Cong. 77 (Dec. 13, 2017) (statement of Mark Merritt, President,
   Pharmaceutical Care Management Association), https://docs.house.gov/meetings/IF/IF14/20171213/
   106730/HHRG-115-IF14-Wstate-MerrittM-20171213.pdf.


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   Justice and the FTC, the formulary is the “main tool” that Third-Party Payors use to manage

   pharmacy benefits.41 The amount that a patient will pay is determined based on the drug’s

   placement on the following commonly-used formulary “tiers”:

              •     “Tier 1” to “Tier 3” designate ascending rates of co-pays designed to create an
                    incentive for the enrollee to prefer the lowest cost, yet clinically effective,
                    alternative. Co-pays significantly influence drug utilization.

              •     “Prior Authorization” is normally reserved for drugs that treat conditions or
                    illnesses not otherwise covered by plans, have high costs, have a high potential for
                    abuse, or are ordered in unusual quantities.

              •     “Not Covered” requires patients to pay full retail price—without rebates—rather
                    than a co-pay under their insurance plans.

              53.   Medicare Part D plans also typically use tier placement and other formulary

   management tools, such as prior authorization.42 Some plans also include a “specialty tier” in

   addition to Tier 1, Tier 2, and Tier 3.43 The specialty tier applies to high-cost prescription drugs

   (currently, the specialty tier threshold price for Medicare Part D plans must exceed $670 per

   month),44 which may result in higher co-pays. 45 Most Medicare Part D plans initially placed

   PCSK9i drugs on a specialty tier, but once Regeneron and Amgen lowered prices for their

   respective PCSK9i drugs, the Centers for Medicare & Medicaid Services recommended that the



   41
     U.S. Dep’t of Justice & FTC, Improving Health Care: A Dose Of Competition, Ch. 7, IV. B (July 2004),
   https://www.ftc.gov/sites/default/files/documents/reports/improving-health-care-dose-competition-
   reportfederal-trade-commission-and-department-justice/040723healthcarerpt.pdf.
    U. S. Dep’t of Health & Human Services: Centers for Medicare & Medicaid Services, Your Guide to
   42

   Medicare Prescription Drug Coverage, at 28-29, (Sept. 2019) https://www.medicare.gov/Pubs/pdf/11109-
   Your-Guide-to-Medicare-Prescrip-Drug-Cov.pdf.
   43
        Id.
   44
     U. S. Dep’t of Health & Human Services: Centers for Medicare & Medicaid Services, Updated Contract
   Year (CY) 2021 Final Part D Bidding Instructions, at 2 (May 22, 2020),
   https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-
   documents/2021%20mtm%20and%20specialty%20thresholds%20final%20part%20d%20bidding%2005.
   22.2020_8.pdf.
   45
        Id.



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   PCSK9i class of drugs be removed from this specialty formulation tier to provide patients with

   easier and expanded access to these potentially life-saving drugs.46 Now most Medicare Part D

   plans include PCSK9i drugs as a non-preferred drug, listed on Tier 3.47

              54.      Since Praluent® and Repatha® are distributed to individual patients and caregivers

   directly, rather than through hospitals or health care providers, patients receive these PCSK9

   inhibitors as part of their private drug insurance coverage or through Medicare Part D. Given the

   cost of these PCSK9 inhibitors, which have list prices of nearly $500 per month,48 prescribers and

   patients will often opt for the medication that is covered by the patient’s insurance plan with the

   least hassle or lowest out-of-pocket costs. As just explained, those costs are substantially

   determined by formulary position. As a result, knowing well the influence of formulary

   positioning, manufacturers compete to offer Third-Party Payors attractive rebates to ensure

   advantaged formulary positioning for the manufacturers’ own products. Third-Party Payors, in

   turn, decide formulary positioning for comparable drugs in a way that will reduce their total net

   cost, taking all applicable manufacturer rebates into account. Negotiations between Third-Party

   Payors and competing manufacturers generate price concessions, discounts, and rebates from the

   nominal “list prices” at which manufacturers sell drugs, and have been recognized by some as “one

   of the few proven methods of lowering prescription drug prices.”49 PBMs will generally pass the


   46
     Letter from the Centers for Medicare & Medicaid Services to Rep. Joyce Beatty, (Aug. 26, 2019),
   https://twitter.com/TheFHFoundation/status/1167570597930573824/photo/1.
   47
     Affordable Patient Access to PCSK9 Inhibitors Remains Challenging Across Part D Plans in 2020, (Nov.
   12,       2019),       https://avalere.com/insights/affordable-patient-access-to-pcsk9-inhibitors-remains-
   challengingacross-part-d-plans-in-2020.
   48
      See Paying for Repatha®, (last visited May 25, 2022), https://www.repatha.com/repatha-cost;
   Information for Colorado Prescribers Provided Pursuant to Colorado House Bill 19-1131, (last visited
   May 25, 2022), https://www.regeneron.com/downloads/codrugcosteducation_praluent.pdf; see also
   Complaint, at 4–5, Pharma. Care Mgmt. Assoc. v. U.S. Dep’t of Health and Human Servs., No. 21-cv-
   02161 (D.D.C. Aug. 12, 2021), ECF No. 1.
   49
        See id. ¶ 6.


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   savings onto the health insurance providers and plan sponsors, who can then pass on these savings

   to their beneficiaries.50

              55.   Importantly, Third-Party Payors primarily negotiate—and leverage competition

   between—those drugs that are paid for by patients. Thus, for these types of drugs, market access

   is determined almost entirely through contracts negotiated between manufacturers and Third-Party

   Payors. By contrast, most drugs that physicians administer during office visits or that are

   administered in the hospital are not subject to these types of rebate agreements or the Third-Party

   Payor-manufacturer negotiating process for formulary position. That is why, Leqvio®, which is

   administered through subcutaneous injection during in-office doctor visits,51 is not and cannot be

   a competitive constraint or factor in the Third-Party Payor negotiations for self-administered

   PCSK9 inhibitors.

              56.   Express Scripts (“ESI”), UnitedHealthcare/OptumRx (“UHC/Optum”), and CVS

   Caremark (“CVS”) are the three most dominant Third-Party Payors—the “big three”—for both

   the Commercial and Medicare Part D segments of the PCSK9i market and collectively account for

   more than three quarters of all prescriptions filled and represent more than 80 percent of all insured

   lives in the United States and more than 70 percent of Commercial PBM lives.52 Recently, a


   50
        See id.
   51
     “Novartis receives EU approval for Leqvio®* (inclisiran), a first-in-class siRNA to lower cholesterol with
   two doses a year**,” (Dec. 11, 2020), https://www.novartis.com/news/media-releases/novartis-receiveseu-
   approval-leqvio-inclisiran-first-class-sirna-lower-cholesterol-two-doses-year.
   52
     See Statement of David E. Mitchell, Founder, Patients for Affordable Drugs, Hearing Before Subcomm.
   on Competition Policy, Antitrust, and Consumer Rights, “A Prescription for Change: Cracking Down on
   Anticompetitive Conduct in Prescription Drug Markets”, 117th Cong. 13 (July 13, 2021),
   https://www.judiciary.senate.gov/imo/media/doc/David%20Mitchell%20Written%20Testimony%20.pdf.
   At least some of the power PBMs exert over the market can be attributed to increased consolidation that
   has “has essentially created an oligopoly of integrated healthcare companies.” Letter from Alliance for
   Pharmacy Compounding, et al. to FTC and DOJ Antitrust Division re: Federal Trade Commission and
   Department of Justice’s Draft Vertical Merger Guidelines (Feb. 26, 2020) at 2,
   https://www.ftc.gov/system/files/attachments/798-draft-vertical-merger-guidelines/02-26-20_joint_
   pharmacy_stakeholder_comments_-_ftc_doj_draft_vertical_merger_guidelines.pdf. The three Third-Party


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   significant shift in the Third-Party Payor landscape has taken place with the rise of group

   purchasing organizations (“GPOs”) like Ascent and Zinc who negotiate drug rebates on behalf of

   PBMs like ESI and CVS respectively. Furthermore, through vertical business relationships and

   reorganizations, these big three Third-Party Payors influence and negotiate on behalf of regional

   and custom formularies, impacting their formulary decision-making and increasing the impact of

   the formulary decisions made by the “big three” PBMs in controlling access at smaller PBMs.

           57.     As this description of the role of formularies in driving patient and provider

   decision-making makes clear, adverse formulary treatment can dramatically restrict patient access.

   If a particular PCSK9i drug is blocked from a formulary and listed as “Not Covered” or “Prior

   Authorization” (“NC” or “PA”), patients will not have access to that drug, or at best will have

   access only in special cases where their provider has obtained prior authorization from the health

   plan before prescribing the drug. According to the U.S. General Accounting Office, drugs are

   normally listed as PA only when they “treat conditions or illnesses not otherwise covered by plans,

   have high costs, have a high potential for abuse, or are ordered in unusual quantities.”53 As the

   FTC has recognized, “[g]etting favorable placement on a PBM’s formulary can be the key to

   success for a drug product” because “[i]f a drug maker’s product is not on [a PBM’s] formulary,

   patients cannot use their insurance to cover the costs of the drug.”54


   Payors that dominate the PCSK9i market are no exception: “In the past two years alone, CVS Health (which
   was already both the single largest pharmacy chain in the country and the second largest PBM) acquired
   Aetna (the third-largest health insurance company in the country); and Cigna (another of the so-called ‘big-
   five’ health insurers) acquired Express Scripts (the largest PBM). The third major PBM (OptumRx) is
   already affiliated with the single largest health insurer in the country (UnitedHealthcare).” Id. at 1–2
    U.S. General Accounting Office, “Effects of Using Pharmacy Benefit Managers on Health Plans,
   53

   Enrollees, and Pharmacies”, at 13 (Jan. 2003), http://www.gao.gov/new.items/d03196.pdf.
   54
     Federal Trade Commission, “Statement of Commissioner Rohit Chopra Regarding the Commission’s
   Report on Pharmacy Benefit Manager Rebate Walls”, at 1 (May 28, 2021),
   ftc.gov/system/files/documents/public_statements/1590528/statement_of_commissioner_rohit_chopra_re
   garding_the_commissions_report_on_pharmacy_benefit_manager.pdf.


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              58.     Regeneron’s own experiences illustrate the degree to which formulary positioning

   severely impacts sales. Since Praluent® has been excluded from ESI Commercial’s formulary

   effective January 1, 2021 (as explained in more detail below), its share of PCSK9i sales for ESI

   Commercial’s covered patients has plummeted in six months from about 24 percent to about 5

   percent—a precipitous decline of almost 80 percent.

              C.      Amgen’s 2020 Acquisition of Monopoly Product Otezla®

              59.     Otezla® “is the most popular oral product approved to treat moderate-to-severe

   psoriasis in the United States” and faces little to no competition from other, “older oral generic

   products” approved to treat psoriasis that are only “occasionally used.”55

              60.     Otezla®’s market position is so dominant that the FTC required its divestment upon

   the merger of BMS and Celgene Corporation (“Celgene”) after the FTC found in its Analysis of

   Agreement Containing Consent Orders to Aid Public Comment that Celgene—the pharmaceutical

   company that originally marketed Otezla®—“is currently the market leader and BMS would

   likely be the next entrant into the market”56 and that, as a result, the merger would harm consumers

   in the U.S. market for treatments taken orally for moderate-to-severe psoriasis by eliminating

   future competition to Otezla®.57


   55
     Federal Trade Commission, “Analysis of Agreement Containing Consent Orders to Aid Public Comment”
   at 2 (Nov. 15, 2019), https://www.ftc.gov/system/files/documents/cases/bms-celgene_aac.pdf. Although
   Bristol-Myers Squibb Company (“BMS”) is currently developing a new product in this area, that product
   has not yet been approved for use in any country. BMS, “Bristol Myers Squibb Presents Positive Data
   from Two Pivotal Phase 3 Psoriasis Studies Demonstrating Superiority of Deucravacitinib Compared to
   Placebo and Otezla® (apremilast),” (April 23, 2021), https://news.bms.com/news/details/2021/Bristol-
   Myers-Squibb-Presents-Positive-Data-from-Two-Pivotal-Phase-3-Psoriasis-Studies-Demonstrating-
   Superiority-of-Deucravacitinib-Compared-to-Placebo-and-Otezla-apremilast/default.aspx.
   56
        Id. at 2–3.
   57
     Federal Trade Commission, “FTC Requires Bristol-Myers Squibb Company and Celgene Corporation to
   Divest Psoriasis Drug Otezla as a Condition of Acquisition,” (Nov. 15, 2019),
   https://www.ftc.gov/newsevents/press-releases/2019/11/ftc-requires-bristol-myers-squibb-company-
   celgene-corporation.



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          61.      In January 2020, Amgen capitalized on the opportunity created by the FTC’s

   complaint and paid over $13.4 billion to acquire Otezla®, outbidding several other interested

   buyers, in the largest divestiture sale ever ordered in a merger enforcement matter.58 After

   spending this record-breaking sum to acquire a new monopoly product, Amgen wasted no time in

   putting it to work to benefit a smaller drug in Amgen’s portfolio—Repatha®—much to the

   detriment of Regeneron’s Praluent® and competition in the PCSK9i market.

          D.       Amgen’s Intent to Exclude Praluent®

          62.      Since prior to the FDA’s approval of Praluent® in 2015, Amgen has tried to block

   Praluent® from competing in the PCSK9i market. Before commencing the challenged illegal

   anticompetitive bundled rebate scheme, Amgen sought to exclude Praluent® as a competitor to

   Repatha® through a patent-infringement lawsuit in this Court seeking an injunction to stop the

   sales of Praluent® outright. But, after many years of costly litigation, this effort failed with this

   Court and the Court of Appeals for the Federal Circuit holding Amgen’s patents invalid and

   criticizing Amgen for trying “to control what it has not invented”—namely, Praluent®. Amgen,

   850 F. App’x at 796.

          63.      Amgen’s patent infringement campaign began even before FDA approved the

   Praluent® Biologics License Application. In October 2014, Amgen filed a complaint in this Court

   alleging that Praluent® infringed two Amgen patents. Critically, the asserted Amgen patents did

   not specifically disclose Praluent® or a drug structurally similar to Praluent®. Rather, Amgen

   sought to claim with its patents’ exclusive rights to millions of undisclosed PCSK9-inhibiting




   58
     Federal Trade Commission, “FTC Approves Final Order Requiring Bristol-Myers Squibb Company and
   Celgene Corporation to Divest Psoriasis Drug Otezla as a Condition of Acquisition,” (Jan. 13, 2020),
   https://www.ftc.gov/news-events/press-releases/2020/01/ftc-approves-final-order-requiring-bristol-myers-
   squibb-company.


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   antibodies—including Praluent®—and thereby effectively close the PCSK9i market to Praluent®

   and any future entrants.

          64.     As part of its litigation strategy, Amgen took the aggressive step of asking for an

   injunction to stop the manufacture and sale of Praluent®, even though Praluent® has an entirely

   different chemical structure from Repatha® with a distinctive clinical profile, and required its own

   separate clinical trials to obtain approval. Amgen’s requested injunction would have denied

   Praluent® even to the patients, who, as Regeneron’s Dr. Schleifer testified, “don’t respond at all to

   [Repatha®] and who respond to [Praluent®],” as well as the many patients who stand to benefit

   from the many distinctive advantages that Praluent® has that Repatha® lacks. PI Hearing Tr. at

   94:3–4.

          65.     Amgen was clear as to its aim in seeking an injunction: to prevent Praluent® from

   competing with Repatha® in the PCSK9 inhibitor market. As Amgen told this Court, “direct

   competition in this two-supplier market is causing Amgen to suffer price erosion, reputational

   harm, lost sales, and lost market share,” and, if allowed to continue, such competition “threatens

   to disrupt the very business model on which Amgen depends for the long-term, autonomous

   operation of its business.” PI Motion at 6. In so arguing, Amgen recognized the significance of

   rebates given to Third-Party Payors as a key driver of competition in the PCSK9i market. The

   competition between Repatha® and Praluent®, Amgen explained, allowed Payors “to pit the parties

   against each other to extract larger and larger rebates and other concessions as a condition to being

   included (even in a parity position) on national formularies.” Id. This “head-to-head competition”

   between the two products—in which “a sale to defendant is the loss of sale to plaintiff”—

   “triggered competitive contracts for exclusive formulary position” and “forced Amgen to give []

   unprecedented concessions.” Id. at 7, 9 (citation omitted). And Amgen had “every reason to




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   believe this will continue over the term of the patents.” Id. at 7. The effects of this competition,

   Amgen added, could be dire for Amgen, as “[w]ithout an injunction, Amgen will be unable to fully

   recoup its investment in Repatha®” and “Amgen's future ability to invest in innovation as an

   autonomous enterprise will be compromised.” Id. at 11.

           66.     Amgen was initially successful in obtaining an injunction before this Court—

   notwithstanding this Court’s own conclusion, after noting Praluent®’s unique low-dose option, that

   the public interest counsels against an injunction because “[t]he public generally is better served

   by having a choice of available treatments.” See Memorandum Order at 6, Amgen Inc. v. Sanofi,

   No. CV 14-1317-RGA, (D. Del. Jan. 5, 2017), ECF No. 392. But the Federal Circuit stayed the

   injunction pending appeal and ultimately vacated it wholesale, explaining that a court may not

   issue an injunction in this context when doing so disserves the public interest. See Amgen, 872

   F.3d at 1381. Amgen was thus stymied in its attempt to use the courts to take Praluent® off the

   market completely, and the competition with Repatha® that Amgen sought to eliminate persisted.

           67.     Nevertheless, Amgen’s litigation strategy still succeeded in decreasing Praluent®’s

   market share. Even though Praluent® remained on the market, the looming injunction order

   created uncertainty that Praluent® could be removed from the market at any moment.59 This

   caused a chilling effect that allowed Amgen’s Repatha® to emerge as the market leader. After the

   district court issued its injunction order, Praluent®’s market share began to steadily decline. By


   59
     Mary Caffrey, “Judge Won’t Stay Injunction of Praluent Sales During Appeal,” AJMC The Center for
   Biosimilars (Jan. 10, 2017), https://www.ajmc.com/view/judge-wont-stay-injunction-of-praluent-sales-
   during-appeal (“This ruling means that barring a settlement or a reversal on appeal, Sanofi and Regeneron
   could be forced to stop selling Praluent within 6 weeks.”); Tracy Staton, “Sanofi, Regeneron avoid
   Praluent disaster as appeals court stays injunction in PCSK9 patent case,” FiercePharma (Feb. 8, 2017),
   https://www.fiercepharma.com/pharma/sanofi-regeneron-avoid-praluent-disaster-as-appeals-court-stays-
   injunction-pcsk9-patent-case (“Regeneron and Sanofi won’t have to pull Praluent off the market after all—
   at least not yet.); Sue Setter, “PCSK9 Patent Case: Praluent Injunction Vacated, But May Well Return,”
   Medtech        Insight       (Oct.    5,     2017),      https://medtech.pharmaintelligence.informa.com/
   PS121706/PCSK9-Patent-Case-Praluent-Injunction-Vacated-But-May-Well-Return.


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   early 2018, Praluent® had lost, and Repatha® had gained, almost 15 points in market share with

   the overhang of the patent litigation and possible injunction.60

              68.     Even though Amgen was unable to ultimately secure an injunction taking Praluent®

   off the market, it nonetheless succeeded in starting to erode Praluent®’s market share. Amgen

   continued its quest for an injunction by pursuing its patent litigation on appeal, where the Federal

   Circuit rejected Amgen’s overbroad patents as invalid. Amgen, the panel explained, was not

   merely defending Repatha® but was instead trying to “control what it has not invented” and thereby

   “suppress innovation” in the PCSK9i market. Amgen, 850 F. App’x at 795.

              69.     On May 18, 2023, the Supreme Court unanimously affirmed the Federal Circuit’s

   judgment that Amgen’s patents are invalid, thereby finally and definitively resolving the parties’

   patent litigation in Regeneron’s favor. Amgen, 143 S. Ct. at 1243.

              E.      Amgen’s Misinformation Blitz

              70.     Regeneron learned in 2019 that, as part of Amgen’s effort to exclude Praluent®,

   Amgen utilized its sales force to disseminate misleading facts regarding the safety and availability

   of Praluent®. Amgen’s sales representatives promoted Repatha® with false claims to nurses,

   physicians, and other medical practitioners that Praluent® would be removed from the market

   based on Amgen’s patent lawsuit. The intended effect of these misrepresentations was to mislead

   medical professionals into switching patients’ treatments from Praluent® to Repatha®.

              71.     And these misrepresentations indeed had their intended chilling effect. For

   example, an Amgen sales representative in Lexington, Kentucky, told a physician (inaccurately)

   that Praluent® was “being discontinued and to stop writing it.” This misrepresentation reasonably

   and predictably led the doctor to believe—and to inform at least three patients—that he needed to


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        See infra Section C.


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   switch his patients from Praluent® to Repatha®. Upon information and belief, other Amgen sales

   representatives made similar misleading statements to physicians to get them to switch their

   PCSK9i prescriptions from Praluent® to Repatha®. All said, by January 2020, Amgen’s

   misinformation campaign had clawed a significant amount of additional market share away from

   Praluent®.

                            AMGEN’S EXCLUSIONARY CONDUCT

          A.      Amgen Is Engaged in an Anticompetitive Bundled Rebate Scheme to Corner
                  the PCSK9i Market for Repatha®

          72.     Amgen’s patent-litigation scheme and misinformation blitz made transparent

   Amgen’s intent to insulate Repatha® from competition. That effort has continued with Amgen’s

   illegal scheme to impair competition from Praluent® by offering and entering into illegal,

   anticompetitive bundled rebate agreements that leverage the market position of two unrelated

   mega-drugs in Amgen’s portfolio to limit competition in the much smaller PCSK9i market. This

   unlawful scheme started shortly after Amgen acquired the blockbuster drug Otezla® in 2020, when

   Amgen began to leverage this new monopoly product, along with the long-running blockbuster

   drug Enbrel® (also from an unrelated therapeutic area), to illegally block and hinder Regeneron’s

   access for Praluent® with Third-Party Payor formularies. By doing so, Amgen has offered Third-

   Party Payors an offer they cannot refuse, and one that Regeneron cannot match.

          73.     Since Praluent® launched in 2015, Third-Party Payors had solicited rebate offers

   only within the PCSK9 inhibitor market during negotiations for formulary access. Prior to June

   2020, Regeneron understood from Third-Party Payors that bundled rebates across a portfolio of

   unrelated products was not an accepted practice in the PCSK9i class. (Amgen effectively admitted

   as much in its April 2016 motion for an injunction in its patent-infringement lawsuit, by focusing




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   only on the pressures of head-to-head competition that Praluent® imposed on the prices for

   Repatha® rather than on Amgen’s broader product portfolio. See PI Motion at 6–9.)

              74.   As a result, despite Amgen’s other efforts to impair Praluent®’s market position,

   Regeneron nevertheless was able to maintain its presence in the PCSK9i market by virtue of

   Praluent®’s distinctive benefits and by competing on the merits to provide better patient access,

   economic terms, and other benefits with Third-Party Payors, plan sponsors, and beneficiaries. For

   example, Regeneron’s 2018 collaboration with ESI resulted in significant net price reductions and

   the removal of artificial barriers to give patients streamlined access to PCSK9i therapy with

   Praluent®. At the time, ESI touted the collaboration publicly as indicative of its commitment to

   “making value-based care a reality” by bringing access to “innovative therapies” to its members

   with an innovative “payment model[].”61 ESI also highlighted the benefits that Praluent® brings

   to certain high-risk patients by meaningfully reducing the risk of death for those patients by 29

   percent.62 These incentives to prescribe and improve patient access to Praluent® were the product

   of fair competition—Regeneron did not tie the rebates to other, unrelated products in different

   therapeutic classes, nor did Regeneron price the products below-cost to drive out competition. The

   procompetitive benefit of such incentives have been recognized by Third-Party Payors who cover

   and pay for the majority of the cost of prescription drugs. For example, ESI considers “[c]linical

   appropriateness of the drug” to be the first and foremost consideration” in formulary development

   and “ensures that each drug is considered individually on its own merits.”63




   61
     E.g., PCSK9 Therapy: An Example of Value-Based Care, Express Scripts (May 1, 2018),
   https://www.express-scripts.com/corporate/articles/pcsk9-therapy-example-value-based-care.
   62
        See id.
   63
     See White Paper: Formulary Development at Express Scripts, Express Scripts (last visited May 25, 2022),
   https://www.express-scripts.com/aboutus/formularyinformation/development/formularyDevelopment.pdf.


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          75.     But all that changed in 2020, after Amgen’s $13.4 billion acquisition of monopoly

   product Otezla® in the FTC-ordered divestiture sale. After acquiring Otezla®, Amgen began

   purposefully and knowingly bundling its sales of Otezla®, Enbrel®, and Repatha® to require that

   Third-Party Payors provide exclusivity to Repatha®—and exclude Praluent®—in order to obtain

   highly valuable product rebates on Otzela® and Enbrel®.

          76.     Notably, Otezla® and Enbrel® are major products in unrelated therapeutic classes

   where Regeneron does not offer any competing products. Amgen’s massive bundled rebates

   therefore cannot be matched by any similar package from Regeneron’s current portfolio, which,

   as Amgen knows, lacks products covered as pharmacy benefit prescription drugs (as opposed to

   in-office, administered medical benefit prescription drugs) to make such a strategy feasible. By

   exploiting its combined leverage from blockbuster drugs Otezla® and Enbrel®, which Amgen

   treated as a unified anti-inflammatory portfolio, Amgen was able to leverage its market power to

   hinder and artificially limit competition from Praluent® in the PCSK9i market.

          77.     Amgen has been clear in negotiations with PBMs that both Otezla® and Enbrel® are

   critical components of Amgen’s combined anti-inflammatory portfolio rebate.




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          78.




          79.     Amgen’s anticompetitive conduct, designed and intended to entrench its monopoly

   in the PCKS9i market, has had the purpose and effect of foreclosing Regeneron from the

   formularies at the key Third-Party Payors. Amgen has done so by offering significant and coercive

   rebates for products that Regeneron could not contest, thus making it impossible for Regeneron to

   compete on the merits. Additionally, Amgen’s rebates render the effective price of Repatha®

   below cost. Such below-cost bundled rebates, where a package of two or more products are sold

   at lower prices than they would be had they been provided separately, have the potential to exclude

   equally efficient competitors or competitors offering a product with unique advantages, such as

   Regeneron’s Praluent®.

          80.     Amgen’s anticompetitive bundle has already been successful in limiting

   Praluent®’s access to the PCSK9i market and the Pharmacy-dispensed PCSK9i sub-market—and

   the effects will only continue to grow worse. For example, prior to June 2020, Praluent® had at

   least access to the patients under nine out of the ten major Commercial Third-Party Payors in the

   United States. Since the onset of Amgen’s bundling practices and in light of industry

   consolidation, all three major Commercial Third-Party Payors have elected to cover and

   recommend to their health plan clients that Repatha® should be the exclusive PCSK9 product that

   is covered, and further, that Praluent® should be excluded or blocked. Accordingly, Praluent® has

   lost access to ESI (including Cigna and Prime), UHC/Optum, and CVS/Zinc (including Aetna),




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   and a number of other, smaller Third-Party Payors. Regeneron has experienced similar and

   growing foreclosure at the major Medicare Part D Third-Party Payors. Amgen has thus deprived

   Praluent® of significant marketplace access.

          81.     This push by Amgen to use bundled rebates across different therapeutic classes in

   its negotiations with Third-Party Payors has broken the competitive process in the PCSK9i market,

   which had previously provided greater access, lower prices, and more choices for physicians and

   patients. Amgen is well-aware of the consequences of its strategy, and accordingly recognizes in

   its Global Corporate Compliance Policy on Antitrust and Unfair Competition that representatives

   “should exercise caution” before “[s]elling multiple Amgen products together for a discounted rate

   (i.e., bundling).”64 Nonetheless, Amgen has doubled down on this strategy to bundle its

   blockbuster products with Repatha® to exclude competition from Praluent®.65

          82.     Amgen’s bundling practices at the three largest Third-Party Payors, ESI, United

   Healthcare/OptumRx, and CVS/Zinc vividly illustrate the nature and impact of Amgen’s

   anticompetitive conduct. And these Third-Party Payors are just the beginning, as Amgen is

   engaged in similar negotiations to leverage its bundled rebate scheme to further exclude Praluent®

   from formulary coverage at additional Third-Party Payors.

                  i.      Amgen’s Bundling Practices at ESI

          83.     Prior to June 2020, Regeneron and ESI had collaborated to bring patients greater

   access to PCSK9 inhibitors. As described above, Regeneron’s May 2018 collaboration with ESI



   64
     Amgen Global Corporate Compliance Policy, Antitrust and Unfair Competition, AMGEN, at 2–3 (July
   15,      2020),         https://www.amgen.com/-/media/Themes/CorporateAffairs/amgen-com/amgen-
   com/downloads/policies/antitrust_unfair_competition_policy.pdf.
   65
     See Eric Sagonowsky, Amgen’s psoriasis pill Otezla thrives amid pandemic against injectable rivals,
   FIERCE Pharma (July 29, 2020), https://www.fiercepharma.com/pharma/amgen-s-otezla-helps-drive-
   growth-despite-covid-19.


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   on Praluent® resulted in significant net price reductions and the removal of artificial barriers to

   give patients streamlined access to Praluent®. For more than two years, ESI’s more than 75 million

   members had uninterrupted access to Praluent®, including after ESI added Repatha® to the main

   National Formulary in 2019.

           84.     Amgen recognized the competitive threat posed by Praluent® and the inroads it had

   made with ESI, which considered Praluent® to have distinctive advantages that Repatha® lacked.66

   In light of the growing industry recognition of Praluent®’s benefits, Amgen quickly moved to

   suppress competition and, with Otezla® safely within its drug portfolio after the 2020 acquisition,

   offered a bundled rebate to ESI that Regeneron would be unable to match with Praluent® alone.

           85.     In June 2020, Regeneron was advised by ESI that Amgen had offered substantial

   rebates totaling $210 million over two years and four months for Enbrel®, Otezla®, and Repatha®.

   (This massive rebate represents close to half of the $459 million that Repatha® generated for

   Amgen in total U.S. net sales for 2020.)




                          ESI acknowledged to Regeneron that Amgen had tied rebates for the three

   drug products together and conditioned these rebates on exclusivity for Repatha® on ESI

   Commercial’s National Preferred Formulary. For example, Regeneron was informed by ESI on a

   June 2020 call attended by senior level executives that Amgen’s offer for Repatha® included “other

   products that would provide much more financial incentives to ESI.”




   66
     As detailed above, ESI publicly described its relationship with Regeneron as a proud moment for ESI,
   providing an “innovative therap[y]” to its members with an innovative “payment model[].”


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                                                As a result, Regeneron was informed that Praluent®

   would be excluded from ESI Commercial’s National Preferred Formulary unless it could match

   this $210 million rebate.

           86.     Amgen’s conduct foreclosed Praluent® from accessing ESI Commercial’s

   approximate 15% share of the PCSK9i market for a value of only approximately $110.62 million.

   To match Amgen’s offer of at least $210 million in rebates, Regeneron would have had to make

   unprofitable sales of Praluent® for patients covered by ESI Commercial when factoring in

   Regeneron’s other costs to manufacture and sell the product. Matching Amgen’s rebates would

   therefore have made no economic sense for Regeneron and rejecting Amgen’s rebates would have

   made no economic sense for ESI—and Amgen specifically designed and structured its bundled

   rebate offer to ensure that outcome. Nor is Regeneron able to match Amgen’s bundled rebate by

   offering an equivalent bundle across its portfolio, which lacks the massive products subject to

   PBM rebating that could offset Amgen’s coercive rebates for Otezla® or Enbrel®. Amgen

   purposely and knowingly bundled Otezla®, Enbrel®, and Repatha® together to offer an impossible-

   to-match rebate to ESI Commercial, a never-before-seen practice in the market for PCSK9

   inhibitors.67

           87.     As a predictable and intended result of Amgen’s bundled rebate, Praluent® was

   excluded from ESI’s Commercial’s National Preferred Formulary list, despite ESI having

   acknowledged Praluent® to be a PCSK9 inhibitor with distinctive benefits.68 Notably, and unlike

   when ESI chose Praluent® as its preferred PCSK9 inhibitor and touted its clinically proven medical



    Regeneron sent Amgen a letter on August 21, 2020 regarding Amgen’s bundled rebate terms with ESI
   67

   Commercial. Amgen did not deny the existence of the bundled rebate in its response.
   68
     See PCSK9 Therapy: An Example of Value-Based Care, Express Scripts (May 1, 2018),
   https://www.express-scripts.com/corporate/articles/pcsk9-therapy-example-value-based-care.


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   benefits as noted above, ESI has not made any public comments regarding the medical benefits of

   Repatha® over Praluent® since Amgen coerced ESI to exclude Praluent® on its 2021 Commercial

   National Preferred Formulary on August 12, 2020. Since January 1, 2021 and through at least

   January 1, 2023, Amgen has secured an exclusive position with ESI Commercial’s National

   Preferred Formulary that limits patient choice and allows only Repatha® to be covered for

   consumers whose plans follow ESI Commercial’s National Preferred Formulary.

          88.     Amgen’s bundled rebate drove ESI’s Part D formulary decision to exclude

   Praluent® as well.




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                                     Moreover, for Third-Party Payors with commercial and Part D

   plans, including specifically ESI, formulary access decisions for those two segments are generally

   made on a consistent or uniform basis in the interest of administrative convenience and efficiency.




                                                                  To that end, ESI announced that

   Repatha® would be moved to an exclusive position for ESI Part D shortly after it made that

   announcement for ESI Commercial.

                     ii.   Amgen’s Bundling Practices at UnitedHealthcare/OptumRx

          89.        Amgen’s bundling practices at UHC/Optum tell a similar story. Amgen has made

   a similar bundled rebate offer in its negotiations with UHC/Optum Commercial to secure exclusive

   access to UHC/Optum’s formulary list that similarly results in a below-cost bundled rebate.

   Optum is a division of UnitedHealthcare’s parent company, UnitedHealth Group. Optum operates

   as a PBM and manages multiple Third-Party Payor formulary lists, including UnitedHealthcare’s

   formulary list.

          90.        Similar to Regeneron’s positive working relationship with ESI, Regeneron also

   previously had a positive working relationship with UHC/Optum to provide Praluent® to

   UHC/Optum’s Commercial customers. Praluent® had secured a parity position on UHC/Optum’s

   Commercial formulary that allowed members covered by UHC/Optum to be prescribed either

   Repatha® or Praluent®.




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          91.      However, that too has changed due to Amgen’s misconduct. Starting on September

   1, 2021, UHC Commercial moved to an exclusive relationship with Repatha®, and, starting on

   January 1, 2022, Optum Commercial also moved to an exclusive relationship with Repatha®.

   Upon information and belief, Amgen opted to structure its rebate offer to UHC/Optum similar to

   its offer to ESI Commercial, using a portfolio of drugs across multiple therapeutic drug classes to

   secure Repatha®’s exclusive position, where the effective price of Repatha® in the bundle was

   below cost. Regeneron was also informed by UHC/Optum in May 2021 during negotiations for

   formulary access that there were further negotiations happening behind the scenes with Amgen.




          92.      As a result, UHC/Optum Commercial’s many members no longer have any access

   to Praluent®.

                   iii.   Amgen’s Bundling Practices at CVS

          93.      The final domino fell with Praluent®’s exclusion from the CVS/Zinc Commercial

   formulary starting July 1, 2023.69

          94.      Prior to Amgen’s anticompetitive conduct, Regeneron and CVS had enjoyed a

   strong working relationship whereby Praluent® was the exclusive PCSK9i for CVS/Zinc

   Commercial. However, this changed as early as 2021,




   69
     As of the filing of this Amended Complaint, Amgen has not yet completed production of documents
   relating to this recent development.


                                                   45
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                                                                  Regeneron increased its rebate rate

   in the annual contract intended to cover 2022 through 2023, stretching to its best possible single-

   product offer in trying to defend against Amgen’s                  offer.

          95.     In late 2022, unable to negotiate against Amgen’s             offering, and with the

   profitability of Regeneron’s existing contract with CVS under strain as a result of the damage to

   Regeneron’s margins caused by Amgen’s successful bundling practices at other Third-Party

   Payors, Regeneron had no choice but to yield and terminate its contract with CVS/Zinc for

   Praluent® formulary coverage effective December 31, 2023. Then, in yet another severe blow to

   the Praluent® brand, CVS/Zinc informed Regeneron that Praluent® would not even have parity

   access and would be removed altogether from CVS/Zinc’s formulary earlier than planned in July

   1, 2023, in favor of Amgen’s Repatha®.

                  iv.     Amgen’s Bundling Practices at Other Third-Party Payors

          96.     Moreover,




                                     Amgen then reported declines in post-rebate, net selling prices

   for both Otezla® and Enbrel® in its FY 2021 public financial disclosures, which is the logical and

   intended result of conditioning rebates on these larger products with exclusivity for Repatha®.70


   70
     See Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN (Feb. 7, 2022),
   https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c35. Amgen also noted that
   the net selling price for Enbrel® is expected to decline further.


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   More importantly, Amgen is powering its bundling scheme by repeatedly increasing the pre-

   rebate, gross selling price of Otezla®. In particular, according to GoodRx, Amgen has increased

   the list price for Otezla® “just shy of 94 percent from 2020 to 2022”—the largest increase for any

   drug treatment during that time.71 By doing so, it makes the bundled rebate even more powerful,

   as Payors would have to cover ever-rising costs of Otezla® and Enbrel® (along with Repatha®) if

   they do not comply with Amgen’s concurrent demand for Repatha® exclusivity. Amgen is thus

   purposely and knowingly continuing to bundle Otezla®, a monopoly product, and Enbrel®, another

   very powerful product that PBMs cannot exclude from their formularies, together with formulary

   positioning for Repatha®, to coerce PBMs into excluding Praluent® with an impossible-to-match

   conditional rebate.

                   v.      Amgen Documents and Testimony Confirm These Practices

           97.




   71
     Paul Schloesser, A new report tracks hundreds of new drug price hikes, along with a look at the top 10,
   ENDPOINTSNEWS, (Feb. 18, 2022); see also Noah Higgins Dunn, Merck, Amgen adopt double-digit
   price hikes in test to Big Pharma's unofficial annual limits: analyst, FIERCE Pharma, (August 31, 2021),
   https://www.fiercepharma.com/pharma/merck-amgen-adopt-double-digit-price-hikes-test-to-pharma-s-
   drug-cost-limits-analysts.


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          100.   In addition, discovery has confirmed that the terms of Amgen’s agreements with

   PBMs extend beyond the four corners of their written contracts.




          101.




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          102.    While Regeneron looks forward to further discovery as this case proceeds,

   including from Third-Party Payors, early discovery has already served to confirm the core facts

   that Regeneron alleged.

          B.      Amgen’s Anticompetitive Bundle Results in Below-Cost Prices For Repatha®

          103.    The FTC has recognized that certain rebating practices can harm competition and

   constitute “rebate walls.” Here, Amgen’s multi-product rebate offer involving Otezla®, Enbrel®,

   and Repatha® constitutes a bundled rebate—where a package of two or more products sell at lower

   price than the prices at which the products would have otherwise been provided separately.

   Conditional rebates like the ones Amgen has structured are commonly referred to as “rebate walls”

   because they insulate a product from competition by dramatically escalating the net cost to a Payor

   to switch to a competitive drug, in this case Praluent®. According to the FTC, rebate walls “can

   squelch out competitors” because Payors “cannot afford to pay the full list price when the drug

   manufacturer stops paying the rebate.”72

          104.    Courts have applied a variety of standards to determine the exclusionary effect of

   bundling practices. See, e.g., LePage’s, Inc. v. 3M Co., 324 F.3d 141, 156–67 (3d Cir. 2003) (en

   banc) (the anticompetitive effects of bundling practices can be determined by analyzing “the

   increase in the defendant's market share, the effects of foreclosure on the market, benefits to

   customers and the defendant, and the extent to which customers felt they were precluded from




   72
     Federal Trade Commission, Statement of Commissioner Rohit Chopra Regarding the Commission’s
   Report      on     Pharmacy     Benefit     Manager     Rebate     Walls,   (May     28,     2021),
   ftc.gov/system/files/documents/public_statements/1590528/statement_of_commissioner_rohit_chopra_re
   garding_the_commissions_report_on_pharmacy_benefit_manager.pdf.


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   dealing with other manufacturers”); SmithKline Corp. v. Eli Lilly & Co., 575 F.2d 1056, 1065 (3d

   Cir. 1978) (finding that Defendant insulated its competitive product from price competition in

   violation of Sherman Act Section 2 by bundling rebates for that product with rebates for monopoly

   products on which it “faced no competition”); cf. Cascade Health Sols. v. PeaceHealth, 515 F.3d

   883, 903 (9th Cir. 2008) (“[T]he exclusionary conduct element of a claim arising under § 2 of the

   Sherman Act cannot be satisfied by reference to bundled discounts unless the discounts result in

   prices that are below an appropriate measure of the defendant's costs”). For example, whether a

   bundled rebate results in below-cost pricing can be determined using the discount attribution test.

   See, e.g., Cascade Health, 515 F.3d at 907. Under that test, a bundled rebate is below cost if the

   rebate given to purchasers for the bundle, when applied entirely to the competitive product in the

   bundle, results in that product being sold at a price below an appropriate measure of that product’s

   costs.73

              105.   Upon information and belief, Amgen is pricing Repatha® below cost with the

   bundled rebate that leverages Otezla® and Enbrel® in order to secure exclusivity for Repatha® on

   ESI Commercial’s formulary. As noted above, during Regeneron’s negotiations with ESI

   Commercial, Regeneron was informed that Amgen conditioned rebates of $210 million over two

   years and four months—approximately $90 million per year—on a three-product bundle consisting

   of Otezla®, Enbrel® and Repatha®.

              106.   When this $90 million annual rebate is attributed to PCSK9i sales covered by ESI

   Commercial, Amgen is pricing Repatha® below an appropriate measure of its costs. By way of

   example, for 2020, assuming Amgen paid its bundled rebates for the entire year, Amgen’s net


   73
     In the pharmaceutical industry, the appropriate measure of costs include industry-specific costs, such as
   R&D costs required to develop and launch the product, regulatory approval and compliance with the FDA,
   and marketing, promotional and sales force expenses.


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   revenue on Repatha® from ESI Commercial, once the bundled rebates are considered would be at

   most, just north of $20 million. Specifically, based upon an analysis of Amgen’s publicly reported

   earnings and other market data, Repatha®’s estimated gross sales at ESI Commercial would have

   been $110.62 million in 2020 if Repatha® had all of ESI Commercial’s PCSK9i share. After

   attributing the entirety of the $90 million bundled rebate to Repatha®, and assuming that Repatha®

   had all of ESI Commercial’s PCSK9i share, Amgen thus would have generated net revenue of

   $20.62 million in 2020 through ESI Commercial.

           107.    This $20.62 million revenue figure is far lower than any appropriate estimate of

   Amgen’s corresponding costs. Specifically, using Amgen’s own financial disclosures to estimate

   its costs for Repatha® suggests that Amgen incurred significant losses on ESI-covered Repatha®

   sales through the use of its illegal bundle.74 Based on Amgen’s public reporting of costs of goods

   sold and distribution costs, Amgen’s approximate cost in 2020 for Repatha® totaled $224.91

   million.75 And the share of these costs attributable only to ESI Commercial was at least an

   estimated $42.73 million.76 Thus, by way of example, with an annual net revenue of $20.62




   74
     To be sure, Amgen has kept secret its commercial interactions and agreements with Third-Party Payors,
   such as ESI Commercial. However, Regeneron can estimate the range of Amgen’s costs by reviewing
   Amgen’s publicly available financial information and by analyzing market data associated with the PCSK9i
   market, in which there were only two products—Repatha® and Praluent®—prior to December 2021.
   75
     See Amgen Reports Fourth Quarter And Full Year 2020 Financial Results, AMGEN (Feb. 2, 2021),
   https://investors.amgen.com/node/30746/pdf (estimating Amgen’s costs by multiplying full year net sales
   for Repatha® of $459 million in 2020 by 49 percent, the overall share of Amgen’s total cost of sales (25.4
   percent) and selling, general, and administrative expenses (23.6 percent) across total net sales of its drug
   portfolio). Based on Amgen’s reported disclosure and Regeneron’s knowledge of the pharmaceutical
   industry, there is no reason to believe this margin is not generally applicable to Repatha® sales to make it
   more defensible using a metric across the Amgen portfolio.
   76
     The share of the costs attributable only to ESI Commercial can be calculated by identifying what share
   of Repatha®’s total U.S. net sales are attributable to ESI Commercial (19 percent, based on Repatha®’s
   estimated gross sales at ESI Commercial of $110.62 million in 2020 if Repatha® had all of ESI
   Commercial’s PCSK9i share out of total estimated 2020 Repatha® gross sales of $582.2 million) and
   applying that percentage to the costs (approximately totaling $224.91 million in 2020).


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   million for Repatha® at a minimum, in 2020 Amgen would have lost approximately $22.11

   million on ESI Commercial-covered Repatha® net sales through the use of its illegal bundle.

           108.    Estimating costs based on Regeneron’s own analogous costs for Praluent® likewise

   shows that Amgen’s bundled rebates cause it to incur significant losses on ESI-covered Repatha®

   sales. Based on either of these estimates, Amgen’s bundled price for Repatha® with ESI

   Commercial under the discount attribution test was well below cost using any reasonable estimate

   of its cost.

           109.    This is true for 2021 as well. Based upon an analysis of Amgen’s publicly reported

   earnings and other market data, Repatha®’s estimated gross sales at ESI Commercial would have

   been $134.24 million in 2021 if Repatha® had all of ESI Commercial’s PCSK9i share. After

   attributing the entirety of the annual $90 million bundled rebate to Repatha®, and assuming that

   Repatha® had all of ESI Commercial’s PCSK9i share, Amgen thus would have generated net

   revenue of $44.24 million in 2021 through ESI Commercial. Using Amgen’s publicly reported

   costs of goods sold and distribution costs, Amgen’s approximate cost in 2021 for Repatha® totaled

   $271.26 million.77 And the share of these costs attributable only to ESI Commercial is at least an

   estimated $51.54 million. Thus, with an annual net revenue of $44.24 million for Repatha®, at a

   minimum, in 2021 Amgen would have lost approximately $7.3 million on ESI Commercial-

   covered Repatha® net sales through the use of its illegal bundle.

           110.    The below-cost nature of the bundled rebate is particularly severe when considered

   based on the incremental market share that Amgen received as a result of offering it. As a result


   77
     See Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN (Feb. 7, 2022),
   https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c35 (estimating Amgen’s
   costs by multiplying full year net sales for Repatha® of $557M in 2021 by 48.7 percent, the overall share
   of Amgen’s total cost of sales (26.6 percent) and selling, general, and administrative expenses (22.1 percent)
   across total net sales of its drug portfolio).



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   of Amgen offering the bundled rebate at ESI Commercial, for example, Amgen gained (and

   Regeneron lost) 20% share of gross PCSK9i sales.




          111.    On information and belief, Amgen has offered this same pricing scheme and below-

   cost bundle to other Payors, including UHC/Optum Commercial and CVS/Zinc Commercial,

   meaning that the losses it incurs on Repatha® through those Payors are likely to be comparable to

   those it incurs through ESI Commercial. Upon further information and belief, the penalty imposed

   by Amgen on Third-Party Payors for not excluding Praluent® has grown significantly because

   rebates are typically based on a percentage discount off the list price. As alleged herein, Amgen

   has increased the list price of Repatha®, Otezla®, and Enbrel® since 2020.

          C.      Amgen’s Anticompetitive Bundle Substantially Forecloses the PCSK9i
                  Market to Praluent®

          112.    Amgen has foreclosed Praluent® from a substantial portion of the PCSK9i market

   by leveraging bundled rebates on Otezla® and Enbrel®. As discussed above, Otezla® and Enbrel®

   are two substantially larger products from unrelated classes where Regeneron has no drugs that

   compete for the same indications. Otezla® and Enbrel® generated a combined $12.8 billion in U.S.

   net sales in 2020 ($6.64 billion) and 2021 ($6.16 billion), over 12 times more than the $1.02 billion

   generated by Repatha® in 2020 ($459 million) and 2021 ($557 million). Or, put another way,

   offering a mere 8 percent rebate on Otezla® and Enbrel® would have the same top-line impact to

   Amgen as offering Repatha® completely for free. Amgen’s scheme leverages this enormous gap

   in sales to exclude Praluent® through a bundled rebate offer to Third-Party Payors that cannot be

   matched by Regeneron and that is structurally capable of excluding from the market other



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   hypothetical rivals who make products that cannot match the significant market power of the

   bundled products.

          113.    As explained above, Amgen has conditioned significant rebates for Enbrel® and

   Otezla® upon Repatha® exclusivity to exclude Praluent® from the formulary at ESI Commercial

   and ESI Part D in June 2020, UHC/Optum Commercial in July 2021, and CVS/Zinc Commercial

   in July 2023. And Amgen has offered similar rebates to other Third-Party Payors, including but

   not limited to Anthem, Humana, and Prime. Furthermore, Regeneron expects CVS Part D to

   follow CVS/Zinc Commercial in moving to exclusive Repatha® coverage. ESI Commercial (15.27

   percent), ESI Part D (7.7 percent), and UHC/Optum Commercial (7.05 percent) alone account for

   over 30 percent of the total PCSK9i market by prescriptions covered. Amgen’s rebate strategy

   took advantage of, and dramatically increased, the Third-Party Payors not covering Praluent®.

   Praluent® is now substantially foreclosed from the PCSK9i market with no coverage on the

   majority of the formularies of the three largest Third-Party Payors, and the Third-Party Payors who

   follow their formularies, who collectively cover 80 percent of all insured lives in the United States.

   Praluent®’s current share of the PCSK9i market is less than 20 percent.

          114.    Amgen’s conduct leaves these Payors with no commercially viable option but to

   accept Amgen’s demands for Repatha® formulary coverage in the much smaller PCSK9i market

   in order to avoid paying higher prices on Amgen’s much larger anti-inflammation portfolio, which

   includes Enbrel® and Otezla®. Even if Regeneron offered a lower net price for Praluent® with

   competitive single-product rebate offers, as it has done in the past, those savings could not offset

   the artificial prices for Otezla® and Enbrel® that Amgen leverages to block such competitive

   single-product offers. As a result, Praluent® is economically unable to avoid foreclosure at the

   formularies of ESI Commercial, ESI Part D, UHC/Optum Commercial, CVS/Zinc Commercial,




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   and other smaller PBMs. Due to Amgen’s practices, U.S. net sales for Praluent® fell by almost 10

   percent from 2020 ($186 million) to 2021 ($170 million) and by almost 25 percent from 2021

   ($170 million) to 2022 ($130 million).78 By contrast, with its unlawful multi-product bundle at

   work, Amgen’s U.S. net sales for Repatha® have increased by over 21 percent and 9 percent

   respectively in those same periods—from $459 million in 2020 to $557 million in 2021 to $608

   million in 2022.79 The detrimental effect is clear, significant, and ongoing.

          115.    And while this impact is severe, these figures still do not reflect the full effect of

   Amgen’s anticompetitive conduct, due to significant “spillover” effects at both the Payor and

   prescriber levels that further entrench Repatha®’s market position. On the Payor side, Praluent®

   is now substantially foreclosed from the PCSK9i market with no coverage on the majority of the

   formularies of the three largest Third-Party Payors, and the Third-Party Payors who follow their

   formularies, who collectively cover 80 percent of all insured lives in the United States. Praluent®’s

   current share of the PCSK9i market is less than 20 percent. In addition to artificially suppressing

   Praluent®’s current level of access in the PCSK9i market, this exclusion diminishes Regeneron’s

   future ability to compete for formulary access because other Payors are less incentivized to include

   Praluent® on their formularies at this significant level of restricted access. Amgen’s exclusionary

   strategy is thus broadly eroding the competitiveness of Praluent®, the only PCSK9i alternative to

   Repatha® for years, and now the only one covered as a pharmacy benefit prescription drug, which,

   in turn, further reduces the pressure on Amgen to offer favorable terms to Payors. Furthermore,


   78
     Regeneron Reports Fourth Quarter and Full Year 2021 Financial and Operating Results, REGENERON
   (Feb. 4, 2022), https://investor.regeneron.com/news-releases/news-release-details/regeneron-reports-
   fourth-quarter-and-full-year-2021-financial.
   79
      Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN (Feb. 7, 2022),
   https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c35 (“Repatha sales increased
   8% year-over-year for the fourth quarter and 26% for the full year. Volume growth of 35% for the quarter
   and 40% for the full year was partially offset by lower net selling price”).



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   having secured exclusivity at a number of key Third-Party Payors, including three of the largest in

   the country, Amgen knows it is finishing off Praluent® by leveraging its much larger Repatha®

   sales force across its portfolio of drug products to make even comparable formulary coverage at

   the few remaining other Payors of a meaningful size a form of de facto exclusivity for Repatha®.

          116.    The exclusionary effect of Amgen’s conduct is also amplified by negative spillover

   effects at the prescriber level. Many doctors, who know that a significant number of their patients

   have health insurance coverage with formularies that exclude Praluent®, will instead prescribe

   Repatha®, even despite the unique benefits Praluent® offers. This is because physicians are often

   unable to take the extra time to inquire into which health plan covers which patient and whether

   Praluent® is available on each patient’s plan. If a physician is aware that Repatha® is not foreclosed

   from any specific formulary, then the physician often defaults to Repatha® for all patients, despite

   the potential benefits associated with Praluent®. In addition, for patients who may have access to

   Praluent® through formularies only if they receive prior authorization from a physician, many

   physicians will not take the necessary extra steps to authorize patients for Praluent® if Repatha® is

   available without prior authorization requirements, even if the physician prefers Praluent®.

          117.    This additional spillover pressure from Payors and prescribers means that the

   effects of Amgen’s anticompetitive actions are already greater than they appear when measured

   only by the Third-Party Payors who have accepted Amgen’s bundled rebates to date. And the

   impact on Praluent® from Amgen’s conduct will only continue to compound: as Praluent®’s market

   share shrinks, Regeneron will be unable to offer Third-Party Payors even the levels of rebates it is

   currently offering to try to maintain the small access it currently has, which will likely have adverse

   net price impact for those Third-Party Payors and, as a result, further reduce competitive pressure

   on Amgen.




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          118.    The end result of Amgen’s anticompetitive conduct is to artificially suppress and

   accelerate Praluent®’s already declining PCSK9i market share below a critical-mass level of 20

   percent. Already, Regeneron has been unable to compete viably in the PCSK9i market with Third-

   Party Payors being forced to take Amgen’s bundled rebate. In fact, in 2022, Regeneron was no

   longer even able to make a profit selling Praluent®. And Praluent® is expected to be unprofitable

   again in 2023. Already, that is not a sustainable business model, and only promises to deteriorate

   further in the face of Amgen’s anti-competitive practices as Praluent®’s market access and market

   share both continue to fall.

     AMGEN HAS MONOPOLY OR MARKET POWER IN THE RELEVANT MARKETS

          A.      The PCSK9i Market or The Pharmacy-Dispensed PCSK9i Sub-Market

          119.    PCSK9 inhibitors approved by the FDA to treat certain cardiovascular conditions

   by reducing low-density lipoprotein cholesterol (LDL-C) constitutes a relevant market—the

   “PCSK9i market.”

          120.    Other products are not reasonable substitutes for, and not functionally

   interchangeable with, PCSK9 inhibitors. As explained above, PCSK9 inhibitors have unique

   characteristics, including a novel mechanism of action for reducing LDL-C levels, and are used

   for a unique population. Furthermore, PCSK9 inhibitors do not compete against other, much

   cheaper cholesterol lowering products on price. In response to a small but significant and non-

   transitory increase in the price of PCSK9 inhibitors, U.S. physicians and patients would not

   meaningfully switch to any other product or treatment.

          121.    Within the PCSK9i market, there also is a sub-market for PCSK9i inhibitors that

   are dispensed through pharmacies—the “Pharmacy-dispensed PCSK9i sub-market.” Leqvio® is

   not dispensed through pharmacies, not covered by PBM formularies, and therefore does not

   compete with Praluent® and Repatha® for formulary positioning, rebates, or spillover sales. It


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   therefore does not impact the price that PBMs pay for pharmacy-dispensed PCSK9 inhibitors,

   Repatha® and Praluent®. The Supreme Court has held that “[t]he boundaries of such a submarket

   may be determined by examining such practical indicia as industry or public recognition of the

   submarket as a separate economic entity, the product’s peculiar characteristics and uses, unique

   production facilities, distinct customers, distinct prices, sensitivity to price changes, and

   specialized vendors.” Brown Shoe, Co. v. United States, 370 U.S. 294, 325 (1962).

           122.    Until very recently, there were only two PCSK9 inhibitors approved in the United

   States, Repatha® and Praluent®.80 As previously explained, Praluent® and Repatha® are both

   dispensed through pharmacies, and market access for these drugs operates through Commercial

   and Medicare Part D Third-Party Payors.81 In December 2021, Novartis obtained FDA approval

   for another PCSK9 inhibitor called Leqvio®, which is now available through “specialty

   distributors” since January 2022.82 For the reasons discussed above, however, Leqvio® is not

   expected to meaningfully compete with Praluent® or Repatha® due to several particular

   characteristics. Unlike Praluent® and Repatha®, which are self-administered by patients once

   every two weeks outside a medical office through subcutaneous injection, Leqvio® is administered

   by doctors twice a year through a subcutaneous injection. As a result, Leqvio® is not and will not

   be subject to the PBM contracting and rebating that drive patient access to Praluent® and

   Repatha®. While Praluent® and Repatha® are managed and reimbursed as a “prescription drug”



   80
     As explained above, see supra ¶¶ 42–44, and in this section, Novartis recently obtained FDA approval
   for another PCSK9 inhibitor called Leqvio®, but Leqvio® is not going to meaningfully compete with
   Praluent® or Repatha®.
   81
     See supra ¶¶ 45–51. For PCSK9 inhibitors that are dispensed through pharmacies, there are no practically
   available alternative means of distribution or specialized selling channels through which to make sales.
   82
            See      Q42021        Results        Investor        Presentation,  (Feb.     2,      2022),
   https://www.novartis.com/sites/novartis_com/files/q4-2021-investor-presentation.pdf at 30 (noting that
   Leqvio® is “available from specialty distributors since early January.”).


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   benefits under Medicare Part D, Leqvio® will instead be managed and reimbursed as a “medical

   benefit” under Medicare Part B. Upon information and belief, Third-Party Payors administering

   commercial insurance will manage Leqvio® the same way as a “medical benefit.” Consistent with

   industry recognition and other practical indicia, Novartis itself considers Leqvio® to be very

   different from Praluent® and Repatha®.83

          123.    Leqvio®’s distribution and pricing also substantially differ from those of Praluent®

   and Repatha®. Leqvio® has been launched using a “buy-and-bill” payment system where

   physicians and providers buy the drug and bill the costs to Medicare after administering it to

   patients.84 By contrast, Praluent® and Repatha® use a PBM-driven payment structure in which

   PBMs negotiate rebates and formulary positioning for the drug on behalf of Third-Party Payors

   and their plan beneficiaries. Additionally, the list price of Leqvio® at launch is reported to be

   $3,250 per injection, or $9,750 for the first year based on a schedule of three doses, and $6,500

   annually for two doses per subsequent year. That is over 60 percent more than the current list

   prices for Praluent® and Repatha® for the first year of treatment, and nearly 10 percent more for

   subsequent years.

           124.   Further, Leqvio®’s particular mechanism of action is distinct from the two

   pharmacy-dispensed PCSK9 inhibitors. While Praluent® and Repatha® are antibody therapies that




   83
     Angus Liu, Novartis aims to avoid pitfalls of earlier PCSK9 launches with its new blockbuster hopeful
   Leqvio, FIERCE Pharma (Dec. 22, 2021), https://www.fiercepharma.com/marketing/novartis-belated-
   leqvio-fda-approval-avoid-pitfalls-amgen-regeneron-pcsk9-cholesterol (Novartis’s Head of U.S.
   Pharmaceuticals: “While Praluent and Repatha are injections that patients can give themselves at home,
   Leqvio is administered by a healthcare professional. That means Leqvio’s reimbursement will be routed
   through the medical benefit pathway, where drug utilization isn’t as restrictive as the pharmacy benefit
   side.”).
   84
     Jonathan Gardner, Novartis wins FDA approval for new heart drug, but faces uphill sales battle,
   BIOPHARMADIVE (Dec. 22, 2021), https://www.biopharmadive.com/news/novartis-leqvio-inclisiran-
   fda-approval-cholesterol-heart/611170/.


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   bind to the PCSK9 protein to prohibit it from binding to LDL-C receptors, Leqvio® is a small

   interfering RNA (“siRNA”) therapy that interferes with the synthesis of the PCSK9 protein itself.85

   As a result, the manufacturing and production equipment and processes for Praluent® and

   Repatha® differ from Leqvio®. And unlike the FDA-approval process for Praluent® and Repatha®,

   Leqvio®’s clinical trials “were conducted exclusively with healthcare provider administration.”86

           125.    Leqvio® is therefore not a reasonable substitute for pharmacy-dispensed PCSK9

   inhibitors like Praluent® and Repatha®. Assuming there are no issues with the launch of Leqvio®,

   the substantially different method of payment, location and frequency of administration, customers

   and vendors, pricing, and drug mechanism for the product does not allow Leqvio® to place

   meaningful competitive constraints on Praluent® or Repatha®. Importantly, Leqvio® does not

   compete against Praluent® or Repatha® on price. In response to a small but significant and non-

   transitory increase in the price of pharmacy-dispensed PCSK9 inhibitors, PBMs and Payors cannot

   switch to Leqvio® because it is managed as a Part B medical benefit with no involvement in the

   PBM contracting and rebating that drive patient access to Praluent® and Repatha®. Upon

   information and belief, U.S. physicians and patients would not meaningfully switch to Leqvio®

   due to the materially distinct characteristics described above.




   85
     See id.; see also Novartis delivers mid single digit sales growth, margin expansion and advancement of
   robust pipeline, NOVARTIS (Feb. 2, 2022), https://www.novartis.com/sites/novartis_com/files/q4-2021-
   media-release-en.pdf at 5 (noting that Leqvio was “[a]pproved in the US as the first and only (siRNA)
   therapy for LDL-C reduction.”). Additionally, unlike Praluent, which demonstrated a meaningful mortality
   benefit and is indicated to lower dangerous cardiovascular events in patients with established cardiovascular
   diseases, “the effect of LEQIVO® on cardiovascular morbidity and mortality has not been determined.” See
   Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1, (last visited May 25, 2022),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf.
   86
     Jonathan Gardner, Novartis wins FDA approval for new heart drug, but faces uphill sales battle,
   BIOPHARMADIVE (Dec. 22, 2021), https://www.biopharmadive.com/news/novartis-leqvio-inclisiran-
   fda-approval-cholesterol-heart/611170/.



                                                       62
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          126.    The United States is the relevant geographic market for PCSK9 inhibitors. In order

   to be sold in the United States, PCSK9 inhibitors must be approved by the U.S. FDA, a process

   that is difficult, expensive, and time consuming. As a result, U.S. Third-Party Payors and

   physicians cannot turn to products that are not approved for sale in the United States as an

   alternative, and would not be able to even if the price of PCSK9 inhibitors were to increase by a

   small, but significant and non-transitory amount.

          127.    From at least September 2017 until now, Amgen possessed monopoly power in the

   PCSK9i market with Repatha®. Specifically, Repatha® has had a durable and increasing share

   crossing 60 percent of the PCSK9i market in September 2017 and is now more than 80 percent

   and will only increase as Amgen continues to undermine the only historical competitor to

   Repatha®, and the only one marketed as a pharmaceutical benefit drug namely, Praluent®.

   Significant and substantial commercial, developmental, regulatory, and other barriers insulate the

   PCSK9i market from new entry and expansion.

          128.    Repatha®’s monopoly power is further evidenced by its high and increasingly

   durable share of the PCSK9i market. Thus, Amgen’s continued use of bundled rebates to attain

   even simple access to formulary lists at a parity position would further foreclose Regeneron’s

   Praluent® from the market.

          129.    The unlawful actions described in this Complaint were committed by Amgen for

   the purpose of maintaining and increasing Repatha®’s monopoly power in the PCSK9i market.

   Repatha®’s market dominance will continue to grow if Amgen is allowed to offer its bundled

   rebates to Third-Party Payors and substantially foreclose the rest of the PCSK9i market to

   Praluent®.




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           B.      Moderate-to-Severe Psoriasis Market (Otezla®)

          130.     Amgen also has monopoly power in the moderate-to-severe psoriasis market—

   power Amgen is leveraging to further cement its monopoly position in the unrelated market for

   PCSK9 inhibitors.

          131.     Oral drug products approved by the FDA to treat moderate-to-severe psoriasis in

   the United States constitute a relevant market—the “moderate-to-severe psoriasis market.”

          132.     The United States is the relevant geographic market for oral drug products used to

   treat moderate-to-severe psoriasis. In order to be sold in the United States, oral drug products used

   to treat moderate-to-severe psoriasis must be approved by the U.S. FDA, a process that is difficult,

   expensive, and time consuming. As a result, U.S. physicians and patients cannot turn to products

   that are not approved for sale in the United States as an alternative, and would not be able to even

   if the price of oral drug products used to treat moderate-to-severe psoriasis were to increase by a

   small, but significant and non-transitory amount.

          133.     According to the FTC, “Otezla® is the most significant oral product [] approved to

   treat moderate-to-severe psoriasis in the United States.”87 It is currently the only orally consumed

   treatment widely prescribed88 by doctors to treat moderate-to-severe psoriasis. All other moderate-

   to-severe psoriasis treatments widely marketed are administered by injection or are applied


   87
     Complaint at 2, In the Matter of Bristol-Meyers Squibb Company and Celgene Corp., No. C-4690 (FTC,
   Nov. 15, 2019), https://www.ftc.gov/system/files/documents/cases/191_0061_c4690_bms_celgene_
   complaint_0.pdf.
   88
     Bristol Myers Squibb’s (“BMS”) Sotyktu™ was approved for the treatment of adults with moderate-to-
   severe plaque psoriasis on September 9, 2022. See U.S. Food and Drug Administration Approves
   SotyktuTM (deucravacitinib), Oral Treatment for Adults with Moderate-to-Severe Plaque Psoriasis, Bristol
   Myers     Squibb (Sept.        9,   2022), https://news.bms.com/news/details/2022/U.S.-Food-and-Drug-
   Administration-Approves-Sotyktu-deucravacitinib-Oral-Treatment-for-Adults-with-Moderate-to-Severe-
   Plaque-Psoriasis/default.aspx. However, BMS reported only $25 million in global net sales in Q2 2023.
   See        Q2        2023         Results,      Bristol       Myers       Squibb         (July       27,
   2023), https://s21.q4cdn.com/104148044/files/doc_presentations/2023/BMY-2023-Q2-Results-Investor-
   Presentation-pdf.pdf at 17.


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   topically. Although other, older oral medications exist, the FTC concluded that “doctors now

   prescribe agents that have better efficacy, better safety, or a more favorable side effect profile for

   patients with moderate-to-severe psoriasis who desire an oral treatment.”89

           134.    Otezla® has possessed durable monopoly power in the moderate-to-severe psoriasis

   market at all relevant times since its initial FDA approval in 2014. As Amgen explained in its

   press release describing its Q2 2021 financial results: “In the U.S., Otezla® continued to maintain

   first-line share leadership in psoriasis.”90 Otezla®’s monopoly power facilitates Amgen’s ability

   to raise prices for Otezla® without any loss in sales. In fact, despite Amgen’s list price increases

   of 7.4 percent for Otezla®91 in 2020—which would account for increased revenue of over $130

   million on Otezla®’s $1.79 billion 2020 U.S. net sales, an increase equivalent to about half of

   Praluent®’s total 2020 net sales—the number of prescriptions filled has not decreased but rather

   increased by 13 percent in 2020 alone.92 In particular, according to GoodRx, Amgen has increased

   the list price for Otezla® “just shy of 94 percent from 2020 to 2022”—the largest increase for any

   drug treatment during that time.93 Notwithstanding this massive price increase, the number of

   Otezla® prescriptions filled increased by another 2 percent in 2021, demonstrating Amgen’s


   89
     Complaint at 2, In the Matter of Bristol-Meyers Squibb Company and Celgene Corp., No. C-4690 (FTC,
   Nov. 15, 2019), https://www.ftc.gov/system/files/documents/cases/191_0061_c4690_bms_celgene_
   complaint_0.pdf.
   90
     See Amgen Reports Second Quarter 2021 Financial Results, AMGEN, at 3 (Aug. 3, 2021),
   https://investors.amgen.com/news-releases/news-release-details/amgen-reports-second-quarter-2021-
   financial-results.
   91
      THIS IS THE WAY … TO ANALYZE CHANGES TO BRAND DRUG LIST PRICES, 46brooklyn,
   https://www.46brooklyn.com/branddrug-boxscore (choose “Amgen Inc” from Select Drugmaker (this
   filter applies to all Stat Boxes) dropdown; then scroll to “Stat Box #8: WAC Changes on Top Medicaid
   Brand Name Drugs”).
   92
       See Amgen Q4 2020 Earnings Call, at 22 (Feb. 2, 2021), https://investors.amgen.com/static-
   files/35869c22-d9f4-4be2-bae1-a8ea6462e94d.
   93
     See Paul Schloesser, A new report tracks hundreds of new drug price hikes, along with a look at the top
   10, ENDPOINTSNEWS, (Feb. 18, 2022).


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   monopoly power.94 Otezla® has dominated the moderate-to-severe psoriasis market because many

   patients believe that Otezla® is the most convenient way to treat their psoriasis. Since acquiring

   Otezla®, Amgen has capitalized on the high demand for safe, oral anti-psoriasis drugs, generating

   around $2.2 billion in global sales in both 202095 and 202196. This multi-billion-dollar-a-year drug

   consistently maintains high net product sales each year: $1.279 billion in 2017,97 $1.608 billion in

   2018,98 and $1.607 billion in 201999.

              135.   Otezla®’s monopoly power is also durable, as evidenced by the absence of any new

   entrants into its market. There have been no recent entrants into orally administered treatments

   for moderate-to-severe psoriasis. Otezla®’s durability is one of the reasons why Amgen was able

   to justify paying a record amount (more than $13 billion) for the drug in connection with the FTC-

   ordered divestiture sale. As explained above, the FTC ordered Otezla®’s divestiture because of


   94
     Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN, at 3 (Feb. 7, 2022),
   https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c3.
    Amgen Reports Fourth Quarter and Full Year 2020 Financial Results, AMGEN, at 2 (Feb. 2, 2021),
   95

   https://investors.amgen.com/node/30746/pdf. This figure is particularly notable given the disruption
   caused from COVID-19, decreasing patient interactions with their doctors and decreasing the number of
   new-to-brand patients. See id. at 1–2.
   96
     Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN, at 7–9 (Feb. 7, 2022),
   https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c3.
   97
     Celgene Reports Fourth Quarter and Full Year 2018 Operating and Financial Results, Celgene, at 13 (Jan.
   31, 2019), https://ir.celgene.com/press-releases-archive/press-release-details/2019/Celgene-Reports-
   Fourth-Quarter-and-Full-Year-2018-Operating-and-Financial-Results/default.aspx.
   98
        Id.
   99
     Because Amgen’s acquisition of Otezla® was finalized on November 21, 2019, this figure combines the
   data from Celgene’s First through Third Quarters financial reporting and Amgen’s Fourth Quarter financial
   reporting. See Celgene Reports First Quarter 2019 Operating and Financial Results, Celgene (Apr. 25,
   2019),            https://s24.q4cdn.com/483522778/files/doc_financials/2019/q1/Q1-2019-Earnings-Press-
   Release_FINAL_FINAL_04_25_19.pdf; Celgene Reports Second Quarter 2019 Operating and Financial
   Results, Celgene (July 30, 2019), https://s24.q4cdn.com/483522778/files/doc_financials/2019/q2/Q2-
   2019-Earnings-Press-Release_FINAL_with-tables.pdf; Celgene Reports Third Quarter 2019 Operating
   and       Financial        Results,    Celgene      (Oct.      31,      2019),    https://s24.q4cdn.com/
   483522778/files/doc_downloads/Q3-2019-Earnings-Press-Release_FINAL_APPROVED_with-rec-
   tables.pdf; Amgen Reports Fourth Quarter And Full Year 2020 Financial Results, AMGEN (Feb. 2, 2021),
   https://investors.amgen.com/node/30746/pdf.


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   the absence of competitive alternatives to Otezla® and Amgen acquired Otezla® through the largest

   divestiture sale ever ordered by the FTC to settle the agency’s complaint that the BMS-Celgene

   merger would harm consumers in the moderate-to-severe psoriasis market by eliminating future

   competition. While the FTC cited BMS’s development product, BMS 986165, as a potential future

   competitor to Otezla®, BMS 986165 has not been approved by the FDA, having encountered

   difficulties in the approval process, and is not approved for use in any other country. Even if BMS

   986165 is approved by the FDA and is available, it would be the only other oral treatment for

   moderate-to-severe psoriasis and is unlikely to significantly erode Otezla®’s dominance,

   particularly if Amgen continues to offer Otezla® in multi-product cross-class bundles, as Amgen

   is wont to do, as reflected by its conduct here and its prior settlement of another antitrust dispute

   involving bundling.100

          C.      Rheumatoid Arthritis Market (Enbrel®)

          136.    Finally, Amgen has market power in the rheumatoid arthritis market. And as with

   its monopoly power in the moderate-to-severe psoriasis market, Amgen is likewise using its

   market power in the rheumatoid arthritis market to further cement its monopoly position in the

   unrelated market for PCSK9 inhibitors.

          137.    Drug products that are approved by the FDA treat moderate-to-severe rheumatoid

   arthritis constitute a relevant market—the “rheumatoid arthritis market.”

          138.    The United States is the relevant geographic market for drug products used to treat

   moderate-to-severe rheumatoid arthritis. In order to be sold in the United States, drug products

   used to treat moderate-to-severe rheumatoid arthritis must be approved by the U.S. FDA, a process



     See Deena Beasley, Mark Porter & Gary Hill, Amgen to pay J&J $200 million to settle antitrust suit,
   100

   REUTERS,       (July      11,      2008),       https://www.reuters.com/article/us-amgen-jj-lawsuit-
   idUSN1136149420080711.


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   that is difficult, expensive, and time consuming. As a result, U.S. physicians and patients cannot

   turn to products that are not approved for sale in the United States as an alternative, and would not

   be able to even if the price of drug products used to treat moderate-to-severe rheumatoid arthritis

   were to increase by a small, but significant and non-transitory amount.

           139.    Enbrel® possesses market power in the rheumatoid arthritis market. Enbrel® was

   deemed “one of the world’s most profitable drugs” by the U.S. House of Representatives

   Committee on Oversight and Reform in an October 2020 staff report describing Amgen’s

   uninhibited price increases for Enbrel® and Sensipar® (the “Staff Report”). According to the Staff

   Report, Enbrel® was priced at $5,556 per month as of October 2020—a 457 percent increase from

   the date Amgen acquired the drug in 2002.101 While Enbrel® began losing market share to

   Humira® starting in 2017, it is still Amgen’s largest product by U.S. net sales, generating $4.85

   billion in 2020 and $4.35 billion in 2021.102

           140.    As the FTC recognized in its complaint, Enbrel wields enormous market power,

   evidenced by its influence—as a must-have drug—over the formulary-decision making of Third-

   Party Payors. See FTC Complaint ¶ 4 (“Due to the enormous sales and consistent volume of

   Amgen’s blockbuster drugs—such as Enbrel, which last year generated over $4 billion in global

   sales—even small enhancements to rebates can ensure payers accept such contracts.”).

           141.    Enbrel®’s market power is also evidenced by Amgen’s ability to increase prices

   without losing sales. According to the Staff Report, “Amgen’s price increases for Enbrel® have




   101
      Drug Pricing Investigation: Amgen—Enbrel and Sensipar,” Staff Report, Committee on Oversight and
   Reform, U.S. House of Representatives, at 5 (October 2020), https://oversight.house.gov/
   sites/democrats.oversight.house.gov/files/Amgen%20Staff%20Report%2010-1-20.pdf.
     Id.; Amgen’s Letter to Shareholders, at F-17 (2021), https://investors.amgen.com/static-files/35869c22-
   102

   d9f4-4be2-bae1-a8ea6462e94d.


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   contributed to billions of dollars in net revenue for the company,”103 and the same is true for

   Amgen’s price increases for Otezla®.104 As illustrated by Figures 1 and 3 from the Staff Report,

   Enbrel’s annual net sales steadily grew from $1.25 billion in 2003 to a peak of $5.72 billion in

   2016 despite repeated and significant price increases during that time105:




   103
      Drug Pricing Investigation: Amgen—Enbrel and Sensipar,” Staff Report, Committee on Oversight and
   Reform, U.S. House of Representatives, at 12 (October 2020), https://oversight.house.gov/
   sites/democrats.oversight.house.gov/files/Amgen%20Staff%20Report%2010-1-20.pdf.
   104
       Amgen’s list price for Otezla® has increased 7.4 percent since acquiring the drug, see THIS IS THE
   WAY … TO ANALYZE CHANGES TO BRAND DRUG LIST PRICES, 46brooklyn,
   https://www.46brooklyn.com/branddrug-boxscore (choose “Amgen Inc” from Select Drugmaker (this filter
   applies to all Stat Boxes) dropdown, then scroll to “Stat Box #8: WAC Changes on Top Medicaid Brand
   Name Drugs”), which would account for increased revenue of over $130 million on Otezla®’s $1.79 billion
   2020 U.S. net sales, all while the number of prescriptions filled has increased by 13 percent in 2020 alone.
   See Amgen’s Q4 2020 Earnings Call Presentation, at 22 (Feb. 2, 2021), https://investors.amgen.com/static-
   files/35869c22-d9f4-4be2-bae1-a8ea6462e94d.
   105
       Drug Pricing Investigation: Amgen—Enbrel and Sensipar, Staff Report, Committee on Oversight and Reform,
   U.S.     House     of     Representatives,   at  2,    4     (October     2020),    https://oversight house.gov/
   sites/democrats.oversight.house.gov/files/Amgen%20Staff%20Report%2010-1-20.pdf.



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                                        BARRIERS TO ENTRY

          142.    The pharmaceutical industry in general and the relevant markets in particular are

   characterized by substantial barriers to entry.

          143.    A number of factors together create significant barriers to entry in the

   pharmaceutical industry. First, branded products are patent-protected, which protects them from

   copies until the patents have run (for example, Otezla®’s patents run through 2024). And, as

   described above, even when patents do not protect a product, a company like Amgen can use the

   patent system to try to keep a rival product off the market, delay its entry, and hobble its launch.

          144.    Second, a company must invest substantial time and money into research and

   development of a new drug. It takes years to identify a new drug and assess whether it has the

   potential to safely treat a condition. For example, one study analyzed 63 new drugs and biologics

   approved by the FDA between 2009 and 2018, accounted for the cost of failed trials, and found

   that the estimated median research and development investment to bring a drug to market was

   $985.3 million and that the estimated mean research and development investment was $1335.9


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   million.106 In addition, research and development costs for drugs that successfully yield FDA

   approval have continued to increase over the last twenty to twenty-five years.107

              145.     Third, even if a new drug shows promise in pre-clinical studies, it is then subject to

   years of clinical trials, during which it is tested on large cohorts of patients to determine its safety

   and efficacy. Clinical trials typically occur in three phases. During Phase 1, researchers determine

   the drug’s basic properties and safety profile in humans using healthy individuals; during Phase 2,

   efficacy trials begin on a group of volunteers who are part of the drug’s target population; during

   the most expensive and time-consuming stage, Phase 3, human testing continues after meeting

   with the FDA and discussing any concerns.108 For a chronic condition like cardiovascular disease,

   clinical trials “tend to involve complex and expensive testing, large numbers of patients, and long

   timeframes,” which all lead to higher costs associated with the clinical trials.109 Unsurprisingly, a

   large majority of drugs fail during clinical trials. A recent study measuring the clinical

   development success rates from 2011 to 2020 concluded that likelihood that a drug that treats

   cardiovascular disease will progress from Phase 1 clinical trials to approval is 4.8 percent.110

   Indeed, in 2016, Pfizer discontinued its Phase 3 clinical trials for its investigational PCSK9


   106
      Olivier J. Wouters, Martin McKee & Jeroen Luyten, Estimated Research and Development Investment
   Needed to Bring a New Medicine to Market, 2009-2018, JAMA, at 5 (Mar. 3, 2020),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7054832/?report=reader.
   107
      Joseph A. DiMasi, Henry G. Grabowski & Ronald W. Hansen, Innovation in the pharmaceutical
   industry: New estimates of R&D costs, 47 J. Health Econ. 20, 31 (2016)
   https://dukespace.lib.duke.edu/dspace/bitstream/handle/10161/12742/DiMasi-Grabowski-Hansen-RnD-
   JHE-2016.pdf.
   108
      Aylin Sertkaya, Anna Birkenbach, Ayesha Berlind & John Eyraud, Examination of Clinical Trial Costs
   and Barriers for Drug Development, at 1–2 (July 25, 2014), https://aspe.hhs.gov/
   sites/default/files/private/pdf/77166/rpt_erg.pdf.
   109
         Id. at 2–4.
   110
      Clinical Development Success Rates and Contributing Factors 2011-2020, PharmaIntelligence Informa,
   at      10–11      (Feb.     2021),      https://pharmaintelligence.informa.com/~/media/informa-shop-
   window/pharma/2021/files/reports/2021-clinical-development-success-rates-2011-2020-v17.pdf.


                                                        71
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   inhibitor, bococizumab.111 Although the cost of clinical trials range based on the number of

   patients enrolled and the type of drug, one study found that each clinical trial cost between $12.2

   million and $33.1 million.112

          146.    Finally, even if these trials are successful, the drug company must compile the data

   and submit a new drug application to the FDA, which can take a year or more to process, and often

   takes considerably longer if the FDA finds deficiencies in the data or application. New Drug

   Applications are detailed and “must contain data from specific technical viewpoints for review,

   including chemistry, pharmacology, medical, biopharmaceutics, and statistics.”113 The FDA’s

   stated goal is to process a New Drug Application within ten months. However, as demonstrated

   by the delay in FDA-approval of Novartis’ new drug Leqvio®, the process may take much

   longer.114 All told, the average development time for a new drug from conception to approval on

   average takes 12 years, and in the vast majority of attempts result in failure.

          147.    The PCSK9i Market and Pharmacy-Dispensed PCSK9i Sub-Market: In addition

   to the barriers above, unique barriers to entry exist in the PCSK9i market and Pharmacy-dispensed

   PCSK9i sub-market. PCSK9 inhibitors are a novel treatment and were first marketed in 2015.

   Although PCSK9 inhibitors are a critical new drug for a high-risk population, that population is



   111
      Pfizer Discontinues Global Development of Bococizumab, Its Investigational PCKS9 Inhibitor, Pfizer
   (Nov.        1,      2016),      https://www.pfizer.com/news/press-release/press-release-detail/pfizer_
   discontinues_global_development_of_bococizumab_its_investigational_pcsk9_inhibitor.
   112
      Thomas J. Moore, Hanzhe Zhang, Gerard Anderson & C. Caleb Alexander, Estimated Costs of Pivotal
   Trials for Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-2016, 178
   JAMA           Internal        Med.        1451,        1457        (Sept.        24,        2018),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6248200/#!po=68.7500.
   113
      New       Drug          Application        (NDA),        Drugs@FDA             Glossary,      FDA,
   https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=glossary.page.
   114
      See Novartis receives complete response letter from U.S. FDA for inclisiran, NOVARTIS (Dec. 18,
   2020), https://www.novartis.com/news/media-releases/novartis-receives-complete-response-letter-from-
   us-fda-inclisiran.


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   relatively small. While about 25 percent of Americans over 40 years old take a statin to lower

   their cholesterol,115 the high-risk population who would be candidates to take a PCSK9 inhibitor

   includes about just one in every 250 Americans.116 These disincentives to enter the market,

   especially the Pharmacy-dispensed PCSK9i sub-market, are compounded by the tight control that

   Third-Party Payors—including, in particular, the three main PBMs that contract on behalf of nearly

   80 percent of covered prescriptions in the Pharmacy-dispensed PCSK9i sub-market—exert by

   requiring that beneficiaries first fail other treatments and then using formulary positioning to limit

   coverage to exclusive or preferred drugs within the class. Thus, it is difficult for potential entrants

   to justify high research and development, regulatory, and intellectual property costs given the high

   risk and limited sales opportunities in the PCSK9i market and Pharmacy-dispensed PCSK9i sub-

   market.

          148.    Moderate-to-Severe Psoriasis Market: Unique barriers to entry also exist in the

   moderate-to-severe psoriasis market, the market in which Amgen’s Otezla® is sold. As explained

   previously, Otezla® has dominated the oral medication moderate-to-severe psoriasis market. The

   FDA first approved Otezla® to treat psoriasis in 2014; seven years later, even the most likely

   apparent competitor has not yet entered the market. In addition, only recently have scientists

   learned more about the role the immune system plays on targeting and treating psoriasis. All of

   these factors make it difficult for potential new competitors to enter this market.

          149.    The Rheumatoid Arthritis Market: Unique barriers to entry similarly exist in the

   rheumatoid arthritis market, the market in which Amgen’s Enbrel® is sold. The rheumatoid


     Qiuping Gu, Ryne Paulose-Ram, Vicki L. Burt & Brian K. Kitel, Prescription Cholesterol-lowering
   115

   Medication Use in Adults Aged 40 and Over: United States, 2003–2012, NCHS Data Brief No. 177, (Dec.
   2014), https://www.cdc.gov/nchs/data/databriefs/db177.pdf.
   116
        Familial      Hypercholesterolemia,     CDC      (Feb.     10,    2022),     https://www.cdc.gov/
   genomics/disease/fh/FH.htm.



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   arthritis market has a high concentration of biosimilar drugs. A biosimilar is a drug that is a “highly

   similar” drug without “clinically meaningful differences” in a drug’s safety and effectiveness.117

   Although having a high number of biosimilar drugs may suggest that fewer barriers to entry exist,

   biosimilar drugs face increased regulatory and patent challenges, delaying the path to the market

   and increasing overall costs.

             150.   In particular, marketing biosimilar drugs is associated with a flurry of patent

   litigation. For example, adalimumab (more commonly known as Humira®), a competitor of

   Enbrel®, has over a hundred patents, most of which were filed after adalimumab’s launch. As one

   doctor explained in a recent FDA and FTC workshop: “So you just think about that and think

   about the barrier to having a biosimilar for that particular medication, or any others into the

   marketplace, it’s certainly a lot more complicated to wade through that patent thicket.”118

   According to the Staff Report, Amgen has wielded the patent thicket to its advantage in this

   market: the Staff Report concluded that “Amgen exploited the U.S. patent system to limit

   biosimilar competition for Enbrel®.”119 Amgen’s primary patent covering Enbrel® was filed in

   1990 and expired in 2010.120 But Amgen has filed a total of 57 patent applications for Enbrel®,

   and, as of 2018, 19 of those were active patent applications or granted patents.121 Amgen stands


   117
      See    Biosimilar   and    Interchangeable      Products,   (last   visited   May     25,    2022),
   https://www.fda.gov/drugs/biosimilars/biosimilar-and-interchangeable-products.
   118
      FDA/FTC Workshop on a Competitive Marketplace for Biosimilar, at 50:11–17 (Mar. 9, 2020),
   https://www.ftc.gov/system/files/documents/public_events/1568297/fda-ftc_biosimilars_workshop_
   transcript_3-9-20.pdf.
   119
      Drug Pricing Investigation: Amgen—Enbrel and Sensipar, Staff Report, Committee on Oversight and
   Reform,        U.S.      House       of       Representatives,      at    22     (October     2020),
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Amgen%20Staff%20Report %2010-
   1-20.pdf.
   120
      Overpatented, Overpriced Special Edition Enbrel, I-MAK, at 3 (2018), https://www.i-mak.org/wp-
   content/uploads/2018/12/i-mak.enbrel.report-2018-11-30F.pdf.
   121 Id.




                                                    74
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   to retain exclusivity until 2029.122 This means that Amgen has and will enjoy decades of

   exclusivity since Enbrel® was first approved in 1998.123

             151.   Biosimilar drugs also face immense skepticism from patients and prescribers.

   Prescribers are hesitant to switch patients from an existing treatment to a new drug, even if it is

   FDA-approved as a biosimilar.

                       ANTITRUST INJURY IN THE PCSK9I MARKET AND
                        PHARMACY-DISPENSED PCSK9I SUB-MARKET

             152.   Amgen’s conduct has already harmed and, if left unaddressed, will continue to

   harm competition in the U.S. PCSK9i market and Pharmacy-dispensed PCSK9i sub-market. As a

   result, Regeneron has suffered and will continue to suffer injury to its business or property,

   including lost sales, business opportunities, and ability to recoup the significant investments spent

   on the development and U.S. commercialization of Praluent®, including (as described above) the

   tens of millions of dollars ordinarily required to fund clinical trials.

             153.   Competition in the PCSK9i market has been harmed by Amgen’s below-cost

   pricing and bundled conditional rebate scheme. Amgen has reduced patient choice in the PCSK9i

   market by leveraging its largest (Enbrel®) and third-largest (Otezla®) products by U.S. sales—two

   substantially larger products than Repatha® from unrelated classes where Regeneron has no drugs

   that compete for the same indications—to exclude or restrict access for Praluent® through the

   formularies of key Third-Party Payors. As explained above, Amgen’s bundle results in a price for

   Repatha® that is below any appropriate measure of Amgen’s costs.

             154.   The threat of increased prices for Otezla® and Enbrel® leaves these Payors with no

   commercially reasonable choice but to accept Amgen’s demands for Repatha® in the much smaller


   122 Id.

   123 Id.




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   PCSK9i market, lest they be forced to pay higher prices on Enbrel® and Otezla®, and thereby incur

   much greater aggregate net costs across these three products. This is a classic example of a “rebate

   wall” under the definition authored by the FTC to refer to a situation “in which a dominant

   pharmaceutical manufacturer uses rebate strategies in its contracts with third-party payors to

   maintain market power, by giving its products preferred status in drug formularies, and to prevent

   sales of competing products.”124 According to the FTC, Third-Party Payors will not turn to rival

   drugs in this situation, because they cannot afford to pay the full list price when the drug

   manufacturer stops paying the rebate.125 So even when Regeneron has offered a lower price with

   competitive single-product rebate offers—as it has done—those savings do not offset the much

   higher prices for Otezla® and Enbrel® given their sales volumes that Amgen is leveraging to block

   competitive single-product offers.

              155.     As a result of Amgen’s conduct, Praluent® is now substantially foreclosed from the

   PCSK9i market with no coverage on the majority of the formularies of the three largest Third-

   Party Payors, and the Third-Party Payors who follow their formularies, who collectively cover 80

   percent of all insured lives in the United States who have been coerced to cover Repatha®

   exclusively on their formularies. Praluent® currently holds less than 20 percent of the PCSK9i

   market. As explained above, because of negative spillover effects, increased consolidation among

   PBMs whereby the big three PBMs wield outsized influence over the formularies of other PBMs,

   and alignment of Commercial and Part D formularies, the degree of foreclosure resulting from

   Amgen’s conduct is even greater than the portion of the market from which Praluent® has been



   124
        See Federal Trade Commission, Report on Rebate Walls, at 1 (May 28, 2021),
   https://www.ftc.gov/system/files/documents/reports/federal-trade-commission-report-rebate-walls/
   federal_trade_commission_report_on_rebate_walls_.pdf.
   125
         Id. at 2–3.


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   expressly foreclosed. This is fatal to Praluent®—which lost money in 2022—forcing Regeneron

   to consider investing its resources elsewhere with an exit from the market altogether. There is a

   large addressable segment of the U.S. population at risk for high cholesterol and for which PCSK9

   inhibitors are the best treatment, and Amgen’s conduct will prevent the expansion of this drug

   class to meet the needs of those patients.

          156.    Amgen’s below-cost pricing and conditional bundled rebate scheme is already

   pushing Praluent® below a critical mass of market share necessary to compete for access and

   remain viable, thereby entrenching Repatha® as the dominant product the PCSK9i market, and the

   only product in the Pharmacy-dispensed PCSK9i sub-market. Unless stopped, Regeneron’s exit

   would leave Amgen as the dominant player in the PCSK9i market, and the only player in the

   Pharmacy-dispensed PCSK9i sub-market, with ample opportunity to make up for any losses it

   incurred and continues to incur through its below-cost pricing and bundled rebate schemes.

   Without Praluent® as a viable competitor, patients will be worse off with reduced choice in

   PCSK9i inhibitors and increased prices for Repatha®.

          157.    Since Praluent® launched in 2015, Regeneron has been a disruptive force to drive

   net prices lower with creative access arrangements. As explained above, in arguing for an

   injunction that would have taken Praluent® off the market outright, Amgen acknowledged that

   Praluent®’s presence in the PCSK9i market “erod[ed] Amgen’s net price for Repatha” by enabling

   Third-Party Payors to “extract larger and larger rebates and other concessions as a condition to

   being included (even in a parity position) on national formularies.” PI Motion at 6. Amgen’s

   below-cost pricing and bundled rebate scheme is thus designed to rid Repatha® of the

   procompetitive, price-lowering competition Praluent® brings to the marketplace. Based on




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   Amgen’s public financial disclosures, Repatha®’s net price has not been lowered due to the

   bundled rebates offered to Third-Party Payors.126

           158.     Moreover, there are serious medical risks and costs of forcing tens or even hundreds

   of thousands of Praluent® patients to switch to Repatha®.127 Practitioners have expressed concerns

   that switching patients to Repatha® would require lengthy and extensive review by insurance

   companies, which would disrupt any treatment for patients awaiting approval.128 Switching

   patients to Repatha® would also deny them and their doctors the option of using Praluent®’s 75mg

   low dose, which currently accounts for the majority of ESI’s PCSK9 inhibitor utilization.

   Additionally, practitioners have explained that for certain patients, Repatha® simply does not

   work.129 And certain high-risk patients may suffer the most because Praluent® is the only PCSK9

   inhibitor associated with an observed reduction in all-cause mortality and reduced the risk of death

   for those patients by 29 percent.130

           159.     Moreover, Amgen’s bundling of Otezla® and Enbrel® to block access for Praluent®

   sets a dangerous precedent for competition in the pharmaceutical industry. Allowing this conduct


   126
       See Amgen Reports Second Quarter 2021 Financial Results,” AMGEN, at 2–3, 5 (Aug. 3, 2021)
   https://investors.amgen.com/static-files/b9db54f1-427b-4266-817a-5451ed692c09 (highlighting lower net
   selling price for Repatha® only “as a result of an increase in the number of U.S. Medicare Part D patients
   receiving Repatha and entering the coverage gap”).
   127
       The medical risks and costs associated with switching patients to Leqvio® are not yet known, but
   Praluent® provides benefits to patients that have not been demonstrated with respect to Leqvio®, including
   all-cause mortality and reduction of risk of heart attack and stroke. Regeneron Pharmaceuticals, Praluent®
   (alirocumab) package insert (April 2021), https://www.accessdata.fda.gov/drugsatfda_docs/label/2021
    /125559s029s030lbl.pdf; Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1, (last
   visited May 25, 2022), https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf.
   128
      See Response of Amicus Curiae Practitioners Who Currently Treat Patients with Praluent in Support of
   Appellants’ Motion for Stay Pending Appeal at 8, filed in Sanofi v. Amgen, Inc., No. 17-1480 (Fed. Cir.
   Jan. 24, 2017), ECF No. 40.
   129
      E.g., id. at 7 (“[T]here is a lack of any reliable research indicating that their patients taking Praluent will
   actually respond to Repatha”).
   130
       See PCSK9 Therapy: An Example of Value-Based Care, Express Scripts (May 1, 2018),
   https://www.express-scripts.com/corporate/articles/pcsk9-therapy-example-value-based-care.



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   will encourage large pharmaceutical companies like Amgen to exclude smaller, innovative

   entrants by bundling larger products from unrelated classes where a new entrant offers no

   competitive product and cannot offer an alternative competitive bundle. This type of exclusionary

   bundling has already reduced, and will continue to reduce, consumer choice in the PCSK9i market

   and the Pharmacy-dispensed PCSK9i sub-market to the detriment of patients. And it will have the

   same harmful anticompetitive effects across countless other therapeutic classes if left unchecked.

                                       CLAIMS FOR RELIEF

                      Count One: Monopolization of the PCSK9i Market and
                        Pharmacy-Dispensed PCSK9i Sub-Market Through
                       Bundling in Violation of Section 2 of the Sherman Act

          160.    Regeneron incorporates by reference all of the allegations set forth above as if fully

   set forth below.

          161.    Section 2 of the Sherman Act prohibits the monopolization of any part of the trade

   or commerce among the several States. 15 U.S.C. § 2.

          162.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

   reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

   United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

   for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

   “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two such PCSK9

   inhibitors approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor

   was approved by the FDA in December 2021 (Leqvio®), it is not a meaningful competitive

   constraint on Repatha® and Praluent®. In response to a small but significant and non-transitory

   increase in the price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully

   switch to any other product or treatment.




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          163.    From at least September 2017 until now, Amgen possessed monopoly power in the

   PCSK9i market and the Pharmacy-dispensed PCSK9i sub-market with Repatha®. Repatha®’s

   share of the PCSK9i market by total prescriptions was almost 80 percent as of February 2022, and

   a significant portion of the remainder corresponded to CVS/Zinc Commercial, which went

   Repatha®-exclusive in July 2023. Significant and substantial commercial, developmental,

   regulatory, and other barriers insulate the PCSK9i market, and especially the Pharmacy-dispensed

   PCSK9i sub-market, from new entry and expansion.

          164.    Amgen unlawfully maintained and entrenched its monopoly power in the PCSK9i

   market through an anticompetitive bundling scheme. Specifically, Amgen purposely and

   knowingly bundled its sales of Otezla®, Enbrel®, and Repatha® in a unified portfolio rebate offer

   to require that Third-Party Payors exclude Praluent® in order to obtain highly valuable and

   lucrative product rebates on the wholly unrelated Otzela® and Enbrel® products, which possess

   monopoly power and market power, respectively, in the relevant markets. Amgen leverages these

   unrelated and much larger products from its portfolio to exclude Praluent® through a bundled

   rebate offer to Third-Party Payors that cannot be matched by Regeneron, which lacks comparable

   products to Otezla® and Enbrel®, and is unable to match Amgen’s rebates given the relatively more

   limited size of Regeneron’s product portfolio and the distribution channels for those products.

          165.    By conditioning rebates for its combination of blockbuster drugs Otezla® and

   Enbrel® upon Repatha® exclusivity or de facto exclusivity on Third-Party formularies, Amgen was

   able to hinder and artificially limit competition in the PCSK9i market from Praluent®. The effect

   of Amgen’s conduct is that Praluent® is now substantially foreclosed from the PCSK9i market

   with no coverage on the majority of the formularies of the three largest Third-Party Payors, and

   the Third-Party Payors who follow their formularies, who collectively cover 80 percent of all




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   insured lives in the United States. The degree of foreclosure resulting from Amgen’s conduct is

   even greater due to negative “spillover” effects at the Payor and prescriber levels, consolidation

   among PBMs, and coordination of formulary decision-making between Commercial and Part D

   plans. Because Third-Party Payors serve as the gateway for distribution and sale of PCSK9

   inhibitors to patients, the Third-Party Payors’ selection of coverage for Repatha® over Praluent®

   forces patients and providers to choose Repatha® over Praluent®.

          166.    Given that Repatha®’s net price has not been lowered due to the bundled rebates

   offered to Third-Party Payors, Amgen’s pricing for Repatha® is not the clearly predominant means

   by which it forecloses competition in the PCSK9i market and Pharmacy-dispensed PCSK9i sub-

   market. Amgen forecloses competition by bundling Repatha® with Otezla® and Enbrel®—

   substantially larger products from unrelated classes where Regeneron has no drugs that compete

   for the same indications and no way to match Amgen’s rebates given Regeneron’s current and

   future drug portfolio and distribution channels. Amgen’s anticompetitive conduct is designed and

   intended to cement its existing monopoly in the PCKS9i market and Pharmacy-dispensed PCSK9i

   sub-market by leveraging significant and coercive rebates for Otezla® and Enbrel® that Payors

   must take, thereby leaving Payors with no viable choice but to exclude Praluent® from their

   formularies.

          167.    Amgen’s conduct has directly and proximately caused injury to Regeneron’s

   business and property and harmed competition in the PCSK9i market and Pharmacy-dispensed

   PCSK9i sub-market. The anticompetitive effect of Amgen’s scheme is amplified by spillover

   effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

   sales force across its much larger portfolio of drug products to make even equal formulary

   coverage achieved by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive




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   for Repatha®. As a result, Regeneron has suffered and will continue to suffer injury to its business

   or property, including lost sales, business opportunities, and ability to recoup the significant

   investments spent on the development and U.S. commercialization of Praluent®. Most harmful of

   all, Amgen’s conduct is pushing Praluent® below a critical mass of market share necessary to

   compete for access and remain viable, thereby entrenching Repatha® as the dominant product in

   the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-market.

              168.    Regeneron’s injuries are of the type that the U.S. antitrust laws are intended to

   prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of the

   Sherman Act. Amgen has acknowledged that competition between Repatha® and Praluent® is a

   key driver of pricing in the PCSK9i market.131 Additionally, there are serious medical risks and

   costs of forcing tens or even hundreds of thousands of Praluent® patients to switch to Repatha®.

   Without Praluent® as a viable competitor, patients would be worse off with reduced choice in the

   PCSK9i market and increased prices for Repatha®.

              169.    Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

   attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.

                     Count Two: Attempted Monopolization of the PCSK9i Market and
                           Pharmacy-Dispensed PCSK9i Sub-Market Through
                           Bundling in Violation of Section 2 of the Sherman Act

              170.    Regeneron incorporates by reference all of the allegations set forth above as if fully

   set forth below.

              171.    Section 2 of the Sherman Act prohibits the monopolization of any part of the trade

   or commerce among the several States. 15 U.S.C. § 2.




   131
         See PI Motion at 6–9.


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          172.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

   reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

   United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

   for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

   “Pharmacy-dispensed PCSK9i sub-market.” For many years, there were only two PCSK9

   inhibitors approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor

   was approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

   Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

   price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

   other product or treatment.

          173.    Amgen’s bundled rebate scheme constitutes anticompetitive conduct taken with the

   specific intent to monopolize the PCSK9i market and Pharmacy-dispensed PCSK9i sub-market in

   violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. Specifically, Amgen purposely and

   knowingly bundled its sales of Otezla®, Enbrel®, and Repatha® to require that Third-Party Payors

   provide exclusivity to Repatha®—and exclude Praluent®—in order to obtain highly valuable and

   lucrative product rebates on the wholly unrelated Otzela® and Enbrel® products. By exploiting its

   leverage from the combination of blockbuster drugs Otezla® and Enbrel®—which possess

   monopoly power and market power, respectively, in the relevant markets—Amgen was able to

   hinder and artificially limit competition in the PCSK9i market from Praluent®. Amgen leverages

   these unrelated and much larger products from its portfolio to exclude Praluent® through a bundled

   rebate offer to Third-Party Payors that cannot be matched by Regeneron, which lacks comparable

   products to Otezla® and Enbrel®, and is unable to match Amgen’s rebates given the relatively more

   limited size of Regeneron’s product portfolio and the distribution channels for those products.




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          174.    The effect of Amgen’s conduct is that Praluent® is now substantially foreclosed

   from the PCSK9i market with no coverage on the majority of the formularies of the three largest

   Third-Party Payors, and the Third-Party Payors who follow their formularies, who collectively

   cover 80 percent of all insured lives in the United States. The degree of foreclosure resulting from

   Amgen’s conduct is even greater due to negative “spillover” effects at the Payor and prescriber

   levels, consolidation among PBMs, and coordination of formulary decision-making between

   Commercial and Part D plans. Because Third-Party Payors serve as the gateway for distribution

   and sale of PCSK9 inhibitors to patients, the purchasers’ selection of coverage of Repatha® over

   Praluent® forces patients and providers to choose Repatha® over Praluent®.

          175.    Given that Repatha®’s net price has not been lowered due to the bundled rebates

   offered to Third-Party Payors, pricing for Repatha® is not the clearly predominant means by which

   Amgen’s bundled rebate scheme forecloses competition in the PCSK9i market and the Pharmacy-

   dispensed PCSK9i sub-market. Amgen forecloses competition by bundling Repatha® with

   Otezla® and Enbrel®—substantially larger products from unrelated classes where Regeneron has

   no drugs that compete for the same indications and no way to match Amgen’s rebates given

   Regeneron’s current and future drug portfolio and distribution channels. Amgen’s anticompetitive

   conduct is designed and intended to cement its existing monopoly in the PCKS9i market by

   leveraging significant and coercive rebates for Otezla® and Enbrel® that Payors must take, thereby

   leaving Payors with no viable choice but to exclude Praluent® from their formularies.

           176.   Amgen has acted with the specific intent to monopolize the PCSK9i market and

    Pharmacy-dispensed PCSK9i sub-market in violation of Section 2 of the Sherman Act, 15 U.S.C.

    § 2. Since Praluent®’s and Repatha®’s U.S. launches in 2015, Amgen has repeatedly attempted to

   block Praluent® from competing in the PCSK9i market, including by trying, and failing, to exclude




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   Praluent® from the market under U.S. patent law and utilizing its sales force to spread misleading

   facts about Praluent®. Having failed in its previous attempts to rid Repatha® of competition from

   Regeneron’s Praluent®—the only competition Amgen faces in the Pharmacy-dispensed PCSK9i

   sub-market—Amgen has turned to an unlawful bundled rebate scheme to cement its monopoly

   position.

          177.    There is a dangerous probability that Amgen will succeed in monopolizing the

   PCSK9i market and the Pharmacy-dispensed PCSK9i sub-market by eliminating competition from

   Praluent®. Amgen’s conduct is pushing Praluent® below a critical mass of market share necessary

   to compete for access and remain viable, thereby entrenching Repatha® as the dominant product

   in the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i market. If Amgen

   coerces another key Third-Party Payor to exclude Praluent® from its formulary, foreclosure will

   be well above 50 percent and it could be fatal to Praluent®, forcing Regeneron to consider investing

   its resources elsewhere with an exit from the PCSK9i market altogether or some other significant

   scaling back of the product.

          178.    Amgen’s conduct has directly and proximately caused injury to Regeneron’s

   business and property. The anticompetitive effect of Amgen’s scheme is amplified by spillover

   effects at the Third-Party Payor and prescriber levels, as well as Amgen’s ability to leverage its

   much larger sales force across its portfolio of drug products to make even equal formulary

   coverage achieved by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive

   for Repatha®. As a result, Regeneron has suffered and will continue to suffer injury to its business

   or property, including lost sales, business opportunities, and ability to recoup the significant

   investments spent on the development and U.S. commercialization of Praluent®. Most harmful of

   all, Amgen’s conduct is pushing Praluent® below a critical mass of market share necessary to




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   compete for access and remain viable, thereby entrenching Repatha® as the dominant product in

   the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-market.

              179.    Regeneron’s injuries are of the type that the U.S. antitrust laws are intended to

   prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of the

   Sherman Act, 15 U.S.C. § 2. Amgen has acknowledged that competition between Repatha® and

   Praluent® is a key driver of pricing in the PCSK9i market.132 Additionally, there are serious

   medical risks and costs of forcing tens or even hundreds of thousands of Praluent® patients to

   switch to Repatha®. Without Praluent® as a viable competitor, patients would be worse off with

   reduced choice in the PCSK9i market and increased prices for Repatha®.

              180.    Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

   attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.

                        Count Three: Monopolization of the PCSK9i Market and
                          Pharmacy-Dispensed PCSK9i Sub-Market Through
                     Below-Cost Pricing in Violation of Section 2 of the Sherman Act

              181.    Regeneron incorporates by reference all of the allegations set forth above as if fully

   set forth below.

              182.    Section 2 of the Sherman Act prohibits the attempted monopolization of any part

   of the trade or commerce among the several States. 15 U.S.C. § 2.

              183.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

   reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

   United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

   for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

   “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors


   132
         See PI Motion at 6–9.


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   approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

   approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

   and Praluent®. In response to a small but significant and non-transitory increase in the price of

   PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

   product or treatment.

          184.    From at least September 2017 until now, Amgen possessed monopoly power in the

   PCSK9i market with Repatha®. Repatha®’s share of the PCSK9i market by total prescriptions is

   approximately 80 percent as of February 2022. Significant and substantial commercial,

   developmental, regulatory, and other barriers insulate the PCSK9i market from new entry and

   expansion.

          185.    Amgen unlawfully maintained and entrenched its monopoly power in the PCSK9i

   market by using a below-cost offer for Repatha® to secure exclusivity, or de facto exclusivity, for

   Repatha® and exclude Praluent® from the formularies of Third-Party Payors. For example, Amgen

   conditioned rebates of $210 million over two years and four months—about $90 million per year—

   on a three-product bundle consisting of Otezla®, Enbrel® and Repatha®. As explained in more

   detail above, after allocating the entirety of Amgen’s bundled rebates to Repatha®, Amgen is

   pricing Repatha® below an appropriate measure of its costs. Upon information and belief, Amgen

   has used and is using a below-cost offer for Repatha® to secure exclusivity or de facto exclusivity

   for Repatha®, and exclude Praluent® from the formularies of other Third-Party Payors. Amgen’s

   below-cost prices cannot be matched by Regeneron unless it sells Praluent® below cost.

          186.    The effect of Amgen’s conduct has been to foreclose Praluent® from at least 50

   percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is even

   greater than the absolute portion of the market from which Praluent® has been foreclosed due to




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   negative “spillover” effects at the Payor and prescriber levels, consolidation among PBMs, and

   coordination of formulary decision-making between Commercial and Part D plans. Because

   Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to patients,

   the purchasers’ selection of coverage for Repatha® over Praluent® forces patients and providers to

   choose Repatha® over Praluent®.

          187.    Amgen’s conduct has directly and proximately caused injury to Regeneron’s

   business and property, and harmed competition by foreclosing Regeneron from at least 50 percent

   of the PCSK9i market. The anticompetitive effect of Amgen’s scheme is amplified by spillover

   effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

   sales force across its portfolio of drug products to make even equal formulary coverage achieved

   by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive for Repatha®. As a

   result, Regeneron has suffered and will continue to suffer injury to its business or property,

   including lost sales, business opportunities, and ability to recoup the significant investments spent

   on the development and U.S. commercialization of Praluent®.

          188.    Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass

   of market share necessary to compete for access and remain viable. This has the effect of

   entrenching Repatha® as the dominant product in the PCSK9i market, and the only product in the

   Pharmacy-dispensed PCSK9i sub-market, with no constraint on Amgen’s ability to control and

   raise prices going forward, as well as allowing Amgen to recoup its investment from its

   anticompetitive bundling scheme.

          189.    Regeneron’s injuries are of the type that the U.S. antitrust laws are intended to

   prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of the

   Sherman Act, 15 U.S.C. § 2. Amgen has acknowledged that competition between Repatha® and




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   Praluent® is a key driver of pricing in the PCSK9i market.133 Additionally, there are serious

   medical risks and costs of forcing tens or even hundreds of thousands of Praluent® patients to

   switch to Repatha®. Without Praluent® as a viable competitor, patients would be worse off with

   reduced choice in the PCSK9i market and increased prices for Repatha®.

              190.     Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

   attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.

                       Count Four: Attempted Monopolization of the PCSK9i Market
                              and Pharmacy-Dispensed PCSK9i Sub-Market
                   Through Below-Cost Pricing in Violation of Section 2 of the Sherman Act

              191.     Regeneron incorporates by reference all of the allegations set forth above as if fully

   set forth below.

              192.     Section 2 of the Sherman Act prohibits the attempted monopolization of any part

   of the trade or commerce among the several States. 15 U.S.C. § 2.

              193.     FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

   reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

   United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

   for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

   “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

   approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

   approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

   and Praluent®. In response to a small but significant and non-transitory increase in the price of

   PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

   product or treatment.


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         See id.


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          194.    Amgen’s below-cost pricing scheme constitutes anticompetitive conduct taken with

   the specific intent to monopolize the PCSK9i market in violation of Section 2 of the Sherman Act,

   15 U.S.C. § 2. Specifically, Amgen conditioned rebates of $210 million over two years and four

   months—about $90 million per year—on a three-product bundle consisting of Otezla®, Enbrel®

   and Repatha®. As explained in more detail above, after allocating the entirety of Amgen’s bundled

   rebates to Repatha®, Amgen is pricing Repatha® below an appropriate measure of its costs. Upon

   information and belief, Amgen has used and is using a below-cost offer for Repatha® to secure

   exclusivity or de facto exclusivity for Repatha® and exclude Praluent® from the formularies of

   other Third-Party Payors. Amgen’s below-cost prices cannot be matched by Regeneron unless it

   sells Praluent® below cost.

          195.    The effect of Amgen’s conduct has been to foreclose Praluent® from at least 50

   percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is even

   greater than the absolute portion of the market from which Praluent® has been foreclosed due to

   negative “spillover” effects at the Payor and prescriber levels, consolidation among PBMs, and

   coordination of formulary decision-making between Commercial and Part D plans. Because

   Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to patients,

   the purchasers’ selection of coverage for Repatha® over Praluent® forces patients and providers to

   choose Repatha® over Praluent®.

          196.    Amgen has acted with the specific intent to monopolize the PCSK9i market and

   Pharmacy-dispensed PCSK9i sub-market in violation of Section 2 of the Sherman Act, 15 U.S.C.

   § 2. Since Praluent®’s and Repatha®’s U.S. launch in 2015, Amgen has repeatedly attempted to

   block Praluent® from competing in the PCSK9i market. First, Amgen attempted, and failed, to

   exclude Praluent® from the market under U.S. patent law. Amgen then utilized its sales force to




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   spread misleading facts regarding Praluent®’s safety and availability. Having failed in its previous

   attempts rid Repatha® of competition from Regeneron’s Praluent®—the only competition Amgen

   faces in the PCSK9i market—Amgen next turned to an unlawful bundled rebate scheme to cement

   its monopoly position.

          197.    There is a dangerous probability that Amgen will succeed in monopolizing the

   PCSK9i market by eliminating Praluent®. Amgen’s conduct is pushing Praluent® below a critical

   mass of market share necessary to compete for access and remain viable, thereby entrenching

   Repatha® as the dominant product in the PCSK9i market, and the only product in the Pharmacy-

   dispensed PCSK9i sub-market. If Amgen coerces another key Payor to exclude Praluent® from

   its formulary, foreclosure will be well above 50 percent and it could be fatal to Praluent® forcing

   Regeneron to consider investing its resources elsewhere with an exit from the PCSK9i market

   altogether or some other significant scaling back of the product.

          198.    Amgen’s conduct has directly and proximately caused injury to Regeneron’s

   business and property. The anticompetitive effect of Amgen’s scheme is amplified by spillover

   effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

   sales force across its portfolio of drug products to make even equal formulary coverage achieved

   by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive for Repatha®. As a

   result, Regeneron has suffered and will continue to suffer injury to its business or property,

   including lost sales, business opportunities, and ability to recoup the significant investments spent

   on the development and U.S. commercialization of Praluent®. Most harmful of all, Amgen’s

   conduct is pushing Praluent® below a critical mass of market share necessary to compete for access

   and remain viable, thereby entrenching Repatha® as the dominant product in the PCSK9i market,

   and the only product in the Pharmacy-dispensed PCSK9i sub-market, with no constraint on




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   Amgen’s ability to control and raise prices going forward, as well as allowing Amgen to recoup

   its investment from its anticompetitive bundling scheme.

              199.    Regeneron’s injuries are of the type that the U.S. antitrust laws are intended to

   prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of the

   Sherman Act, 15 U.S.C. § 2. Amgen has acknowledged that competition between Repatha® and

   Praluent® is a key driver of pricing in the PCSK9i market.134 Additionally, there are serious

   medical risks and costs of forcing tens or even hundreds of thousands of Praluent® patients to

   switch to Repatha®. Without Praluent® as a viable competitor, patients would be worse off with

   reduced choice in the PCSK9i market and increased prices for Repatha®.

              200.    Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

   attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.

                                 Count Five: Unreasonable Restraint of Trade
                                 in Violation of Section 1 of the Sherman Act

              201.    Regeneron incorporates by reference all of the allegations set forth above as if fully

   set forth below.

              202.    Section 1 of the Sherman Act prohibits “[e]very contract, combination in the form

   of trust or otherwise, or conspiracy, in restraint of trade or commerce among the several States.”

   15 U.S.C. § 1.

              203.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

   reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

   United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

   for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the



   134
         See PI Motion at 6–9.


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   “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

   approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

   approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

   and Praluent®. In response to a small but significant and non-transitory increase in the price of

   PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

   product or treatment.

          204.    Amgen has entered into agreements with at least ESI Commercial, ESI Part D,

   UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned and tied

   the availability of rebates for Otezla® and Enbrel® upon exclusive or de facto exclusive formulary

   coverage for the purchase Repatha®. These three products are separate and sold in distinct markets,

   and doctors prescribe each of them to treat different medical conditions and serve different patient

   preferences. Each agreement between Amgen and the Third-Party Payors that tied rebates for

   Otezla® and Enbrel® to Repatha® is an unreasonable restraint of trade that was entered into in

   violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

          205.    Specifically, Amgen used a three-product bundle consisting of Otezla®, Enbrel®,

   and Repatha® to condition drug formulary exclusivity for Repatha®. Amgen’s conduct unlawfully

   excluded Praluent® from competing for formulary access in the PCSK9i market by tying Repatha®

   exclusivity to coercive rebates for much larger products in other drug classes where Regeneron

   has no drugs that compete for the same indications.

          206.    Otezla® possesses monopoly power in the U.S. market for orally ingested drug

   products approved by the FDA for the treatment of moderate-to-severe psoriasis. Enbrel® is

   Amgen’s largest product and possesses market power in the rheumatoid arthritis market. Amgen’s

   scheme excludes Praluent® through a bundled rebate offer to Third-Party Payors that cannot be




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   matched by Regeneron, which lacks comparable products to Otezla® and Enbrel®, and is unable

   to match Amgen’s rebates.

          207.    The effect of Amgen’s conduct has been to foreclose Praluent® from at least 50

   percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is even

   greater than the absolute portion of the market from which Praluent® has been foreclosed due to

   negative “spillover” effects at the Payor and prescriber levels, consolidation among PBMs, and

   coordination of formulary decision-making between Commercial and Part D plans. Because

   Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to patients,

   the Third-Party Payors’ selection of coverage for Repatha® over Praluent® forces patients and

   providers to choose Repatha® over Praluent®.

          208.    The threat of increased prices for Otezla® and Enbrel® leaves Third-Party Payors

   like ESI, CVS and UHC/Optum with no choice but to accept Amgen’s demands for favorable

   formulary positioning for Repatha®. Even if Regeneron offered a lower price for the PCSK9i

   market with competitive single-product rebate offers, as it has done, those savings do not and

   cannot offset the increased prices for Otezla® and Enbrel® that Amgen leverages to block such

   competitive single-product offers.

          209.    Amgen’s unlawful agreements have directly and proximately caused injury to

   Regeneron’s business and property. As a result, Regeneron has suffered and will continue to suffer

   injury to its business or property, including lost sales, business opportunities, and ability to recoup

   the significant investments spent on the development and U.S. commercialization of Praluent®.

   Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

   necessary to compete for access and remain viable, thereby entrenching Repatha® as the dominant




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   product in the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-

   market.

              210.    Regeneron’s injuries are of the type that the U.S. antitrust laws are intended to

   prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 1 of the

   Sherman Act, 15 U.S.C. § 1. Amgen has acknowledged that competition between Repatha® and

   Praluent® is a key driver of pricing in the PCSK9i market.135 Additionally, there are serious

   medical risks and costs of forcing tens or even hundreds of thousands of Praluent® patients to

   switch to Repatha®. Without Praluent® as a viable competitor, patients would be worse off with

   reduced choice in the PCSK9i market and increased prices for Repatha®.

              211.    Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

   attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.

                             Count Six: Sale on Condition to Exclude Praluent®
                                in Violation of Section 3 of the Clayton Act

              212.    Regeneron incorporates by reference all of the allegations set forth above as if fully

   set forth below.

              213.    Section 3 of the Clayton Act prohibits the sale or contract for sale of goods on the

   condition, agreement or understanding that the purchaser shall not use or deal in the goods of a

   competitor of the seller “where the effect of such lease, sale, or contract for sale or such condition,

   agreement, or understanding may be to substantially lessen competition or tend to create a

   monopoly in any line of commerce.” 15 U.S.C. § 14.

              214.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

   reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the



   135
         See PI Motion at 6–9.


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   United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

   for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

   “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

   approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

   approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

   and Praluent®. In response to a small but significant and non-transitory increase in the price of

   PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

   product or treatment.

          215.    Amgen has entered into agreements with at least ESI Commercial, ESI Part D,

   UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned and tied

   the availability of rebates for Otezla® and Enbrel® upon exclusive, or de facto, exclusive formulary

   coverage for the purchase of Repatha®. These three products are separate and sold in distinct

   markets, and doctors prescribe each of them to treat different medical conditions and serve

   different patient preferences. Each agreement between Amgen and the Third-Party Payors that

   tied rebates for Otezla® and Enbrel® to Repatha®, is a contract for sale of goods on the condition,

   agreement or understanding that the purchaser shall not use or deal in the goods of a competitor of

   the seller and was entered into in violation of Section 3 of the Clayton Act, 15 U.S.C. § 14.

          216.    Specifically, Amgen used a three-product bundle—consisting of Otezla®, Enbrel®,

   and Repatha®—to condition drug formulary exclusivity for Repatha®. Amgen’s conduct

   unlawfully excluded Praluent® from competing for formulary access in the PCSK9i market by

   tying Repatha® exclusivity to coercive rebates for much larger products in other drug classes where

   Regeneron has no drugs that compete for the same indications. Amgen’s agreements with Third-




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   Party Payors govern the terms of sale for Otezla®, Enbrel® and Repatha®, to consumers and thus

   relate to the sale of goods under Section 3 of the Clayton Act, 15 U.S.C. § 14.

          217.    Otezla® possesses monopoly power in the U.S. market for orally ingested drug

   products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

   Amgen’s third largest product, generating $1.79 billion in 2020. Enbrel® is Amgen’s largest

   product with $4.85 billion in U.S. net sales in 2020, and possesses market power in the rheumatoid

   arthritis market. By comparison, Repatha® generated $459 million in U.S. net sales in 2020.

   Amgen’s scheme leverages this enormous gap in sales to exclude Praluent® through a bundled

   rebate offer to Third-Party Payors that cannot be matched by Regeneron.

          218.    The effect of Amgen’s conduct has been to substantially lessen competition or tend

   to create a monopoly in the PCSK9i market by foreclosing Praluent® from at least 50 percent of

   the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is even greater

   than the absolute portion of the market from which Praluent® has been foreclosed due to negative

   “spillover” effects at the Payor and prescriber levels, consolidation among PBMs, and coordination

   of formulary decision-making between Commercial and Part D plans. Because Third-Party Payors

   serve as the gateway for distribution and sale of PCSK9 inhibitors to patients, the purchasers’

   selection of certain coverage of Repatha® over Praluent® chooses for patients and providers

   whether Praluent® is available as an option.

          219.    The threat of increased prices for Otezla® and Enbrel® leaves Third-Party Payors

   with no choice but to accept Amgen’s demands for favorable formulary positioning for Repatha®.

   Even if Regeneron offered a lower price for the PCSK9i market with competitive single-product

   rebate offers, as it has done, those savings would not offset the increased prices for Otezla® and

   Enbrel® that Amgen leverages to block such competitive single-product offers.




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            220.   Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. The anticompetitive effect of Amgen’s scheme is amplified by spillover

 effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

 sales force across its portfolio of drug products to make even equal formulary coverage de facto

 exclusive for Repatha®. As a result, Regeneron has suffered and will continue to suffer injury to

 its business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®. Most

 harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the dominant

 product in the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-

 market.

            221.   Regeneron’s injuries are of the type that the U.S. antitrust laws are intended to

 prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 3 of the

 Clayton Act, 15 U.S.C. § 14. Amgen has acknowledged that competition between Repatha® and

 Praluent® is a key driver of pricing in the PCSK9i market.136 Additionally, there are serious

 medical risks and costs of forcing tens or even hundreds of thousands of Praluent® patients to

 switch to Repatha®. Without Praluent® as a viable competitor, patients would be worse off with

 reduced choice in the PCSK9i market and increased prices for Repatha®.

            222.   Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

 attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.




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          Count Seven: Violation of California’s Unfair Competition Law (“UCL”),
                          Cal. Bus. & Prof. Code § 17200 et seq.

        223.    Regeneron incorporates by reference all of the allegations set forth above as if fully

 set forth below.

        224.    California Business and Professions Code Section 17200, which is part of

 California’s Unfair Competition Law, prohibits any person engaged in business in California from

 engaging in “any unlawful, unfair or fraudulent business act or practice.”

        225.    Amgen is engaged in business in California, and has provided or offered to provide

 bundled rebates of its products to customers at below-cost prices to customers in the United States

 for the purposes of injuring Regeneron, destroying fair competition in the PCSK9i market, and

 maintaining monopoly power.

        226.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

 reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

 for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

 and Praluent®. In response to a small but significant and non-transitory increase in the price of

 PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

 product or treatment.

        227.    From at least September 2017 until now, Amgen possessed monopoly power in the

 PCSK9i market with Repatha®. Repatha®’s share of the PCSK9i market by total prescriptions is

 approximately 80 percent as of February 2022. Significant and substantial commercial,



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 developmental, regulatory, and other barriers insulate the PCSK9i market from new entry and

 expansion.

        228.    Amgen unlawfully maintained and entrenched its monopoly power in the PCSK9i

 market though an anticompetitive bundling scheme. Specifically, Amgen purposely and

 knowingly bundled its sales of Otezla®, Enbrel®, and Repatha® to require that Third-Party Payors

 exclude Praluent® outright in order to obtain highly valuable and lucrative product rebates on the

 wholly unrelated Otzela® and Enbrel® products. By conditioning rebates for its combination of

 blockbuster drugs Otezla® and Enbrel® upon Repatha® exclusivity or de facto exclusivity on Third-

 Party formularies, Amgen was able to hinder and artificially limit competition in the PCSK9i

 market from Praluent®.

        229.    Otezla® possesses monopoly power in the U.S. market for orally ingested drug

 products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

 Amgen’s third largest product by U.S. net sales, generating $1.79 billion in 2020. Enbrel® is

 Amgen’s largest product with $4.85 billion in U.S. net sales in 2020, and possesses market power

 in the rheumatoid arthritis market. Amgen leverages these unrelated and much larger products

 from its portfolio to exclude Praluent® through a bundled rebate offer to Third-Party Payors that

 cannot be matched by Regeneron, which lacks comparable products to Otezla® and Enbrel® and is

 unable to match Amgen’s rebates given the relatively more limited size of Regeneron’s product

 portfolio and distribution channels for those products.

        230.    The effect of Amgen’s conduct has been to foreclose Praluent® from at least 50

 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is even

 greater than the absolute portion of the market from which Praluent® has been foreclosed due to

 negative “spillover” effects at the Payor and prescriber levels, consolidation among PBMs, and




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 coordination of formulary decision-making between Commercial and Part D plans. Because

 Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to patients,

 the Third-Party Payors’ selection of coverage for Repatha® over Praluent® forces patients and

 providers to choose Repatha® over Praluent®.

        231.    The threat of increased prices for Otezla® and Enbrel® leaves Third-Party Payors

 like ESI, CVS and UHC/Optum with no choice but to accept Amgen’s demands for favorable

 formulary positioning for Repatha®. Even if Regeneron offered a lower price for the PCSK9i

 market with competitive single-product rebate offers, as it has done, those savings do not and

 cannot offset the increased prices for Otezla® and Enbrel® that Amgen leverages to block such

 competitive single-product offers.

        232.    Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property and harmed competition by foreclosing Regeneron from at least 50 percent

 of the PCSK9i market. The anticompetitive effect of Amgen’s scheme is amplified by spillover

 effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

 sales force across its portfolio of drug products to make even equal formulary coverage achieved

 by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive for Repatha®. As a

 result, Regeneron has suffered and will continue to suffer injury to its business or property,

 including lost sales, business opportunities, and ability to recoup the significant investments spent

 on the development and U.S. commercialization of Praluent®. Most harmful of all, Amgen’s

 conduct is pushing Praluent® below a critical mass of market share necessary to compete for access

 and remain viable, thereby entrenching Repatha® as the dominant product in the PCSK9i market,

 and the only product in the Pharmacy-dispensed PCSK9i sub-market.




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            233.     Regeneron’s injuries are of the type that the U.S. and California antitrust and

 competition laws are intended to prohibit, flow directly from Amgen’s anticompetitive conduct,

 and is an illegal business practice under the unfair and unlawful prongs in violation California’s

 Unfair Practices Act, Cal. Bus. & Prof. Code § 17200 et seq. Amgen has acknowledged that

 competition between Repatha® and Praluent® is a key driver of pricing in the PCSK9i market.137

 Additionally, there are serious medical risks and costs of forcing tens or even hundreds of

 thousands of Praluent® patients to switch to Repatha®. Without Praluent® as a viable competitor,

 patients would be worse off with reduced choice in the PCSK9i market and increased prices for

 Repatha®.

            234.     Amgen’s conduct was a substantial factor in causing Regeneron harm.

            235.     This conduct is unfair and unlawful as an illegal business practice in violation of

 California’s Unfair Competition Law.

            236.     As a result of Amgen’s continuing violation of California’s UCL, Regeneron has

 been and will continue to be damages through the date of trial, for which Regeneron intends to

 seek monetary relief (disgorgement and/or restitution) and injunctive relief as permitted by

 applicable law.

                   Count Eight: Violation of California’s Unfair Practices Act (“UPA”),
                                 Cal. Bus. & Prof. Code § 17043 et seq.

            237.     Regeneron incorporates by reference all of the allegations set forth above as if fully

 set forth below.

            238.     California Business and Professions Code Section 17043, which is part of

 California’s UPA, prohibits any person engaged in business in California from selling or offering



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 to sell “any article or product at less than the cost thereof to such vendor, or to give away any

 article or product, for the purpose of injuring competitors or destroying competition.” California

 enacted the UPA “to safeguard the public against the creation or perpetuation of monopolies and

 to foster and encourage competition, by prohibiting unfair, dishonest, deceptive, destructive,

 fraudulent and discriminatory practices by which fair and honest competition is destroyed or

 prevented.” Cal. Bus. & Prof. Code § 17001.

        239.    Amgen is engaged in business in California, and has provided or offered to provide

 bundled rebates of its products to customers at below-cost prices to customers in the United States

 for the purposes of injuring Regeneron, destroying fair competition in the PCSK9i market, and

 maintaining monopoly power.

        240.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

 reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

 for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

 and Praluent®. In response to a small but significant and non-transitory increase in the price of

 PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

 product or treatment.

        241.    From at least September 2017 until now, Amgen possessed monopoly power in the

 PCSK9i market with Repatha®. Repatha®’s share of the PCSK9i market by total prescriptions is

 approximately 80 percent as of February 2022. Significant and substantial commercial,




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 developmental, regulatory, and other barriers insulate the PCSK9i market from new entry and

 expansion.

         242.    Amgen unlawfully maintained and entrenched its monopoly power in the PCSK9i

 market by using a below-cost offer to secure exclusivity or de facto exclusivity for Repatha® and

 exclude Praluent® from the formularies of Third-Party Payors. Specifically, Amgen conditioned

 rebates of $210 million over two years and four months—about $90 million per year—on a three-

 product bundle consisting of Otezla®, Enbrel® and Repatha®. As explained in more detail above,

 after allocating the entirety of Amgen’s bundled rebates to Repatha®, Amgen is pricing Repatha®

 below an appropriate measure of its costs. Amgen has purposely structured its multi-product

 bundled rebate so that Regeneron cannot match it, or even compete with it, unless Regeneron sells

 Praluent® for a loss.

         243.    The purpose of Amgen’s conduct was to injure Regeneron and destroy competition

 in the PCSK9i market in violation of Section 17403 of California’s UPA. Since Praluent®’s and

 Repatha®’s U.S. launch in 2015, Amgen has repeatedly attempted to block Praluent® from

 competing in the PCSK9i market. First, Amgen attempted, and failed, to exclude Praluent® from

 the market under U.S. patent law. Amgen then utilized its sales force to spread misleading facts

 regarding Praluent®’s safety and availability. Having failed in its previous attempts to rid

 Repatha® of competition from Regeneron’s Praluent®—the only competition Amgen faces in the

 PCSK9i market—Amgen next turned to an unlawful bundled rebate scheme to cement its

 monopoly position.

         244.    The effect of Amgen’s conduct has been to foreclose Praluent® from at least 50

 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is even

 greater than the absolute portion of the market from which Praluent® has been foreclosed due to




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 negative “spillover” effects at the Payor and prescriber levels, consolidation among PBMs, and

 coordination of formulary decision-making between Commercial and Part D plans. Because

 Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to patients,

 the purchasers’ selection of coverage for Repatha® over Praluent® forces patients and providers to

 choose Repatha® over Praluent®.

        245.    Amgen’s conduct was a substantial factor in causing Regeneron harm.

        246.    This conduct is unlawful as an illegal business practice in violation of California’s

 Unfair Practices Act.

        247.    As a result of Amgen’s continuing violation of California’s UPA, Regeneron has

 been and will continue to be damages through the date of trial, for which Regeneron intends to

 seek damages, trebled, and injunctive relief as permitted by applicable law.

                        Count Nine: Violation of California’s Cartwright Act,
                              Cal. Bus. & Prof. Code §§ 16720, 16727

        248.        Regeneron incorporates by reference all of the allegations set forth above as if fully

 set forth below.

        249.    California Business and Professions Code Section 16700 et seq., which is part of

 California’s Cartwright Act, prohibits any person engaged in business in California from “leas[ing]

 or mak[ing] a sale or contract for the sale of goods, merchandise, machinery, supplies,

 commodities for use within the State, or [] fix[ing] a price charged therefor, or discount from, or

 rebate upon, such price, on the condition, agreement or understanding that the lessee or purchaser

 thereof shall not use or deal in the goods, merchandise, machinery, supplies, commodities, or

 services of a competitor or competitors of the lessor or seller, where the effect of such lease, sale,

 or contract for sale or such condition, agreement or understanding may be to substantially lessen




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 competition or tend to create a monopoly in any line of trade or commerce in any section of the

 State.” Cal. Bus. & Prof. Code § 16727.

        250.    Amgen is engaged in business in California, and has provided or offered to provide

 bundled rebates of its products to customers at below-cost prices to customers in the United States

 for the purposes of injuring Regeneron, destroying fair competition in the PCSK9i market, and

 maintaining monopoly power.

        251.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

 reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

 for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

 and Praluent®. In response to a small but significant and non-transitory increase in the price of

 PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

 product or treatment.

        252.    Amgen has entered into agreements with at least ESI Commercial, ESI Part D,

 UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned and tied

 the availability of rebates for Otezla® and Enbrel® upon exclusive or de facto exclusive formulary

 coverage for Repatha®. These three products are separate and sold in distinct markets, and doctors

 prescribe each of them to treat different medical conditions and serve different patient preferences.

 Each agreement between Amgen and the Third-Party Payors that tied rebates for Otezla® and




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 Enbrel®, to Repatha®, is an unreasonable restraint of trade that was entered into in violation of

 California’s Cartwright Act, Cal. Bus. & Prof. Code § 16700 et. seq.

        253.    Specifically, Amgen used a three-product bundle—consisting of Otezla®, Enbrel®,

 and Repatha®—to condition drug formulary exclusivity for Repatha®. Amgen’s conduct

 unlawfully excluded Praluent® from competing for formulary access in the PCSK9i market by

 tying Repatha® exclusivity to coercive rebates for much larger products in other drug classes where

 Regeneron has no drugs that compete for the same indications.

        254.    Otezla® possesses monopoly power in the U.S. market for orally ingested drug

 products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

 Amgen’s third largest product by U.S. net sales, generating $1.79 billion in 2020. Enbrel® is

 Amgen’s largest product with $4.85 billion in U.S. net sales in 2020, and possesses market power

 in the rheumatoid arthritis market. Amgen leverages these unrelated and much larger products

 from its portfolio to exclude Praluent® through a bundled rebate offer to Third-Party Payors that

 cannot be matched by Regeneron, which lacks comparable products to Otezla® and Enbrel® and is

 unable to match Amgen’s rebates given the relatively more limited size of Regeneron’s product

 portfolio and distribution channels for those products.

        255.    The effect of Amgen’s conduct has been to foreclose Praluent® from at least 50

 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is even

 greater than the absolute portion of the market from which Praluent® has been foreclosed due to

 negative “spillover” effects at the Payor and prescriber levels. Because Third-Party Payors serve

 as the gateway for distribution and sale of PCSK9 inhibitors to patients, the Third-Party Payors’

 selection of coverage for Repatha® over Praluent® forces patients and providers to choose

 Repatha® over Praluent®.




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            256.    The threat of increased prices for Otezla® and Enbrel® leaves Third-Party Payors

 like ESI, CVS and UHC/Optum with no choice but to accept Amgen’s demands for favorable

 formulary positioning for Repatha®. Even if Regeneron offered a lower price for the PCSK9i

 market with competitive single-product rebate offers, as it has done, those savings do not and

 cannot offset the increased prices for Otezla® and Enbrel® that Amgen leverages to block such

 competitive single-product offers.

            257.    Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. As a result, Regeneron has suffered and will continue to suffer injury to its

 business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®. Most

 harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the dominant

 product in the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-

 market.

            258.    Regeneron’s injuries are of the type that the U.S. antitrust laws are intended to

 prohibit, and flow directly from Amgen’s anticompetitive conduct and is an illegal business

 practice in violation of California’s Cartwright Act, Cal. Bus. & Prof. Code § 16700 et. seq.

 Amgen has acknowledged that competition between Repatha® and Praluent® is a key driver of

 pricing in the PCSK9i market.138 Additionally, there are serious medical risks and costs of forcing

 tens or even hundreds of thousands of Praluent® patients to switch to Repatha®. Without Praluent®

 as a viable competitor, patients would be worse off with reduced choice in the PCSK9i market and

 increased prices for Repatha®.


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        259.    Amgen’s conduct was a substantial factor in causing Regeneron harm.

        260.    This conduct is unlawful as it an illegal business practice in violation of California’s

 Cartwright Act.

        261.    As a result of Amgen’s continuing violation of the California’s Cartwright Act,

 Regeneron has been and will continue to be damages through the date of trial, for which Regeneron

 intends to seek damages, trebled, and injunctive relief as permitted by applicable law.

                       Count Ten: Violation of New York’s Donnelly Act,
                      § 340 of New York’s General Business Law (“GBL”)

        262.    Regeneron incorporates by reference all of the allegations set forth above as if fully

 set forth below.

        263.    FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions by

 reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-market

 for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on Repatha®

 and Praluent®. In response to a small but significant and non-transitory increase in the price of

 PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any other

 product or treatment.

        264.    Amgen has entered into agreements with at least ESI Commercial, ESI Part D,

 UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned and tied

 the availability of rebates for Otezla® and Enbrel® upon exclusive or de facto exclusive formulary

 coverage for the purchase Repatha®. These three products are separate and sold in distinct markets,



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 and doctors prescribe each of them to treat different medical conditions and serve different patient

 preferences. Each agreement between Amgen and the Third-Party Payors that tied rebates for

 Otezla® and Enbrel® to Repatha®, is an unreasonable restraint of trade that was entered into in

 violation of New York’s Donnelly Act, N.Y. Gen. Bus. Law § 340 et seq.

        265.    Specifically, Amgen used a three-product bundle—consisting of Otezla®, Enbrel®,

 and Repatha®—to condition drug formulary exclusivity for Repatha®. Amgen’s conduct

 unlawfully excluded Praluent® from competing for formulary access in the PCSK9i market by

 tying Repatha® exclusivity to coercive rebates for much larger products in other drug classes where

 Regeneron has no drugs that compete for the same indications.

        266.    Otezla® possesses monopoly power in the U.S. market for orally ingested drug

 products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

 Amgen’s third largest product by U.S. net sales, generating $1.79 billion in 2020. Enbrel® is

 Amgen’s largest product with $4.85 billion in U.S. net sales in 2020, and possesses market power

 in the rheumatoid arthritis market. Amgen’s scheme leverages this enormous gap in sales to

 exclude Praluent® through a bundled rebate offer to Third-Party Payors that cannot be matched by

 Regeneron, which lacks comparable products to Otezla® and Enbrel®, and is unable to match

 Amgen’s rebates given the relatively more limited size of Regeneron’s product portfolio and

 distribution channels for those products.

        267.    The effect of Amgen’s conduct has been to substantially lessen competition in the

 PCSK9i market by foreclosing Praluent® from at least 50 percent of the PCSK9i market. The

 degree of foreclosure resulting from Amgen’s conduct is even greater than the absolute portion of

 the market from which Praluent® has been foreclosed due to negative “spillover” effects at the

 Payor and prescriber levels, consolidation among PBMs, and coordination of formulary decision-




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 making between Commercial and Part D plans. Because Third-Party Payors serve as the gateway

 for distribution and sale of PCSK9 inhibitors to patients, the purchasers’ selection of certain

 coverage of Repatha® over Praluent® chooses for patients and providers whether Praluent® is

 available as an option.

            268.     The threat of increased prices for Otezla® and Enbrel® leaves Third-Party Payors

 with no choice but to accept Amgen’s demands for favorable formulary positioning for Repatha®.

 Even if Regeneron offered a lower price for the PCSK9i market with competitive single-product

 rebate offers, as it has done, those savings would not offset the increased prices for Otezla® and

 Enbrel® that Amgen leverages to block such competitive single-product offers.

            269.     Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. As a result, Regeneron has suffered and will continue to suffer injury to its

 business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®. Most

 harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the dominant

 product in the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-

 market.

            270.     Regeneron’s injuries flow directly from Amgen’s anticompetitive agreements in

 violation of N.Y. Gen. Bus. Law § 340 et seq. Amgen has acknowledged that competition between

 Repatha® and Praluent® is a key driver of pricing in the PCSK9i market, allowing Payors to “pit

 the parties against each other to extract larger and larger rebates” and “forc[ing] Amgen to give []

 unprecedented concessions.”139 Additionally, there are serious medical risks and costs of forcing


 139
       See PI Motion at 6–9.



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 tens or even hundreds of thousands of Praluent® patients to switch to Repatha®, which does not

 offer a lower 75mg dosage like Praluent® and lacks other key benefits of Praluent®. Certain high-

 risk patients will suffer the most because Praluent® is the only PCSK9i inhibitor associated with

 an observed reduction in all-cause mortality and meaningfully reduced the risk of death for those

 patients by 29 percent. Without Praluent® as a viable competitor, patients would be worse off with

 reduced choice in the PCSK9i market and increased prices for Repatha®.

        271.    It is appropriate to bring this action under N.Y. Gen. Bus. Law § 340 et seq.

 Amgen’s illegal conduct has substantially affected New York commerce by harming Regeneron,

 a business headquartered in New York with its principal place of business in New York.

        272.    Regeneron seeks actual damages, trebled, plus interest, as well as attorneys’ fees

 and costs under NY Gen. Bus. Law § 340(5).

        273.    As a result of Amgen’s continuing violation of the NY Gen. Bus. Law § 340 et seq.,

 Regeneron has been and will continue to be damages through the date of trial, for which Regeneron

 intends to seek damages and injunctive relief as permitted by applicable law.

        274.    Plaintiffs have complied with the notice requirements of New York’s Donnelly Act

 by sending a letter alerting the state’s Attorney General of this action contemporaneous with the

 filing of this Complaint. N.Y. Gen. Bus. Law § 340 et seq.

           Count Eleven: Tortious Interference with Prospective Business Relations

        275.    Regeneron incorporates by reference all of the allegations set forth above as if fully

 set forth below.

        276.    At all relevant times, Amgen has had knowledge of Regeneron’s prospective

 business relations with the Third-Party Payors. Amgen has competed against Praluent® for

 formulary access in the PCSK9i market since Praluent® launched in 2015. Until December 2021,

 Repatha® and Praluent® were the only two PCSK9 inhibitors approved in the United States, so


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 they were the only two PCSK9 inhibitors that Third-Party Payors could possibly be referencing in

 contract negotiations. Amgen thus had knowledge of Regeneron’s business relations with Third-

 Party Payors.

        277.     By engaging in the anticompetitive practices set forth above, including negotiating

 and contracting with Third-Party Payors to achieve below-cost pricing, bundling, and tying, and

 by engaging in other unfair and deceptive practices, Amgen knowingly, intentionally, and

 unjustifiably interfered with actual and identifiable prospective business relations between

 Regeneron and third-party business partners. Specifically, Amgen acted with a wrongful purpose

 by bundling its sales of Otezla®, Enbrel®, and Repatha® through coercive rebates designed to rid

 the PCSK9i market of Amgen’s competition. Amgen’s significant rebates that rendered the

 effective price of Repatha® below cost made it impossible for Regeneron to compete on the merits.

 In addition, Amgen acted with dishonest, unfair, or improper means by utilizing its sales force to

 spread misleading facts regarding Praluent®’s safety and availability.

        278.     But for Amgen’s interference, Regeneron would have received or would receive

 the expected economic advantage from its business relations with Third-Party Payors. For

 example, prior to Amgen’s wrongful and anticompetitive conduct, Regeneron had contracts with

 ESI, UHC/Optum, and CVS that included Praluent® on their formularies. ESI acknowledged

 Praluent® to offer distinctive clinical benefits and described its relationship with Regeneron as a

 proud moment for ESI, providing an “innovative therapy” to its members with an “innovative

 payment model.” But for Amgen’s interference, Regeneron’s business relationship would have

 continued.




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        279.    Amgen’s interference with Regeneron’s relationships with Third-Party Payors has

 caused and continues to cause damage to Regeneron, including, but not limited to, lost revenues,

 profits, and business volume.

        280.    Amgen’s interference with these relationships causes harm to consumers, depriving

 them of a choice between PCSK9 inhibitors and of access to Praluent®.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Regeneron prays:

        A.      For judgment that:

                (i)      Defendant Amgen’s conduct as stated in this Complaint violates Section 1

 of the Sherman Act, 15 U.S.C. § 1;

                (ii)     Defendant Amgen’s conduct as stated in this Complaint violates Section 2

 of the Sherman Act, 15 U.S.C. § 2;

                (iii)    Defendant Amgen’s conduct as stated in this Complaint violates Section 3

 of the Clayton Act, 15 U.S.C. § 14;

                (iv)     Defendant Amgen’s conduct as stated in this Complaint violates

 California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq.; California’s Unfair

 Practices Act, Cal. Bus. & Prof. Code § 17000, et. seq. California’s Cartwright Act, Cal. Bus. &

 Prof. Code § 16700 et seq.; and New York’s Donnelly Act, N.Y. Gen. Bus. Law § 340 et seq.;

                (v)      Defendant Amgen’s conduct as stated in this Complaint constitutes tortious

 interference with prospective business relations;

        B.      For injunctive relief restraining and enjoining Defendant Amgen from continuing

 its unlawful conduct;

        C.      That Defendant Amgen be required to pay to Plaintiff Regeneron:




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                (i)     three times the actual damages sustained by Plaintiff as a result of

 Defendant’s Sherman Act and certain state law violations complained of herein;

                (ii)    additional forms of monetary relief, including punitive damages, sustained

 by Plaintiff as a result of Defendant’s state law violations complained of herein;

                (iii)   Plaintiff’s costs, disbursements, expenses, and reasonable attorneys’ fees in

 bringing this action; and

        D.      For any such other relief that this Court deems just and proper.




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                                       JURY DEMAND

         Pursuant to Federal Rule of Civil Procedure 38(b), Regeneron demands a trial by jury on

 all issues triable by jury.



 Dated: August 22, 2023                    By: /s/ David E. Wilks
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ASCENT/ESI COMMERCIAL BID DISCUSSION




MAY 15, 2020
DRAFT – Pending Legal Review
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OBJECTIVE FOR TODAY

• Discuss and align on our strategic approach/negotiations
 for 2020 & 2021 Ascent/ESI Commercial bids




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INSERT ASCENT/ESI GROSS SALES, % REBATE, MARKET
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SHARE, FORMULARY STATUS (ENBREL, OTEZLA, REPATHA)
 Example

 Enbrel Feb LEDR
 2020 Gross Sales 2021, 2022

 Rebate 2020


 Market Share

 Formulary




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INSERT ANALYTICS SUPPORTING CASE FOR REPATHA AND
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AUTO-IMMUNE STRATEGY




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     Aligning Payer Strategy & Commercial
     Choice
     JUNE 8TH


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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE



REGENERON PHARMACEUTICALS, INC.
                                                    C.A. NO.: 1:22-cv-00697-RGA-JLH
                 Plaintiff,

       v.                                           JURY TRIAL DEMANDED

AMGEN INC.                                          ATTORNEYS’ EYES ONLY – FILED
                                                    UNDER SEAL
                 Defendant.




                                    AMENDED COMPLAINT

           Plaintiff Regeneron Pharmaceuticals, Inc. (“Regeneron” or “Plaintiff”) files this

 Complaint against Defendant Amgen Inc. (“Amgen” or “Defendant”) and alleges, upon

 knowledge as to itself and otherwise upon information and belief, as follows:

                                      NATURE OF ACTION

           1.    This is an antitrust case involving an effort to eliminate from the market a life-

 saving medicine that has served thousands of patients. Defendant Amgen is engaged in a

 persistent exclusionary campaign to deny patients the life-saving benefits of Plaintiff

 Regeneron’s cholesterol-reducing medication, Praluent® (alirocumab). And the reason is simple:

 for years, Praluent® has been the only direct competitor to Amgen’s own drug Repatha®

 (evolocumab) and Amgen is doing everything it can to avoid competing with Regeneron on the

 merits.
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        2.       Before commencing the unlawful, anticompetitive bundling scheme challenged

 here, Amgen tried to enlist this Court to enter an injunction and force Praluent® off the market

 entirely, after Praluent® was already approved and being used by patients. Amgen did so by

 enforcing overbroad patents covering millions of biologic compounds, known as antibodies.

 Amgen sought this injunction even though Praluent® is a novel, patented drug discovered and

 developed by Regeneron with an entirely different chemical structure from Repatha® and with a

 meaningfully differentiated efficacy and safety profile.         In addition, Amgen directed its

 salesforce to spread misinformation about Praluent® by communicating that Praluent® would be

 taken off the market as a result of Amgen’s patent litigation campaign. Amgen’s patent

 challenge to Praluent® was ultimately a failure before this Court and, the Federal Circuit, and the

 Supreme Court which concluded that Amgen’s patents were invalid and tried to cover

 compounds (like Praluent®) that Amgen had never invented.1

        3.      Now, Amgen has pivoted to an unlawful commercial strategy to try to exclude

 Praluent® from the market.                                                                            ,

 Amgen is engaged in an illegal, anticompetitive bundling scheme forcing key intermediaries

 (who cover and pay for the majority of the cost of these drugs) to jettison Regeneron’s Praluent®

 in favor of Amgen’s Repatha® in order to access substantial rebates on entirely unrelated anti-

 inflammation medications in Amgen’s portfolio that these intermediaries cannot avoid

 purchasing. Importantly, one of these unrelated medications is a monopoly product Amgen very

 recently acquired in a divestiture ordered by the Federal Trade Commission (“FTC”). When the


 1
   See Amgen Inc. v. Sanofi, 143 S. Ct. 1243 (2023); Amgen Inc. v. Sanofi, Aventisub LLC, 987 F.3d 1080
 (Fed. Cir. 2021); Amgen Inc. v. Sanofi, Aventisub LLC, 850 F. App’x 794, 796 (Fed. Cir. 2021), petition
 for cert. docketed, No. 21-757 (U.S. Nov. 22, 2021); Amgen Inc. v. Sanofi, No. CV 14-1317-RGA, 2019
 WL 4058927, at *8 (D. Del. Aug. 28, 2019), aff’d sub nom. Amgen Inc. v. Sanofi, Aventisub LLC, 987
 F.3d 1080 (Fed. Cir. 2021).


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 anticompetitive content described in black and white in Amgen’s documents has been confirmed

 in depositions with Amgen employees, and—on information and belief—will find further

 support in forthcoming discovery from Third-Party Payors and further discovery from Amgen.

         5.      4. ThisThe harm from Amgen’s conduct is not hypothetical and continues to

 deepen. Amgen’s misconduct has devastated a product that benefits thousands of patients who

 suffer from high cholesterol. Put simply, Amgen has made it economically unfeasible for

 Regeneron to continue selling Praluent®. In 2022, the brand is projected to bewas unprofitable,

 for the first time since Regeneron has marketed the product, due to the anticompetitive

 marketplace conditions created by Amgen. And Praluent® is expected to be unprofitable again in

 2023. Specifically, Amgen’s bundling scheme has (i) artificially suppressed Praluent® sales by

 heavily restricting its market access, and (ii) imposed artificial and substantially higher costs on

 the limited Praluent® sales where market access is not totally cut off. All of this has continued to

 worsen since Regeneron initiated this action in May of 2022. As a result of Amgen’s ongoing

 use of a multi-product, bundled rebate scheme, Regeneron is now foreclosed from the majority

 of the formularies of the three largest pharmacy benefit managers (“PBMs”), the Third-Party

 Payors who follow their formularies, and many smaller PBMs, too. Amgen’s conduct has also

 attracted additional scrutiny, as the Federal Trade Commission has now brought a suit based on

 Amgen’s practice of using cross-market bundles and expressly adopting Regeneron’s allegations

 in this case.

         6.      5. Amgen’s scheme to exclude, hobble, and permanently handicap Praluent® has

 caused Regeneron and the patients it serves significant injury, has harmed competition in the

 relevant market, and violates federal and state antitrust, unfair competition, and tort laws.

 Regeneron commences this action to redress these significant harms.




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                                              INTRODUCTION

           7.       6. This case is about Amgen’s unlawful campaign to entrench its monopoly

 position in the market for a class of drugs known as PCSK9 inhibitors (“PCSK9i”) that help

 high-risk patients lower their low-density lipoprotein cholesterol (“LDL-C”)—often termed “bad

 cholesterol”—and thereby reduce their risk of heart attack, stroke, and cardiovascular disease.

 See Amgen, Inc. v. Sanofi, Aventisub LLC, 872 F.3d 1367, 1371 (Fed. Cir. 2017).

           8.       7. Until recently, Regeneron’s Praluent® and Amgen’s Repatha® were the only

 two2 PCSK9 inhibitors approved by the U.S. Food and Drug Administration (“FDA”) available

 in the United States. Although they work on the same overall therapeutic pathway—and neither

 is interchangeable with other cholesterol-lowering medications like statins—Praluent® and

 Repatha® are very different drugs both in terms of their chemical structures and their safety and

 efficacy profiles. As Regeneron’s founder, President, and Chief Executive Officer (“CEO”), Dr.

 Leonard Schleifer, MD, PhD, has testified, “[t]hese are incredibly different molecules, totally

 different in structure, totally in their sequence, different in their label,” meaning that “the effect

 of taking one off the market can be rather serious for patients.” Preliminary Injunction Hearing

 Transcript, at 93:12-15, Amgen Inc. v. Sanofi, No. CV 14-1317-RGA (D. Del. Aug. 8, 2019),

 ECF No. 1043 (“PI Hearing Tr.”). Among the many unique medical benefits of Praluent®

 relative to Repatha® are: Praluent®’s demonstrated meaningful mortality benefit in clinical trials;

 Praluent® is available in a low-dose option preferred by doctors; Praluent® can be administered

 to patients with latex allergies; Praluent® has been shown to reduce unstable angina requiring

 hospitalizations; and Praluent® has been shown to decrease the need for apheresis (a technique

 for separating blood components to treat certain illnesses). Given these benefits, Praluent®


 2
     Emphasis is added in bold, italics, or underline, unless otherwise noted herein.


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 would take significant share from Repatha® in the PCSK9i market3 if allowed to compete on its

 medical merits without the exclusionary commercial barriers that Amgen has erected.

        9.      8. Since the FDA’s approval of Praluent®, Amgen has sought by hook or by crook

 to exclude Praluent® from the market in order to entrench Repatha®’s monopoly position.

 Amgen first pursued an injunction against the sale of Praluent® through a patent litigation

 campaign in this Court. But that strategy failed. So Amgen turned to an anticompetitive

 bundling scheme designed to leverage sales of unrelated multibillion-dollar drugs in Amgen’s

 portfolio to artificially raise the effective cost of Praluent® for key intermediaries. That illegal

 scheme is now having its intended effect, depriving Praluent® of a critical mass of market share

 so that it is no longer a financially viable competitor to Repatha®. Of course, the scheme also

 deprives patients of a unique medication that neither Amgen nor anyone else other than

 Regeneron can provide.

        10.     9. Amgen’s patent-enforcement campaign against Praluent® in this Court was

 based on excessively broad patents claiming ownership of millions of antibodies—including

 Praluent®—that Amgen had never invented. To be sure, Amgen has a patent that specifically

 covers Repatha®. Amgen, 850 F. App’x at 796 (citing U.S. Patent 8,030,457). But Praluent® is

 vastly different from Repatha® and, accordingly, Amgen’s Repatha® patent does not cover

 Praluent®. See id. So Amgen instead resorted to obtaining and attempting to enforce patents that

 cover “millions of candidates claimed with respect to multiple specific functions,” even though

 “it is clear that the claims are far broader in functional diversity than the disclosed examples”

 Amgen provided. Amgen, 987 F.3d at 1087–88. Amgen pursued litigation against Regeneron



 3
  Unless otherwise noted, all references to the PCSK9i market refer to both the PCSK9i market and, in
 addition and in the alternative, to the Pharmacy-dispensed PCSK9i sub-market. See infra ¶¶ 102–108.


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 that went far beyond merely protecting its patent on Repatha® from infringement; it instead

 sought to exclude Praluent®.

        11.    10. Further illustrating Amgen’s intent in pursuing its patent claims, Amgen did

 not merely seek damages from Regeneron. Amgen instead sought an injunction against the sale

 of Praluent®, trying to take Praluent® off the market and out of the hands of the patients who

 needed it. Amgen was clear about its motivation for seeking an injunction, alleging that

 Praluent®’s “direct competition in this two-supplier market [was] causing Amgen to suffer price

 erosion, reputational harm, lost sales, and lost market share.” Opening Br. in Support of Motion

 for Permanent Injunctive Relief at 6, Amgen Inc. v. Sanofi, No. CV 14-1317-RGA, (D. Del. Apr.

 27, 2016), ECF No. 340 (“PI Motion”). To further supplement this patent-litigation campaign,

 Amgen’s sales representatives misleadingly promoted Repatha® with false claims to nurses,

 physicians, and other medical practitioners that Praluent® would soon be removed from the

 market.

        12.    11. Had Amgen obtained the injunction it requested, Repatha® would have

 become the monopoly PCSK9 inhibitor product on the market, leaving Amgen with complete

 control over prices and sales. And had Amgen prevailed in its attempt to enforce patents on

 “millions of candidates” for future PCSK9 inhibitors, it would have effectively used the patent

 system to block potential new market entrants and protect Repatha® from competition. Amgen,

 987 F.3d at 1088.

        13.    12. But after many years of litigation, the Court of Appeals for the Federal Circuit

 held that Amgen’s patents were invalid, thereby stopping Amgen’s campaign to use the patent

 laws to exclude Praluent® from the market and rid Repatha® of competition. The Federal Circuit

 forcefully rejected Amgen’s efforts to durably “suppress innovation” by attempting “to control




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 what it has not invented”—namely, Praluent®. Amgen, 850 F. App’x at 796. The Supreme

 Court has since affirmed the Federal Circuit’s decision. Amgen, 143 S. Ct. at 1258. In other

 words, Amgen told this Court that it was trying to keep Praluent® off the market because

 competition was forcing Amgen to lower prices and hurt its bottom line.

        14.    13. Amgen’s efforts to control the PCSK9i market did not end in court: Amgen

 has now crossed the line in the marketplace, implementing a multi-prong anticompetitive

 commercial strategy to unlawfully cement its monopoly position in the PCSK9 inhibitor market.

 Amgen is doing so by leveraging unrelated mega-products in its portfolio—including a recently

 acquired monopoly product—whose combined sales are more than 36 times that of Praluent® to

 coerce intermediaries who cover and pay for the majority of the cost of these drugs into

 eliminating competition in the much smaller PCSK9i market. Amgen’s scheme prevents head-

 to-head competition between Repatha® and Praluent®, allowing Repatha® to maintain and deepen

 its monopoly position.

        15.    14. Beginning in 2020, Amgen started conditioning rebates for two of its

 dominant products in much larger, unrelated therapeutic areas upon exclusivity or practical

 exclusivity for Repatha® on the formularies of the key insurers (“Third-Party Payors”), such as

 pharmacy benefit managers (“PBMs”). And formularyThis ongoing strategic portfolio approach

 has leveraged and continues to leverage Amgen’s massive anti-inflammatory portfolio to secure

 multi-year favorable positioning for Repatha® on PBM formularies. Formulary positioning is

 critical for Praluent® and Repatha®, because PCSK9i prescriptions are, in large part, ultimately

 paid for by Third-Party Payors, and the Payors’ formularies drive which PCSK9

 inhibitor—Praluent® or Repatha®—physicians will prescribe.

        16.    15. Amgen’s bundled-rebate scheme represents a radical departure from the




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 norms of competition in the PCSK9i market. Amgen and Regeneron for years had competed on

 the merits of Praluent® and Repatha® for formulary positioning with PBMs. But all that changed

 in 2020, when Amgen acquired Otezla®, an oral treatment for moderate-to-severe psoriasis that

 was so dominant that the FTC ordered it divested as a condition for approving the Bristol Meyers

 Squibb/Celgene merger. Amgen outbid other potential acquirers by paying an FTC-record $13.4

 billion for Otezla®, which immediately became Amgen’s third-largest product. The acquisition

 of this non-contestable monopoly product was key to launching Amgen’s anticompetitive

 scheme, as Amgen quickly began using its new monopoly product—together with its other

 blockbuster immunology product, Enbrel®—as the core pillars of its scheme to free itself of the

 need to compete on price with Praluent®.




        17.    16. The difference in scale between these blockbuster products and the relatively

 small PCSK9i market is staggering. Praluent® generated just $356 million in total U.S. net sales

 for 2020 ($186 million) and 2021 ($170 million). Otezla® and Enbrel®, meanwhile, generated

 $12.8 billion in U.S. net sales in the same period, which is more than 36 times what Praluent®

 generated. Put another way, Praluent®’s U.S. net sales amount to only 2.8 percent of what

 Otezla® and Enbrel® generated. Therefore, the threat of paying just 3 percent more for Otezla®




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 and Enbrel® easily overwhelms the total amount of sales generated by Praluent®, leaving Payors

 trapped and with no viable choice but to exclude Praluent® from their formularies.

        18.     17. Accordingly, Amgen threatens to withhold significant rebates on these

 blockbuster products unless Payors accept either outright exclusivity for Repatha® or else

 “equal” formulary position. And “equal” is not really equal for several reasons, including the

 threat of an injunction against the sale of Praluent® (while Amgen’s patent-litigation campaign

 was still pending before the Federal Circuit), and the false claims made by Amgen’s sales force

 designed to dissuade medical providers from prescribing Praluent®. Moreover, Amgen knows

 full well that it can support its product with a massive sales force dedicated to Repatha® alone, as

 well as the huge sales force it employs to cover its much larger portfolio of more than 20

 products, that Regeneron cannot possibly match. Thus even where Amgen does not achieve

 outright exclusivity for Repatha®, Amgen can artificially tilt the playing field to influence

 physicians to prescribe Repatha® over Praluent®, making even “equal” formulary position de

 facto exclusive.

        19.     18. By conditioning rebates for Otezla® and Enbrel®—

                                                          —on ensuring Repatha® exclusivity or

 practical exclusivity on Third-Party Payor formularies, Amgen has unlawfully excluded

 Praluent® by making it virtually impossible for Regeneron to meaningfully engage in the

 competitive bidding process. Third-Party Payors, of course, are motivated by securing the lowest

 net prices—that is, including rebates—across all of the products they cover. The threat of lost

 rebates, and, in turn, increased prices for Otezla® and Enbrel® constitute a monetary penalty that

 Regeneron cannot match and that Payors cannot afford.




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                                                                                       Those are

 substantially larger products in unrelated classes where Regeneron markets no drugs and does

 not compete for the same indications. Moreover, Regeneron has a relatively limited drug

 portfolio with only four products that it markets, three of which are overwhelmingly not

 dispensed as prescription drug via pharmacies and, thus, are not subject to significant coverage

 or reimbursement by Third-Party Payors. So Regeneron does not have the practical ability to

 match Amgen’s multi-product bundled rebate offer with its own multi-product bundled rebate

 offer.

          20.   19.
                      Amgen’s bundled rebate scheme further excludes competition by pricing

 Repatha® such that Regeneron cannot make a financially viable case for Praluent®. Repatha®

 generated nearly $1.02 billion for Amgen in U.S. net sales for 2020 ($459 million) and 2021

 ($557 million), which is dwarfed by the $12.8 billion in U.S. net sales generated by Otezla® and

 Enbrel® in that same period. Given this enormous gap in sales, and after allocating the entirety

 of Amgen’s massive bundled rebates across these three products to Repatha®, Amgen is pricing

 Repatha® below its costs. Even though Amgen is pricing Repatha® below cost, Amgen is still

 not losing money overall, given the much larger sales associated with the other products in the

 bundle. Further, Amgen has increased the penalty to Third-Party Payors for deviating from its

 bundle by ratcheting up the pre-rebate list prices of Otezla® and Enbrel® (as well as Repatha®),

 thereby coercing Third-Party Payors to take the bundle and exclude Praluent® in favor of

 Repatha®. So unlike a “loss leader” on a competitive non-monopoly product, Amgen stands only

 to gain from its bundle. As Amgen’s failed patent-litigation campaign to take Praluent® off the

 market illustrates, Amgen’s purpose and intent in initiating and executing on this anticompetitive

 pricing and bundled rebate scheme has been to foreclose Regeneron’s Praluent® from a




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 practice corroborated—by the Federal Trade Commission’s allegations in its case against Amgen

 and Horizon Therapeutics challenging the proposed merger of the two. See Complaint ¶ 4,

 Federal Trade Commission v. Amgen Inc. and Horizon Therapeutics PLC, 2023 WL 3584650

 (N.D. Ill. May 18, 2023) (“FTC Complaint”) (“Amgen provides greater rebates on one or more

 of its blockbuster products to secure favorable formulary placement for other medications in

 different product markets.”).

        23.      As a result of Amgen’s anticompetitive practices, in 2022, Regeneron stands to

 loset money for the first time on the formerly profitable Praluent®. In 2020 and 2021,And

 Praluent® is expected to be unprofitable again in 2023. Regeneron tookhas taken painful cost

 cutting measures to eliminate its Praluent® sales force, stop future research and development for

 Praluent®, and significantly cut back its marketing and other expenses, in order to mitigate

 against Amgen’s practices. Put simply, there is nothing left to cut.

        24.     21. But that is not all. At this significant level of restricted access, there are major

 spillover effects that will further harm Regeneron, because many physicians will simply

 prescribe the only product with widespread coverage. Amgen’s ability to leverage its much

 larger sales force across its portfolio of drug products to promote Repatha®, not to mention its

 willingness to use outright misrepresentation to steer prescribers away from Praluent®, therefore

 exacerbates these spillover effects. These compounding factors have already artificially limited

 Praluent®’s market access and will continue to cripple Regeneron’s ability to remain a viable

 competitor. Further, if Amgen’s unlawful anticompetitive tactics remain unrestrained by the

 law, potential new entrants will foresee their future foreclosure and refuse to invest (unless they

 are one of a few giant pharmaceutical firms or have products that would not compete as a

 prescription drug dispensed via pharmacies).




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        25.     22. The harm to competition, to Regeneron, and, especially, to patients resulting

 from Amgen’s unlawful anticompetitive behavior is significant. Because of Amgen’s exclusion

 of Praluent®, patients and physicians are deprived of choice in PCSK9 inhibitor treatments and

 competition is harmed by the diminution of competition and resultant higher prices for Repatha®

 in the long term. Regeneron accordingly files this suit to redress this unlawful anticompetitive

 behavior and harm to competition.

                                            PARTIES

        26.     23. Plaintiff Regeneron is a corporation organized and existing under the laws of

 the State of New York with its principal place of business located at 777 Old Saw Mill River

 Road, Tarrytown, New York 10591. Regeneron is in the business of inventing, developing,

 manufacturing, and marketing a variety of innovative pharmaceutical products. Regeneron

 markets and distributes Praluent® in the United States.

        27.     24. Defendant Amgen is a corporation organized and existing under the laws of

 the State of Delaware with its principal place of business located at One Amgen Center Drive,

 Thousand Oaks, California 91320. Amgen markets and distributes Repatha®, Enbrel®, and

 Otezla® in the United States.

                                 JURISDICTION AND VENUE

        28.     25. This Court has subject matter jurisdiction over all claims asserted against

 Defendant pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1337(a), 15 U.S.C. § 4, 15 U.S.C. § 15,

 and 15 U.S.C. § 26. This Court has supplemental jurisdiction over Plaintiff’s pendent state law

 claims pursuant to 28 U.S.C. § 1367.

        29.     26. This Court has personal jurisdiction over Amgen under the U.S. Constitution

 and nationwide contacts under Section 12 of the Clayton Act, 15 U.S.C. § 22.




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        30.     27. Venue is proper in this District under Section 12 of the Clayton Act, 15

 U.S.C. § 22, and under 28 U.S.C. § 1391(b) and (c).

        31.     28. For personal jurisdiction and venue purposes, Amgen may be found in or

 transacts business in this District, including through the marketing and sale of Repatha®,

 Enbrel®, and Otzela®. Amgen’s unlawful behavior was specifically intended to, has had, and

 will continue to have an anticompetitive effect and impact on Regeneron and U.S. consumers in

 this District, and elsewhere.     Additionally, Amgen’s patent litigation campaign against

 Regeneron was pursued in this District, including the sought-after injunction that, in turn,

 Amgen’s sales representatives used to discourage physicians from prescribing Praluent® in favor

 of Repatha®.

                                 INTERSTATE COMMERCE

        32.     29. The commercialization, development, manufacturing, marketing, sale, and

 distribution of Praluent®, Repatha®, Enbrel®, and Otezla® occurs in interstate commerce.

                                  FACTUAL BACKGROUND

        A.      Treatment of High Low-Density Lipoprotein Cholesterol

                i.     PCSK9 Inhibitors

        33.     30. High systemic levels of LDL-C or “bad cholesterol” can lead to heart attacks,

 strokes, and cardiovascular disease. PCSK9 inhibitors eliminate LDL-C by leveraging the

 body’s natural way of removing LDL-C from the blood. In particular, LDL-C receptors, which

 are located on the surface of liver cells, are responsible for extracting LDL-C from the

 bloodstream. The PCSK9 protein, however, regulates this process by binding to and causing the

 degradation of these LDL-C receptors inside the liver cells. PCSK9 inhibitors prevent PCSK9

 from binding to the LDL-C receptors, so the receptors are not degraded inside the cell.




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 Therefore, the receptors can return to the cell surface and continue the body’s natural process of

 removing LDL-C from the bloodstream. See Amgen, 987 F.3d at 1082.

        34.     31. While there are other FDA-approved treatments for lowering cholesterol, none

 is reasonably interchangeable with PCSK9 inhibitors. Doctors have historically treated high

 LDL-C levels with drugs called statins. In many cases, however, statins are not enough to bring

 a patient’s LDL-C to a healthy level and/or may not be tolerated by patients due to side effects.

 In those cases, PCSK9 inhibitors are critical. PCSK9 inhibitors therefore serve a unique patient

 population. Doctors typically prescribe only PCSK9 inhibitors for patients at a high risk for

 cardiovascular problems, such as individuals with familial hypercholesterolemia (“FH”), people

 at high risk who are unable to lower their cholesterol using other drugs, or people who are statin-

 intolerant. Clinical trials have shown that PCSK9 inhibitors can reduce cholesterol by 45 or 60

 percent depending on the dose, and can reduce the risk of heart attack, stroke, and, in the case of

 Regeneron’s Praluent®, unstable angina requiring hospitalization in adults with established

 cardiovascular disease.4 5

                        a.     Regeneron’s Praluent®

        35.     32. In 2015, Praluent®, which Regeneron invented and brought to market, became

 the first PCSK9 inhibitor to obtain FDA approval. Praluent® is a monoclonal antibody that

 specifically targets and binds to PCSK9 and thereby effectively prevents the patient’s body from

 stopping the degradation of bad cholesterol. Praluent® is a unique and highly effective molecule

 that is structurally and functionally distinct from Repatha® and offers distinctive medical benefits

 that Repatha® does not provide. See Amgen, 872 F.3d at 1372.




 45
      Regeneron Pharmaceuticals, Praluent® (alirocumab) package insert               (April   2021),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.


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         36.     33. Praluent® “targets PCSK9 to prevent it from binding to and destroying” LDL-

 C receptors. Id. In this way, it permits the receptors to “extract LDL-C thereby lowering overall

 LDL-C levels.” Id. Specifically, when Praluent® binds PCSK9, it almost entirely covers the

 exact region on PCSK9 to which the LDL-C receptor binds. In 2011, the U.S. Patent and

 Trademark Office recognized the novelty of Praluent® and issued Regeneron a patent that covers

 the precise amino acid sequence of Praluent®. Id.; see U.S. Patent No. 8,062,640. The FDA

 approved Praluent® in July 2015, allowing Praluent® to become the first PCSK9 antibody

 marketed in the United States. See Amgen, 872 F.3d at 1372.

         37.     34. Praluent® is the only PCSK9 inhibitor that demonstrated in clinical trials a

 meaningful mortality benefit. This means that fewer patients died taking Praluent® than taking a

 placebo. As reported in the New England Journal of Medicine, Praluent® showed a 15 percent

 reduction in all-cause mortality and a 29 percent reduction in all-cause death for higher-risk

 patients whose baseline LDL-C is equal to or greater than 100 mg/dL.5 6 These results were so

 notable that the FDA allowed Regeneron to include data describing this distinguishing benefit in

 its label.6 7

         38.     35. Praluent® is available in two dosage options: a 75 mg low dose and 150 mg

 high dose. These dosage options provide doctors and patients with flexibility to choose either

 less LDL-C lowering with the low dose or more LDL-C lowering with the high dose. This

 optionality is critical. As a practical matter, doctors prefer the low dose and prescribe it more

 frequently than the high dose. Additionally, physicians—including members of the FDA’s



 56
   Gregory G. Schwartz, et al., Alirocumab and Cardiovascular Outcomes after Acute Coronary
 Syndrome, 379 New Eng. J. Med. 2097–2107, at Table 2 (2018).
 67
     Regeneron Pharmaceuticals, Praluent® (alirocumab) package insert, at 21 (April 2021),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.


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 advisory panel for Praluent® and Repatha®—have expressed concerns about the unknown long-

 term effects of LDL-C levels that are too low.7 8 Praluent® thus provides doctors with the option

 of prescribing a low dose where appropriate—i.e., prescribing only as much medication as is

 necessary to treat the patient—and preventing any potential long-term effects that could arise

 from too low LDL-C levels.

                          b.     Amgen’s Repatha®

             39.   36. Amgen, too, developed a PCSK9 inhibitor and obtained FDA approval for the

 drug it markets as Repatha®. Amgen, 872 F.3d at 1371. Like Praluent®, Repatha® “targets

 PCSK9 to prevent it from destroying” LDL-C receptors. Id. Unlike Praluent®, however,

 Repatha® only minimally binds the region on PCSK9 to which the LDL-C receptor binds.

             40.   37. Repatha® further lacks a number of Praluent®’s key benefits.                First,

 Repatha®’s clinical trials did not show a mortality benefit.8 9 In fact, the results showed a slight

 increase in all-cause death and cardiovascular death in patients taking Repatha® as compared

 with patients taking placebo.910

             41.   38. Second, Repatha® is available only in higher doses—a 140 mg/mL dose and a

 420mg/3.5mL dose. Therefore, unlike Praluent®, Repatha® does not provide doctors and patients

 with a 75 mg dose option or any other low dose equivalent.




 78
   See Response of Amicus Curiae Practitioners Who Currently Treat Patients with Praluent in Support of
 Appellants’ Motion for Stay Pending Appeal, at 7, filed in Sanofi v. Amgen, Inc., No. 17-1480, (Fed. Cir.
 Jan. 24, 2017), ECF No. 40 (“[T]he amicus practitioners believe that forcing patients to pursue a
 different and higher dosage course of treatment would be medically unnecessary.”).
 89
   Marc S. Sabatine, et al., Evolocumab and Clinical Outcomes in Patients with Cardiovascular Disease,
 376 New England J. Med. 1713–1722, at Table 2 (2017).
 910
       Id.


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         42.     39. Third, Repatha® is administered via a single-use prefilled syringe, a single-use

 SureClick autoinjector, or a single-use Pushtronex system (which is an on-body infuser with a

 prefilled cartridge)—each of which presents certain disadvantages not presented by Praluent®’s

 administration. Specifically, the Repatha® label warns latex-sensitive patients that the “needle

 cover of the glass single-dose prefilled syringe and the single-dose prefilled autoinjector contain

 dry natural rubber (a derivative of latex) which may cause an allergic reaction in individuals

 sensitive to latex.”10 11 As a result, certain practitioners believe that, “due to the risks associated

 with Repatha, patients with latex allergies or rubber allergies should not be started on

 Repatha.”11 12 Praluent®, on the other hand, is administered via a single-dose pre-filled pen with

 a “needle shield [that] is not made with natural rubber latex” and is therefore a safer option for

 patients with latex sensitivities.12 13 Praluent®’s single-dose pre-filled pen is also faster and far

 easier to use than Repatha®’s single-use Pushtronex system, which requires the patient to remain

 still for five minutes following dosage administration.13 14

         43.     40. Fourth, Praluent®’s clinical trial data demonstrated a 39 percent reduction in

 unstable angina requiring hospitalizations,14 15 whereas Repatha® showed no similar effect.15 16



 1011
         Amgen, Inc., Repatha® (evolocumab) package insert, at 3                        (Sept.    2021),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125522s029s031lbl.pdf.
 1112
     See Response of Amicus Curiae Practitioners Who Currently Treat Patients with Praluent in Support
 of Appellants’ Motion for Stay Pending Appeal, at 7, filed in Sanofi v. Amgen, Inc., No. 17-1480, (Fed.
 Cir. Jan. 24, 2017), ECF No. 40.
 1213
      Regeneron Pharmaceuticals, Praluent® (alirocumab) package insert, at 21 (April 2021),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.
 1314
         Amgen, Inc., Repatha® (evolocumab) package insert, at 3                        (Sept.    2021),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125522s029s031lbl.pdf.
 1415
     Gregory G. Schwartz, et al., Alirocumab and Cardiovascular Outcomes after Acute Coronary
 Syndrome, 379 New Eng. J. Med. 2097–2107, at Figure 2 (2018).
 1516
     Marc S. Sabatine, et al., Evolocumab and Clinical Outcomes in Patients with Cardiovascular
 Disease, 376 New Eng. J. Med. 1713–1722, at Table 2 (2017).


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 Additionally, only Praluent® has been shown to decrease the need for apheresis in patients with

 heterozygous familial hypercholesterolemia (HeFH) who were previously undergoing regular

 apheresis.16   17



        44.      41. Regeneron’s founder, President, and CEO, Dr. Leonard Schleifer has testified

 to the differences between the two products and the value to patients of having both on the

 market. “[W]e’re not talking about just having a simple choice where you make aspirin at a

 company in Delaware and another aspirin company in Virginia,” Dr. Schleifer explained. PI

 Hearing Tr. at 93:9–11. Rather, “[t]hese are incredibly different molecules, totally different in

 structure, totally in their sequence, different in their label.” Id. at 93:12–14. As a result, Dr.

 Schleifer added, “the effect of taking one off the market can be rather serious for patients.” Id. at

 93:14–15. This is because “there are some people who don't respond at all to one drug and who

 respond to the other drug,” or sometimes the drugs “lose their efficacy,” and “so you want

 [patients] to switch” to the other option “so they can get the benefit of a PCSK9” inhibitor. Id. at

 93:21–25, 94:2–4. Dr. Schleifer further clarified some of the differences between the two drugs.

 First, Praluent® “has been clearly shown to have an effect on unstable angina.” and “has in its

 label, in the beta section a benefit related to mortality,” which if “you look at Repatha, you don’t

 see.” Id. at 94:6–12. Second, and “maybe this is the most important thing on the safety side,”

 Praluent® offers “a lower dose” to avoid “lower[ing] the LDL so much that you might have a risk

 . . . that everybody has been concerned about.” Id. at 94:15–20. So while the two drugs compete

 against one another and can serve many of the same patients, Dr. Schleifer concluded that




    Patrick M. Moriarty, et al., Alirocumab in patients with heterozygous familial hypercholesterolemia
 1617

 undergoing lipoprotein apheresis: the ODYSSEY ESCAPE trial, 37 European Heart J. 3588–95 (2016).


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 “efficacy, safety, the details, resistance to the drug,” coupled with the unique benefits Praluent®

 offers, are “all reasons that these two drugs really should be available to patients.” Id. at 95:2–4.

                         c.      Novartis’s Leqvio® (inclisiran)

         45.     42. Until December 22, 2021, Praluent® and Repatha® were the only two drugs in

 the PCSK9i class that had been approved by the FDA—and thus the only PCSK9 inhibitors that

 were on the market. Very recently, the FDA approved a new PCSK9 inhibitor manufactured by

 Novartis Pharmaceuticals Corporation (“Novartis”) called Leqvio® (inclisiran).17 18

         46.     43. Leqvio®, however, is not and cannot be a competitive constraint on Praluent®

 and Repatha®. Unlike Praluent® and Repatha®, which are self-administered by patients outside a

 medical office once every two weeks, Leqvio® will be administered by doctors twice a year

 through a subcutaneous injection. Due to this need for in-office administration, Leqvio® is sold

 to doctors through different sales channels, and is not subject to the same type of contracting and

 rebating that drive patient access to Praluent® and Repatha®. Rather, Leqvio® is managed as a

 “medical benefit” under Medicare Part B, not a “prescription drug” benefit under Medicare Part

 D (as explained in more detail below).18       19
                                                     Upon information and belief, Third-Party Payors

 administering commercial insurance will manage Leqvio® the same way, as a “medical benefit.”

 In other words, Leqvio® is not going to be subject to the same PBM-driven payment structure as

 Praluent® and Repatha®, where patients buy the drug and Third-Party Payors pay a portion of

 the cost that is determined through contracts negotiated between manufacturers and PBMs.


 1718
     See FDA approves Novartis Leqvio® (inclisiran), first-in-class siRNA to lower cholesterol and keep it
 low with two doses a year, NOVARTIS (Dec. 22, 2021), https://www.novartis.com/news/media-
 releases/fda-approves-novartis-leqvio-inclisiran-first-class-sirna-lower-cholesterol-and-keep-it-low-two-
 doses-year.
 1819
     Angus Liu, Novartis aims to avoid pitfalls of earlier PCSK9 launches with its new blockbuster
 hopeful Leqvio, FIERCE Pharma (Dec. 22, 2021), https://www.fiercepharma.com/marketing/novartis-
 belated-leqvio-fda-approval-avoid-pitfalls-amgen-regeneron-pcsk9-cholesterol.


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 Instead, Leqvio® is being launched using a “buy-and-bill” payment system, which is where

 physicians and providers buy the drug and bill the costs after administering it to patients.19 20

 Under the program, physicians and providers will reportedly be reimbursed the average selling

 price plus 6 percent.20 21

         47.     44. Leqvio® also differs from Praluent® and Repatha® in a number of other ways.

 While Praluent® and Repatha® are antibody therapies that bind to the PCSK9 protein to prohibit

 its binding to LDL-C receptors, Leqvio® is a small interfering RNA (“siRNA”) therapy that

 interferes with the synthesis of the PCSK9 protein itself. The prices of the drugs are different,

 too. The list price of Leqvio® at launch is reported to be $3,250 per injection, or $9,750 for the

 first year based on a schedule of three doses, and $6,500 annually for two doses per subsequent

 year.21 22 Praluent® and Repatha®, on the other hand, are less expensive and cost roughly $220 to

 $230 per injection, or $6,000 annually based on a schedule of 26 doses per year. Since its

 launch, sales for Leqvio® have been “not meaningful” according to Novartis.22 23 Additionally,




 1920
     Id.; see also Novartis AG, Novartis enters into agreement to acquire The Medicines Company:
 Investor           Presentation,            at           22           (Nov.           25,          2019),
 https://www.novartis.com/sites/www.novartis.com/files/novartis-agreement-acquire-medicines-company-
 investor-presentation.pdf (identifying flexibility of U.S. market access strategy through a “buy-and-bill”
 payment system).
 2021
       See Jessica Merrill, Novartis Sees Reimbursement Advantage for PCSK9 Launch,
 https://pharmaintelligence.informa.com/resources/product-content/novartis-sees-reimbursement-
 advantage-for-pcsk9-launch (last visited May 25, 2022).
 2122
       Q4 2021 Results Investor Presentation, NOVARTIS (Feb. 2, 2022), at slide 30
 https://www.novartis.com/sites/novartis_com/files/q4-2021-investor-presentation.pdf;         Michael
 O’Riordan, Pricey Inclisiran Is Rolling Out: a ‘Buy-and-Bill’ Model May Smooth Its Path, tctMD (Jan.
 17, 2022), https://www.tctmd.com/news/pricey-inclisiran-rolling-out-buy-and-bill-model-may-smooth-
 its-path.
 2223
         2022   Q1     Results     Presentation      &     Transcript,    NOVARTIS,        at   slide   7,
 https://www.novartis.com/‌investors/‌financial-data/quarterly-results/2022-q1-transcript.


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 unlike Praluent® which demonstrated a meaningful mortality benefit,23 24 “the effect of Leqvio®

 on cardiovascular morbidity and mortality has not been determined.”24               25
                                                                                          Finally, unlike

 Praluent®, Leqvio® is not indicated to lower dangerous cardiovascular events such as heart attack

 or stroke in patients with established cardiovascular disease.2526

                 ii.     Other Drugs for Lowering Bad Cholesterol

         48.     45. While there are other FDA-approved treatments for lowering bad cholesterol,

 none of these treatments has the same mechanism of action as PCSK9 inhibitors. These other

 treatments are also not used interchangeably with, and do not otherwise compete closely with,

 PCSK9 inhibitors.      Additionally, most are substantially less expensive than Praluent® and

 Repatha®, which cost approximately $500 per month or $6,000 per year. While “[m]ost patients

 do not pay the list price”26 27 for PCSK9 inhibitors, the pricing of other FDA-approved drugs




 2324
    Gregory G. Schwartz, et al., Alirocumab and Cardiovascular Outcomes after Acute Coronary
 Syndrome, 379 New Eng. J. Med. 2097-2107, at Table 2 (2018).
 2425
     Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1, (last visited May 25, 2022),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf
 2526
     Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1, (last visited May 25, 2022),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf ; Regeneron Pharmaceuticals,
 Praluent®        (alirocumab)       package        insert,     at         1        (April       2021),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/125559s029s030lbl.pdf.
 2627
     See Paying for Repatha®, (last visited May 25, 2022), https://www.repatha.com/repatha-cost; see also
 Starting & Paying for PRALUENT, (last visited May 25, 2022), https://www.praluent.com/starting-and
 paying-for-praluent-rx/.


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 does not constrain the pricing of PCSK9 inhibitors.27       28
                                                                  Other FDA-approved treatments for

 lowering bad cholesterol include:

               Statins: Statins, which were first released in 1987,28 29 are HMG-CoA reductase
                inhibitors that work in the liver and prevent cholesterol from forming. Statins are
                oral medications that may be used in combination with other FDA-approved
                drugs to increase their effectiveness. There are several brand name and generic
                versions of statins available in the United States, including Atorvastatin
                (Lipitor®), Fluvastatin (Lescol®), Lovastatin (Mevacor®, Altoprev®), Pravastatin
                (Pravachol®, Livalo®, Zypitamag™), Rosuvastatin Calcium (Crestor®), and
                Simvastatin (Zocor®). Some generic statins cost patients less than $1 per
                tablet.2930

               Ezetimibe: Like statins, Ezetimibe and its brand name version, Zetia®, is a tablet
                that patients ingest orally. Ezetimibe lowers cholesterol by preventing its
                absorption in the intestines. The FDA first approved Zetia® in late 2002 and
                approved the generic version in December 2016.30 31 The average net cost for
                Zetia® is about $20 per 30-day supply, while a 30-day supply of the generic
                version may cost less than $1 for some patients.31 32

               Adenosine triphosphate-citrate lyase (“ACL”) inhibitors: The FDA recently
                approved two types of ACL inhibitors, Nexletol® and Nexlizet®. Nexletol® is a
                form of bempedoic acid whereas Nexlizet® is bempedoic acide and ezetimibe.32
                33
                   Like statins, ACL inhibitors prevent the liver from producing cholesterol, but

 2728
     While both Regeneron and Amgen reduced the list price of Praluent® and Repatha® by 60 percent
 from their initial launch price in response to competition from one another, Repatha® and Praluent both
 cost approximately $500 per month for patients without insurance copayments or other discounts, while
 the cost of other FDA-approved cholesterol drugs mostly range from $1-$15 per month. See, e.g., Sanofi
 and Regeneron offer Praluent® (alirocumab) at a new reduced U.S. list price, (Feb. 11, 2019),
 https://www.news.sanofi.us/2019-02-11-Sanofi-and-Regeneron-offer-Praluent-R-alirocumab-at-a-new-
 reduced-U-S-list-price;      Paying     for     Repatha®,     (last   visited    May     25,     2022),
 https://www.repatha.com/repatha-cost.
 2829
     U.S. Food & Drug Admin, Statins: A Success Story Involving FDA, Academia, and Industry,
 https://www.fda.gov/media/110452/download (last visited May 25, 2022).
 2930
         Lauren Chase, How much do Statins                   Cost?,    GoodRx®     (Feb.    4,   2020),
 https://www.goodrx.com/blog/statin-pricing-comparison/.
 3031
      Ronilee Shye, Generic Zetia for High Cholesterol Now Available, GoodRx® (Jan. 9, 2017),
 https://www.goodrx.com/blog/generic-zetia-for-high-cholesterol-now-available/.
 3132
         Ezetimibe   Prices,   Coupons     and     Patient    Assistance      Programs,     Drugs.com,
 https://www.drugs.com/price-guide/ezetimibe#oral-tablet-10-mg (last visited May 25, 2022).
 3233
        Cholesterol Medications, American Heart Association, https://www.heart.org/en/health-
 topics/cholesterol/prevention-and-treatment-of-high-cholesterol-hyperlipidemia/cholesterol-medications
 (last visited May 25, 2022).


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                ACL inhibitors target a different part of the process. Nexletol® and Nexlizet® are
                taken orally and cost about $300 for a 30-day supply.33 34

               Bile Acid Sequestrants: Bile acid sequestrants work by binding bile acids that
                contain cholesterol to an insoluble complex. Because this complex cannot be
                dissolved in the body, it and the cholesterol is excreted rather than being
                absorbed. Bile acid sequestrants may be ingested in a tablet form or by mixing a
                powder with water. Like statins, there are several brand and generic forms
                available in the United States, including Cholestyramine (Questran®, Questran®
                Light, Prevalite®, Locholest®, Locholest® Light), Colestipol (Colestid®), and
                Colesevelam Hcl (WelChol®). Bile acid sequestrants have been available to treat
                cholesterol since the late 1990s and may cost patients less than $1 per dose.3435

        B.      The Role of Third-Party Payors in the PCSK9i Market

        49.     46. The PCSK9 inhibitor market in which Praluent® and Repatha® participate

 operates through several key intermediaries and meaningfully relies on pricing through

 negotiated rebates. After a physician prescribes Praluent® or Repatha®, patients transact with the

 pharmacy at which they fill their prescription, usually paying only a copayment—or

 “copay”—that is an amount (or a portion of the drug’s list price) that is set by the plan sponsor

 and the insurance provider. Insurance companies, in turn, pay the pharmacy based on the drug’s

 list price. The insurance company then receives a negotiated rebate from the manufacturer.

 Most insurance companies contract with an intermediary, called a PBM, to manage this

 interaction between the pharmacies and manufacturers.

        50.     47. For the commercial segment of the market, PBMs handle the pharmacy

 benefit of all types of private group health plan sponsors, such as HMO plans, self-insured

 employer plans, indemnity plans, labor union plans, and plans covering public employees.



 3334
     Alex Evans, FDA Approves Nexletol, a New Kind of Cholesterol Medication – Here’s What You
 Need to Know, GoodRx® (Mar. 13, 2020), https://www.goodrx.com/blog/fda-approves-nexletol-for-high-
 cholesterol/.
 3435
     Cholestyramine Prices, Coupons and Patient Assistance Programs, https://www.drugs.com/price-
 guide/cholestyramine#oral-powder-for-reconstitution-4-g-5-g (last visited May 25, 2022).


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 Similarly, on the public side, the federal government contracts with private insurance companies

 to administer healthcare to Medicare beneficiaries.35 36 Medicare benefits are grouped into four

 parts; Part D, most relevant here, provides prescription drug coverage.36              37
                                                                                             To fulfill their

 contracts with the federal government, most private insurance companies responsible for

 administering Medicare plans contract with PBMs to manage the prescription drug benefits

 under Medicare Part D.37        38
                                      According to the U.S. Government Accountability Office, PBMs

 manage about 74 percent of Medicare Part D plans.38 39

            51.      48. Together, these PBMs and other health insurance providers are referred to as

 “Third-Party Payors.” The significant majority of patients with prescription drug insurance

 coverage—whether that is through a commercial or government insurance provider—receive

 their benefits through a Third-Party Payor.3940

            52.      49. Access to a Third-Party Payor’s drug formulary—that is, the Third-Party

 Payor’s official list of covered medications, which determines how much a patient will pay for

 them—is critical to the success of many branded drugs, including self-administered PCSK9



 3536
     Medicare Part D, MEDICARE INTERACTIVE.org, https://www.medicareinteractive.org/get-
 answers/medicare-basics/medicare-coverage-overview/medicare-part-d (last visited May 25, 2022).
 3637
     The remaining parts are: Part A, which, provides medical benefit coverage for inpatient and hospital
 services; Part B, which, provides medical benefit coverage for outpatient services (such as regular
 doctor’s office visits or, as described above, in-office injections of Novartis’ Leqvio®); and Part C, which
 offers an alternative to “original” Medicare through a “Medicare Advantage Plan.” See The parts of
 Medicare (A, B, C, D), MEDICARE INTERACTIVE.org, https://www.medicareinteractive.org/get-
 answers/medicare-basics/medicare-coverage-overview/original-medicare (last visited May 25, 2022).
 3738
      See MEDICARE PART D Use of Pharmacy Benefit Managers and Efforts to Manage Drug
 Expenditures and Utilization, U.S. Government Accountability Office, (July 2019),
 https://www.gao.gov/assets/gao-19-498.pdf.
 3839
        Id. at 14.
    See, e.g., Examining the Drug Supply Chain: Hearing Before the Subcomm. on Health of the H.
 3940

 Comm. on Energy & Commerce, 115th Cong. 77 (Dec. 13, 2017) (statement of Mark Merritt, President,
 Pharmaceutical Care Management Association), https://docs.house.gov/meetings/IF/IF14/20171213/
 106730/HHRG-115-IF14-Wstate-MerrittM-20171213.pdf.


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 inhibitors. According to a joint report on competition in the health care industry by the U.S.

 Department of Justice and the FTC, the formulary is the “main tool” that Third-Party Payors use

 to manage pharmacy benefits.40 41 The amount that a patient will pay is determined based on the

 drug’s placement on the following commonly-used formulary “tiers”:

                   “Tier 1” to “Tier 3” designate ascending rates of co-pays designed to create an
                    incentive for the enrollee to prefer the lowest cost, yet clinically effective,
                    alternative. Co-pays significantly influence drug utilization.

                   “Prior Authorization” is normally reserved for drugs that treat conditions or
                    illnesses not otherwise covered by plans, have high costs, have a high potential
                    for abuse, or are ordered in unusual quantities.

                   “Not Covered” requires patients to pay full retail price—without rebates—rather
                    than a co-pay under their insurance plans.

              53.   50. Medicare Part D plans also typically use tier placement and other formulary

 management tools, such as prior authorization.41 42 Some plans also include a “specialty tier” in

 addition to Tier 1, Tier 2, and Tier 3.42     43
                                                    The specialty tier applies to high-cost prescription

 drugs (currently, the specialty tier threshold price for Medicare Part D plans must exceed $670

 per month),43 44 which may result in higher co-pays. 4445 Most Medicare Part D plans initially

 placed PCSK9i drugs on a specialty tier, but once Regeneron and Amgen lowered prices for their



    U.S. Dep’t of Justice & FTC, Improving Health Care: A Dose Of Competition, Ch. 7, IV. B (July
 4041

 2004),             https://www.ftc.gov/sites/default/files/documents/reports/improving-health-care-dose-
 competition-report-federal-trade-commission-and-department-justice/040723healthcarerpt.pdf.
 4142
     U. S. Dep’t of Health & Human Services: Centers for Medicare & Medicaid Services, Your Guide to
 Medicare        Prescription     Drug        Coverage,       at     28-29,       (Sept.      2019)
 https://www.medicare.gov/Pubs/pdf/11109-Your-Guide-to-Medicare-Prescrip-Drug-Cov.pdf.
 4243
        Id.
 4344
     U. S. Dep’t of Health & Human Services: Centers for Medicare & Medicaid Services, Updated
 Contract Year (CY) 2021 Final Part D Bidding Instructions, at 2 (May 22, 2020),
 https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-
 documents/2021%20mtm%20and%20specialty%20thresholds%20final%20part%20d%20bidding%2005.
 22.2020_8.pdf.44
 45
      Id.


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 respective PCSK9i drugs, the Centers for Medicare & Medicaid Services recommended that the

 PCSK9i class of drugs be removed from this specialty formulation tier to provide patients with

 easier and expanded access to these potentially life-saving drugs.45 46 Now most Medicare Part D

 plans include PCSK9i drugs as a non-preferred drug, listed on Tier 3.4647

        54.     51. Since Praluent® and Repatha® are distributed to individual patients and

 caregivers directly, rather than through hospitals or health care providers, patients receive these

 PCSK9 inhibitors as part of their private drug insurance coverage or through Medicare Part D.

 Given the cost of these PCSK9 inhibitors, which have list prices of nearly $500 per month,47 48

 prescribers and patients will often opt for the medication that is covered by the patient’s

 insurance plan with the least hassle or lowest out-of-pocket costs. As just explained, those costs

 are substantially determined by formulary position. As a result, knowing well the influence of

 formulary positioning, manufacturers compete to offer Third-Party Payors attractive rebates to

 ensure advantaged formulary positioning for the manufacturers’ own products.           Third-Party

 Payors, in turn, decide formulary positioning for comparable drugs in a way that will reduce their

 total net cost, taking all applicable manufacturer rebates into account. Negotiations between

 Third-Party Payors and competing manufacturers generate price concessions, discounts, and

 rebates from the nominal “list prices” at which manufacturers sell drugs, and have been



 4546
     Letter from the Centers for Medicare & Medicaid Services to Rep. Joyce Beatty, (Aug. 26, 2019),
 https://twitter.com/TheFHFoundation/status/1167570597930573824/photo/1.
 4647
     Affordable Patient Access to PCSK9 Inhibitors Remains Challenging Across Part D Plans in 2020,
 (Nov. 12, 2019), https://avalere.com/insights/affordable-patient-access-to-pcsk9-inhibitors-remains-
 challenging-across-part-d-plans-in-2020.
 4748
     See Paying for Repatha®, (last visited May 25, 2022), https://www.repatha.com/repatha-cost;
 Information for Colorado Prescribers Provided Pursuant to Colorado House Bill 19-1131, (last visited
 May 25, 2022), https://www.regeneron.com/downloads/codrugcosteducation_praluent.pdf; see also
 Complaint, at 4–5, Pharma. Care Mgmt. Assoc. v. U.S. Dep’t of Health and Human Servs., No. 21-cv-
 02161 (D.D.C. Aug. 12, 2021), ECF No. 1.


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 recognized by some as “one of the few proven methods of lowering prescription drug prices.”48
 49
      PBMs will generally pass the savings onto the health insurance providers and plan sponsors,

 who can then pass on these savings to their beneficiaries.49 50

            55.        52.   Importantly,   Third-Party Payors   primarily negotiate—and        leverage

 competition between—those drugs that are paid for by patients. Thus, for these types of drugs,

 market access is determined almost entirely through contracts negotiated between manufacturers

 and Third-Party Payors. By contrast, most drugs that physicians administer during office visits

 or that are administered in the hospital are not subject to these types of rebate agreements or the

 Third-Party Payor-manufacturer negotiating process for formulary position.               That is why,

 Leqvio®, which is administered through subcutaneous injection during in-office doctor visits,50 51

 is not and cannot be a competitive constraint or factor in the Third-Party Payor negotiations for

 self-administered PCSK9 inhibitors.

            56.        53. Express Scripts (“ESI”), UnitedHealthcare/OptumRx (“UHC/Optum”), and

 CVS Caremark (“CVS”) are the three most dominant Third-Party Payors—the “big three”—for

 both the Commercial and Medicare Part D segments of the PCSK9i market and collectively

 account for more than three quarters of all prescriptions filled and represent more than 80 percent

 of all insured lives in the United States. 51 and more than 70 percent of Commercial PBM




 4849
        See id. ¶ 6.
 4950
        See id.
 5051
     “Novartis receives EU approval for Leqvio®* (inclisiran), a first-in-class siRNA to lower cholesterol
 with two doses a year**,” (Dec. 11, 2020), https://www.novartis.com/news/media-releases/novartis-
 receives eu-approval-leqvio-inclisiran-first-class-sirna-lower-cholesterol-two-doses-year.
 51
   See Statement of David E. Mitchell, Founder, Patients for Affordable Drugs, Hearing Before
 Subcomm. on Competition Policy, Antitrust, and Consumer Rights, “A Prescription for Change:
 Cracking Down on Anticompetitive Conduct in Prescription Drug Markets”, 117th Cong. 13 (July 13,


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 lives.52 Recently, a significant shift in the Third-Party Payor landscape has taken place with the

 rise of group purchasing organizations (“GPOs”) like Ascent and Zinc who negotiate drug

 rebates on behalf of PBMs like ESI and CVS respectively. Furthermore, through vertical

 business relationships and reorganizations, these big three Third-Party Payors influence and

 negotiate on behalf of regional and custom formularies, impacting their formulary decision-

 making and increasing the impact of the formulary decisions made by the “big three” PBMs in

 controlling access at smaller PBMs.




 2021),
 https://www.judiciary.senate.gov/imo/media/doc/David%20Mitchell%20Written%20Testimony%20.pdf.
 At least some of the power PBMs exert over the market can be attributed to increased consolidation that
 has “has essentially created an oligopoly of integrated healthcare companies.” Letter from Alliance for
 Pharmacy Compounding, et al. to FTC and DOJ Antitrust Division re: Federal Trade Commission and
 Department of Justice’s Draft Vertical Merger Guidelines (Feb. 26, 2020) at 2,
 https://www.ftc.gov/system/files/attachments/798-draft-vertical-merger-guidelines/02-26-
 20_joint_‌pharmacy‌_stakeholder_comments_ _ftc_doj_draft_vertical_merger_guidelines.pdf. The three
 Third-Party Payors that dominate the PCSK9i market are no exception: “In the past two years alone,
 CVS Health (which was already both the single largest pharmacy chain in the country and the second
 largest PBM) acquired Aetna (the third-largest health insurance company in the country); and Cigna
 (another of the so-called ‘big-five’ health insurers) acquired Express Scripts (the largest PBM). The
 third major PBM (OptumRx) is already affiliated with the single largest health insurer in the country
 (UnitedHealthcare).” Id. at 1 2
 52
    See Statement of David E. Mitchell, Founder, Patients for Affordable Drugs, Hearing Before
 Subcomm. on Competition Policy, Antitrust, and Consumer Rights, “A Prescription for Change:
 Cracking Down on Anticompetitive Conduct in Prescription Drug Markets”, 117th Cong. 13 (July 13,
 2021),
 https://www.judiciary.senate.gov/imo/media/doc/David%20Mitchell%20Written%20Testimony%20.pdf.
 At least some of the power PBMs exert over the market can be attributed to increased consolidation that
 has “has essentially created an oligopoly of integrated healthcare companies.” Letter from Alliance for
 Pharmacy Compounding, et al. to FTC and DOJ Antitrust Division re: Federal Trade Commission and
 Department of Justice’s Draft Vertical Merger Guidelines (Feb. 26, 2020) at 2,
 https://www.ftc.gov/system/files/attachments/798-draft-vertical-merger-guidelines/02-26-
 20 joint ‌pharmacy‌ stakeholder comments - ftc doj draft vertical merger guidelines.pdf. The three
 Third-Party Payors that dominate the PCSK9i market are no exception: “In the past two years alone,
 CVS Health (which was already both the single largest pharmacy chain in the country and the second
 largest PBM) acquired Aetna (the third-largest health insurance company in the country); and Cigna
 (another of the so-called ‘big-five’ health insurers) acquired Express Scripts (the largest PBM). The
 third major PBM (OptumRx) is already affiliated with the single largest health insurer in the country
 (UnitedHealthcare).” Id. at 1–2


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        57.     54. As this description of the role of formularies in driving patient and provider

 decision-making makes clear, adverse formulary treatment can dramatically restrict patient

 access. If a particular PCSK9i drug is blocked from a formulary and listed as “Not Covered” or

 “Prior Authorization” (“NC” or “PA”), patients will not have access to that drug, or at best will

 have access only in special cases where their provider has obtained prior authorization from the

 health plan before prescribing the drug. According to the U.S. General Accounting Office, drugs

 are normally listed as PA only when they “treat conditions or illnesses not otherwise covered by

 plans, have high costs, have a high potential for abuse, or are ordered in unusual quantities.”52 53

 As the FTC has recognized, “[g]etting favorable placement on a PBM’s formulary can be the key

 to success for a drug product” because “[i]f a drug maker’s product is not on [a PBM’s]

 formulary, patients cannot use their insurance to cover the costs of the drug.”53   54



        58.     55. Regeneron’s own experiences illustrate the degree to which formulary

 positioning severely impacts sales. Since Praluent® has been excluded from ESI Commercial’s

 formulary effective January 1, 2021 (as explained in more detail below), its share of PCSK9i

 sales for ESI Commercial’s covered patients has plummeted in six months from about 24 percent

 to about 5 percent—a precipitous decline of almost 80 percent.

        C.      Amgen’s 2020 Acquisition of Monopoly Product Otezla®




   U.S. General Accounting Office, “Effects of Using Pharmacy Benefit Managers on Health Plans,
 5253

 Enrollees, and Pharmacies”, at 13 (Jan. 2003), http://www.gao.gov/new.items/d03196.pdf.
 5354
     Federal Trade Commission, “Statement of Commissioner Rohit Chopra Regarding the Commission’s
 Report on Pharmacy Benefit Manager Rebate Walls”, at 1 (May 28, 2021),
 ftc.gov/system/files/documents/public_statements/1590528/statement_of_commissioner_rohit_chopra_re
 garding_the_commissions_report_on_pharmacy_benefit_manager.pdf.


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            59.       56. Otezla® “is the most popular oral product approved to treat moderate-to-

 severe psoriasis in the United States” and faces little to no competition from other, “older oral

 generic products” approved to treat psoriasis that are only “occasionally used.”5455

            60.       57. Otezla®’s market position is so dominant that the FTC required its divestment

 upon the merger of BMS and Celgene Corporation (“Celgene”) after the FTC found in its

 Analysis of Agreement Containing Consent Orders to Aid Public Comment that Celgene—the

 pharmaceutical company that originally marketed Otezla®—“is currently the market leader and

 BMS would likely be the next entrant into the market”55 56 and that, as a result, the merger would

 harm consumers in the U.S. market for treatments taken orally for moderate-to-severe psoriasis

 by eliminating future competition to Otezla®.56 57

            61.       58. In January 2020, Amgen capitalized on the opportunity created by the FTC’s

 complaint and paid over $13.4 billion to acquire Otezla®, outbidding several other interested

 buyers, in the largest divestiture sale ever ordered in a merger enforcement matter.57         58
                                                                                                     After



 5455
      Federal Trade Commission, “Analysis of Agreement Containing Consent Orders to Aid Public
 Comment” at 2 (Nov. 15, 2019), https://www.ftc.gov/system/files/documents/cases/bms-celgene_aac.pdf.
 Although Bristol-Myers Squibb Company (“BMS”) is currently developing a new product in this area,
 that product has not yet been approved for use in any country. BMS, “Bristol Myers Squibb Presents
 Positive Data from Two Pivotal Phase 3 Psoriasis Studies Demonstrating Superiority of Deucravacitinib
 Compared        to    Placebo       and     Otezla®      (apremilast),”     (April     23,    2021),
 https://news.bms.com/news/details/2021/Bristol-Myers-Squibb-Presents-Positive-Data-from-Two-
 Pivotal-Phase-3-Psoriasis-Studies-Demonstrating-Superiority-of-Deucravacitinib-Compared-to-Placebo-
 and-Otezla-apremilast/default.aspx.
 5556
        Id. at 2–3.
 5657
      Federal Trade Commission, “FTC Requires Bristol-Myers Squibb Company and Celgene
 Corporation to Divest Psoriasis Drug Otezla as a Condition of Acquisition,” (Nov. 15, 2019),
 https://www.ftc.gov/news-events/press-releases/2019/11/ftc-requires-bristol-myers-squibb-company-
 celgene-corporation.
 5758
     Federal Trade Commission, “FTC Approves Final Order Requiring Bristol-Myers Squibb Company
 and Celgene Corporation to Divest Psoriasis Drug Otezla as a Condition of Acquisition,” (Jan. 13,
 2020),        https://www.ftc.gov/news-events/press-releases/2020/01/ftc-approves-final-order-requiring-
 bristol-myers-squibb-company.


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 spending this record-breaking sum to acquire a new monopoly product, Amgen wasted no time

 in putting it to work to benefit a smaller drug in Amgen’s portfolio—Repatha®—much to the

 detriment of Regeneron’s Praluent® and competition in the PCSK9i market.

        D.      Amgen’s Intent to Exclude Praluent®

        62.     59. Since prior to the FDA’s approval of Praluent® in 2015, Amgen has tried to

 block Praluent® from competing in the PCSK9i market. Before commencing the challenged

 illegal anticompetitive bundled rebate scheme, Amgen sought to exclude Praluent® as a

 competitor to Repatha® through a patent-infringement lawsuit in this Court seeking an injunction

 to stop the sales of Praluent® outright. But, after many years of costly litigation, this effort failed

 with this Court and the Court of Appeals for the Federal Circuit holding Amgen’s patents invalid

 and criticizing Amgen for trying “to control what it has not invented”—namely, Praluent®.

 Amgen, 850 F. App’x at 796.

        63.     60. Amgen’s patent infringement campaign began even before FDA approved the

 Praluent® Biologics License Application. In October 2014, Amgen filed a complaint in this

 Court alleging that Praluent® infringed two Amgen patents. Critically, the asserted Amgen

 patents did not specifically disclose Praluent® or a drug structurally similar to Praluent®. Rather,

 Amgen sought to claim with its patents’ exclusive rights to millions of undisclosed PCSK9-

 inhibiting antibodies—including Praluent®—and thereby effectively close the PCSK9i market to

 Praluent® and any future entrants.

        64.     61. As part of its litigation strategy, Amgen took the aggressive step of asking for

 an injunction to stop the manufacture and sale of Praluent®, even though Praluent® has an

 entirely different chemical structure from Repatha® with a distinctive clinical profile, and

 required its own separate clinical trials to obtain approval. Amgen’s requested injunction would




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 have denied Praluent® even to the patients, who, as Regeneron’s Dr. Schleifer testified, “don’t

 respond at all to [Repatha®] and who respond to [Praluent®],” as well as the many patients who

 stand to benefit from the many distinctive advantages that Praluent® has that Repatha® lacks. PI

 Hearing Tr. at 94:3–4.

        65.     62. Amgen was clear as to its aim in seeking an injunction: to prevent Praluent®

 from competing with Repatha® in the PCSK9 inhibitor market. As Amgen told this Court,

 “direct competition in this two-supplier market is causing Amgen to suffer price erosion,

 reputational harm, lost sales, and lost market share,” and, if allowed to continue, such

 competition “threatens to disrupt the very business model on which Amgen depends for the long-

 term, autonomous operation of its business.” PI Motion at 6. In so arguing, Amgen recognized

 the significance of rebates given to Third-Party Payors as a key driver of competition in the

 PCSK9i market. The competition between Repatha® and Praluent®, Amgen explained, allowed

 Payors “to pit the parties against each other to extract larger and larger rebates and other

 concessions as a condition to being included (even in a parity position) on national formularies.”

 Id. This “head-to-head competition” between the two products—in which “a sale to defendant is

 the loss of sale to plaintiff”—“triggered competitive contracts for exclusive formulary position”

 and “forced Amgen to give [] unprecedented concessions.” Id. at 7, 9 (citation omitted). And

 Amgen had “every reason to believe this will continue over the term of the patents.” Id. at 7.

 The effects of this competition, Amgen added, could be dire for Amgen, as “[w]ithout an

 injunction, Amgen will be unable to fully recoup its investment in Repatha®” and “Amgen's

 future ability to invest in innovation as an autonomous enterprise will be compromised.” Id. at

 11.

        66.     63. Amgen was initially successful in obtaining an injunction before this




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 Court—notwithstanding this Court’s own conclusion, after noting Praluent®’s unique low-dose

 option, that the public interest counsels against an injunction because “[t]he public generally is

 better served by having a choice of available treatments.” See Memorandum Order at 6, Amgen

 Inc. v. Sanofi, No. CV 14-1317-RGA, (D. Del. Jan. 5, 2017), ECF No. 392. But the Federal

 Circuit stayed the injunction pending appeal and ultimately vacated it wholesale, explaining that

 a court may not issue an injunction in this context when doing so disserves the public interest.

 See Amgen, 872 F.3d at 1381. Amgen was thus stymied in its attempt to use the courts to take

 Praluent® off the market completely, and the competition with Repatha® that Amgen sought to

 eliminate persisted.

            67.        64. Nevertheless, Amgen’s litigation strategy still succeeded in decreasing

 Praluent®’s market share.          Even though Praluent® remained on the market, the looming

 injunction order created uncertainty that Praluent® could be removed from the market at any

 moment.58        59
                       This caused a chilling effect that allowed Amgen’s Repatha® to emerge as the

 market leader. After the district court issued its injunction order, Praluent®’s market share began

 to steadily decline. By early 2018, Praluent® had lost, and Repatha® had gained, almost 15

 points in market share with the overhang of the patent litigation and possible injunction.59 60




 5859
     Mary Caffrey, “Judge Won’t Stay Injunction of Praluent Sales During Appeal,” AJMC The Center
 for Biosimilars (Jan. 10, 2017), https://www.ajmc.com/view/judge-wont-stay-injunction-of-praluent-
 sales-during-appeal (“This ruling means that barring a settlement or a reversal on appeal, Sanofi and
 Regeneron could be forced to stop selling Praluent within 6 weeks.”); Tracy Staton, “Sanofi,
 Regeneron avoid Praluent disaster as appeals court stays injunction in PCSK9 patent case,”
 FiercePharma (Feb. 8, 2017), https://www.fiercepharma.com/pharma/sanofi-regeneron-avoid-praluent-
 disaster-as-appeals-court-stays-injunction-pcsk9-patent-case (“Regeneron and Sanofi won’t have to pull
 Praluent off the market after all—at least not yet.); Sue Setter, “PCSK9 Patent Case: Praluent Injunction
 Vacated,       But    May        Well      Return,”       Medtech     Insight    (Oct.     5,     2017),
 https://medtech.pharmaintelligence.informa.com/
  PS121706/PCSK9-Patent-Case-Praluent-Injunction-Vacated-But-May-Well-Return.
 5960
        See infra Section C.


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        68.     65. Even though Amgen was unable to ultimately secure an injunction taking

 Praluent® off the market, it nonetheless succeeded in starting to erode Praluent®’s market share.

 Amgen continued its quest for an injunction by pursuing its patent litigation on appeal, where the

 Federal Circuit rejected Amgen’s overbroad patents as invalid. Amgen, the panel explained, was

 not merely defending Repatha® but was instead trying to “control what it has not invented” and

 thereby “suppress innovation” in the PCSK9i market. Amgen, 850 F. App’x at 795.

        69.     On May 18, 2023, the Supreme Court unanimously affirmed the Federal Circuit’s

 judgment that Amgen’s patents are invalid, thereby finally and definitively resolving the parties’

 patent litigation in Regeneron’s favor. Amgen, 143 S. Ct. at 1243.

        E.      Amgen’s Misinformation Blitz

        70.     66. Regeneron learned in 2019 that, as part of Amgen’s effort to exclude

 Praluent®, Amgen utilized its sales force to disseminate misleading facts regarding the safety and

 availability of Praluent®. Amgen’s sales representatives promoted Repatha® with false claims to

 nurses, physicians, and other medical practitioners that Praluent® would be removed from the

 market based on Amgen’s patent lawsuit. The intended effect of these misrepresentations was to

 mislead medical professionals into switching patients’ treatments from Praluent® to Repatha®.

        71.     67. And these misrepresentations indeed had their intended chilling effect. For

 example, an Amgen sales representative in Lexington, Kentucky, told a physician (inaccurately)

 that Praluent® was “being discontinued and to stop writing it.”           This misrepresentation

 reasonably and predictably led the doctor to believe—and to inform at least three patients—that

 he needed to switch his patients from Praluent® to Repatha®. Upon information and belief, other

 Amgen sales representatives made similar misleading statements to physicians to get them to

 switch their PCSK9i prescriptions from Praluent® to Repatha®. All said, by January 2020,




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 Amgen’s misinformation campaign had clawed a significant amount of additional market share

 away from Praluent®.

                           AMGEN’S EXCLUSIONARY CONDUCT

         A.     Amgen Is Engaged in an Anticompetitive Bundled Rebate Scheme to Corner
                the PCSK9i Market for Repatha®

         72.    68. Amgen’s patent-litigation scheme and misinformation blitz made transparent

 Amgen’s intent to insulate Repatha® from competition. That effort has continued with Amgen’s

 illegal scheme to impair competition from Praluent® by offering and entering into illegal,

 anticompetitive bundled rebate agreements that leverage the market position of two unrelated

 mega-drugs in Amgen’s portfolio to limit competition in the much smaller PCSK9i market. This

 unlawful scheme started shortly after Amgen acquired the blockbuster drug Otezla® in 2020,

 when Amgen began to leverage this new monopoly product, along with the long-running

 blockbuster drug Enbrel® (also from an unrelated therapeutic area), to illegally block and hinder

 Regeneron’s access for Praluent® with Third-Party Payor formularies. By doing so, Amgen has

 offered Third-Party Payors an offer they cannot refuse, and one that Regeneron cannot match.

         73.    69. Since Praluent® launched in 2015, Third-Party Payors had solicited rebate

 offers only within the PCSK9 inhibitor market during negotiations for formulary access. Prior to

 June 2020, Regeneron understood from Third-Party Payors that bundled rebates across a

 portfolio of unrelated products was not an accepted practice in the PCSK9i class. (Amgen

 effectively admitted as much in its April 2016 motion for an injunction in its patent-infringement

 lawsuit, by focusing only on the pressures of head-to-head competition that Praluent® imposed

 on the prices for Repatha® rather than on Amgen’s broader product portfolio. See PI Motion at

 6–9.)




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            74.   70. As a result, despite Amgen’s other efforts to impair Praluent®’s market

 position, Regeneron nevertheless was able to maintain its presence in the PCSK9i market by

 virtue of Praluent®’s distinctive benefits and by competing on the merits to provide better patient

 access, economic terms, and other benefits with Third-Party Payors, plan sponsors, and

 beneficiaries. For example, Regeneron’s 2018 collaboration with ESI resulted in significant net

 price reductions and the removal of artificial barriers to give patients streamlined access to

 PCSK9i therapy with Praluent®. At the time, ESI touted the collaboration publicly as indicative

 of its commitment to “making value-based care a reality” by bringing access to “innovative
                                                                        61
 therapies” to its members with an innovative “payment model[].”60           ESI also highlighted the

 benefits that Praluent® brings to certain high-risk patients by meaningfully reducing the risk of

 death for those patients by 29 percent.61 62 These incentives to prescribe and improve patient

 access to Praluent® were the product of fair competition—Regeneron did not tie the rebates to

 other, unrelated products in different therapeutic classes, nor did Regeneron price the products

 below-cost to drive out competition. The procompetitive benefit of such incentives have been

 recognized by Third-Party Payors who cover and pay for the majority of the cost of prescription

 drugs. For example, ESI considers “[c]linical appropriateness of the drug” to be the first and

 foremost consideration” in formulary development and “ensures that each drug is considered

 individually on its own merits.”6263




 6061
      E.g., PCSK9 Therapy: An Example of Value-Based Care, Express Scripts (May 1, 2018),
 https://www.express-scripts.com/corporate/articles/pcsk9-therapy-example-value-based-care.
 6162
        See id.
 6263
     See White Paper: Formulary Development at Express Scripts, Express Scripts (last visited May 25,
 2022),                                                                         https://www.express-
 scripts.com/aboutus/formularyinformation/development/formularyDevelopment.pdf.


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        78.




        79.     72. Amgen’s anticompetitive conduct, designed and intended to entrench its

 monopoly in the PCKS9i market, has had the purpose and effect of foreclosing Regeneron from

 the formularies at the key Third-Party Payors. Amgen has done so by offering significant and

 coercive rebates for products that Regeneron could not contest, thus making it impossible for

 Regeneron to compete on the merits. Additionally, Amgen’s rebates render the effective price of

 Repatha® below cost. Such below-cost bundled rebates, where a package of two or more

 products are sold at lower prices than they would be had they been provided separately, have the

 potential to exclude equally efficient competitors or competitors offering a product with unique

 advantages, such as Regeneron’s Praluent®.

        80.     73. Amgen’s anticompetitive bundle has already been successful in limiting

 Praluent®’s access to the PCSK9i market and the Pharmacy-dispensed PCSK9i sub-market—and

 the effects will only continue to grow worse. For example, prior to June 2020, Praluent® had at

 least access to the patients under nine out of the ten major Commercial Third-Party Payors in the

 United States. Since June 2020, and the onset of Amgen’s bundling practices and in light of

 industry consolidation, all three major Commercial Third-Party Payors have elected to cover and

 recommend to their health plan clients that Repatha® should be the exclusive PCSK9 product

 that is covered, and further, that Praluent® should be excluded or blocked. Accordingly,

 Praluent® now has lost access to only five of the ten. Similarly, prior to June 2020, Praluent®




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 had access to the patients under six out of eightESI (including Cigna and Prime), UHC/Optum,

 and CVS/Zinc (including Aetna), and a number of other, smaller Third-Party Payors. Regeneron

 has experienced similar and growing foreclosure at the major Medicare Part D Third-Party

 Payors in the United States. Due to the impact of Amgen’s bundling practices, Praluent® now

 has access to only three out of eight.       Amgen has thus deprived Praluent® of significant

 marketplace access.

        81.     74. This push by Amgen to use bundled rebates across different therapeutic

 classes in its negotiations with Third-Party Payors has broken the competitive process in the

 PCSK9i market, which had previously provided greater access, lower prices, and more choices

 for physicians and patients. Amgen is well-aware of the consequences of its strategy, and

 accordingly recognizes in its Global Corporate Compliance Policy on Antitrust and Unfair

 Competition that representatives “should exercise caution” before “[s]elling multiple Amgen

 products together for a discounted rate (i.e., bundling).”63 64 Nonetheless, Amgen has doubled

 down on this strategy to bundle its blockbuster products with Repatha® to exclude competition

 from Praluent®.64 65

        82.     75. Amgen’s bundling practices at two majorthe three largest Third-Party Payors,

 ESI and, United Healthcare/OptumRx, and CVS/Zinc vividly illustrate the nature and impact of

 Amgen’s anticompetitive conduct. And thoese two Third PartyThird-Party Payors are just the




 6364
     Amgen Global Corporate Compliance Policy, Antitrust and Unfair Competition, AMGEN, at 2–3
 (July  15,   2020),     https://www.amgen.com/-/media/Themes/CorporateAffairs/amgen-com/amgen-
 com/downloads/policies/antitrust_unfair_competition_policy.pdf.
    See Eric Sagonowsky, Amgen’s psoriasis pill Otezla thrives amid pandemic against injectable rivals,
 6465

 FIERCE Pharma (July 29, 2020), https://www.fiercepharma.com/pharma/amgen-s-otezla-helps-drive-
 growth-despite-covid-19.


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 beginning, as Amgen is engaged in similar negotiations to leverage its bundled rebate scheme to

 further exclude Praluent® from formulary coverage at additional Third-Party Payors.

                i.      Amgen’s Bundling Practices at ESI

        83.     76. Prior to June 2020, Regeneron and ESI had collaborated to bring patients

 greater access to PCSK9 inhibitors. As described above, Regeneron’s May 2018 collaboration

 with ESI on Praluent® resulted in significant net price reductions and the removal of artificial

 barriers to give patients streamlined access to Praluent®. For more than two years, ESI’s more

 than 75 million members had uninterrupted access to Praluent®, including after ESI added

 Repatha® to the main National Formulary in 2019.

        84.     77. Amgen recognized the competitive threat posed by Praluent® and the inroads

 it had made with ESI, which considered Praluent® to have distinctive advantages that Repatha®

 lacked.65 66 In light of the growing industry recognition of Praluent®’s benefits, Amgen quickly

 moved to suppress competition and, with Otezla® safely within its drug portfolio after the 2020

 acquisition, offered a bundled rebate to ESI that Regeneron would be unable to match with

 Praluent® alone.

        85.     78. In June 2020, Regeneron was advised by ESI that Amgen had offered

 substantial rebates totaling $210 million over two years and four months for Enbrel®, Otezla®,

 and Repatha®. (This massive rebate represents close to half of the $459 million that Repatha®

 generated for Amgen in total U.S. net sales for 2020.)




 6566
    As detailed above, ESI publicly described its relationship with Regeneron as a proud moment for ESI,
 providing an “innovative therap[y]” to its members with an innovative “payment model[].”


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                                           ESI acknowledged to Regeneron that Amgen had tied

 rebates for the three drug products together and conditioned these rebates on exclusivity for

 Repatha® on ESI Commercial’s National Preferred Formulary. For example, Regeneron was

 informed by ESI on a June 2020 call attended by senior level executives that Amgen’s offer for

 Repatha® included “other products that would provide much more financial incentives to ESI.”



                                                                                  As a result,

 Regeneron was informed that Praluent® would be excluded from ESI Commercial’s National

 Preferred Formulary unless it could match this $210 million rebate.

        86.    79. Amgen’s conduct foreclosed Praluent® from accessing ESI Commercial’s

 approximate 15% share of the PCSK9i market for a value of only approximately $110.62

 million. To match Amgen’s offer of at least $210 million in rebates, Regeneron would have had

 to make unprofitable sales of Praluent® for patients covered by ESI Commercial when factoring

 in Regeneron’s other costs to manufacture and sell the product. Matching Amgen’s rebates

 would therefore have made no economic sense for Regeneron and rejecting Amgen’s rebates

 would have made no economic sense for ESI—and Amgen specifically designed and structured

 its bundled rebate offer to ensure that outcome. Nor is Regeneron able to match Amgen’s

 bundled rebate by offering an equivalent bundle across its portfolio, which lacks the massive

 products subject to PBM rebating that could offset Amgen’s coercive rebates for Otezla® or

 Enbrel®. Amgen purposely and knowingly bundled Otezla®, Enbrel®, and Repatha® together to




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        103.    87. The FTC has recognized that certain rebating practices can harm competition

 and constitute “rebate walls.” Here, Amgen’s multi-product rebate offer involving Otezla®,

 Enbrel®, and Repatha® constitutes a bundled rebate—where a package of two or more products

 sell at lower price than the prices at which the products would have otherwise been provided

 separately. Conditional rebates like the ones Amgen has structured are commonly referred to as

 “rebate walls” because they insulate a product from competition by dramatically escalating the

 net cost to a Payor to switch to a competitive drug, in this case Praluent®. According to the FTC,

 rebate walls “can squelch out competitors” because Payors “cannot afford to pay the full list

 price when the drug manufacturer stops paying the rebate.”7072

        104.    88. Courts have applied a variety of standards to determine the exclusionary effect

 of bundling practices. See, e.g., LePage’s, Inc. v. 3M Co., 324 F.3d 141, 156–67 (3d Cir. 2003)

 (en banc) (the anticompetitive effects of bundling practices can be determined by analyzing “the

 increase in the defendant's market share, the effects of foreclosure on the market, benefits to

 customers and the defendant, and the extent to which customers felt they were precluded from

 dealing with other manufacturers”); SmithKline Corp. v. Eli Lilly & Co., 575 F.2d 1056, 1065

 (3d Cir. 1978) (finding that Defendant insulated its competitive product from price competition

 in violation of Sherman Act Section 2 by bundling rebates for that product with rebates for

 monopoly products on which it “faced no competition”); cf. Cascade Health Sols. v.

 PeaceHealth, 515 F.3d 883, 903 (9th Cir. 2008) (“[T]he exclusionary conduct element of a claim

 arising under § 2 of the Sherman Act cannot be satisfied by reference to bundled discounts unless




 7072
      Federal Trade Commission, Statement of Commissioner Rohit Chopra Regarding the Commission’s
 Report      on     Pharmacy     Benefit     Manager     Rebate    Walls,   (May      28,    2021),
 ftc.gov/system/files/documents/public_statements/1590528/statement_of_commissioner_rohit_chopra_re
 garding_the_commissions_report_on_pharmacy_benefit_manager.pdf.


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 the discounts result in prices that are below an appropriate measure of the defendant's costs”).

 For example, whether a bundled rebate results in below-cost pricing can be determined using the

 discount attribution test. See, e.g., Cascade Health, 515 F.3d at 907. Under that test, a bundled

 rebate is below cost if the rebate given to purchasers for the bundle, when applied entirely to the

 competitive product in the bundle, results in that product being sold at a price below an

 appropriate measure of that product’s costs.7173

         105.    89. Upon information and belief, Amgen is pricing Repatha® below cost with the

 bundled rebate that leverages Otezla® and Enbrel® in order to secure exclusivity for Repatha® on

 ESI Commercial’s formulary.         As noted above, during Regeneron’s negotiations with ESI

 Commercial, Regeneron was informed that Amgen conditioned rebates of $210 million over two

 years and four months—approximately $90 million per year—on a three-product bundle

 consisting of Otezla®, Enbrel® and Repatha®.

         106.    90. When this $90 million annual rebate is attributed to PCSK9i sales covered by

 ESI Commercial, Amgen is pricing Repatha® below an appropriate measure of its costs. By way

 of example, for 2020, assuming Amgen paid its bundled rebates for the entire year, Amgen’s net

 revenue on Repatha® from ESI Commercial, once the bundled rebates are considered would be at

 most, just north of $20 million. Specifically, based upon an analysis of Amgen’s publicly

 reported earnings and other market data, Repatha®’s estimated gross sales at ESI Commercial

 would have been $110.62 million in 2020 if Repatha® had all of ESI Commercial’s PCSK9i

 share. After attributing the entirety of the $90 million bundled rebate to Repatha®, and assuming




 7173
     In the pharmaceutical industry, the appropriate measure of costs include industry-specific costs, such
 as R&D costs required to develop and launch the product, regulatory approval and compliance with the
 FDA, and marketing, promotional and sales force expenses.


                                                    54
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 that Repatha® had all of ESI Commercial’s PCSK9i share, Amgen thus would have generated net

 revenue of $20.62 million in 2020 through ESI Commercial.

         107.    91. This $20.62 million revenue figure is far lower than any appropriate estimate

 of Amgen’s corresponding costs. Specifically, using Amgen’s own financial disclosures to

 estimate its costs for Repatha® suggests that Amgen incurred significant losses on ESI-covered

 Repatha® sales through the use of its illegal bundle.72 74 Based on Amgen’s public reporting of

 costs of goods sold and distribution costs, Amgen’s approximate cost in 2020 for Repatha®

 totaled $224.91 million.73 75 And the share of these costs attributable only to ESI Commercial

 was at least an estimated $42.73 million.74        76
                                                         Thus, by way of example, with an annual net

 revenue of $20.62 million for Repatha® at a minimum, in 2020 Amgen would have lost

 approximately $22.11 million on ESI Commercial-covered Repatha® net sales through the use

 of its illegal bundle.

         108.    92. Estimating costs based on Regeneron’s own analogous costs for Praluent®

 likewise shows that Amgen’s bundled rebates cause it to incur significant losses on ESI-covered



 7274
     To be sure, Amgen has kept secret its commercial interactions and agreements with Third-Party
 Payors, such as ESI Commercial. However, Regeneron can estimate the range of Amgen’s costs by
 reviewing Amgen’s publicly available financial information and by analyzing market data associated
 with the PCSK9i market, in which there were only two products—Repatha® and Praluent®—prior to
 December 2021.
 7375
     See Amgen Reports Fourth Quarter And Full Year 2020 Financial Results, AMGEN (Feb. 2, 2021),
 https://investors.amgen.com/node/30746/pdf (estimating Amgen’s costs by multiplying full year net sales
 for Repatha® of $459 million in 2020 by 49 percent, the overall share of Amgen’s total cost of sales (25.4
 percent) and selling, general, and administrative expenses (23.6 percent) across total net sales of its drug
 portfolio). Based on Amgen’s reported disclosure and Regeneron’s knowledge of the pharmaceutical
 industry, there is no reason to believe this margin is not generally applicable to Repatha® sales to make it
 more defensible using a metric across the Amgen portfolio.
 7476
     The share of the costs attributable only to ESI Commercial can be calculated by identifying what
 share of Repatha®’s total U.S. net sales are attributable to ESI Commercial (19 percent, based on
 Repatha®’s estimated gross sales at ESI Commercial of $110.62 million in 2020 if Repatha® had all of
 ESI Commercial’s PCSK9i share out of total estimated 2020 Repatha® gross sales of $582.2 million) and
 applying that percentage to the costs (approximately totaling $224.91 million in 2020).


                                                     55
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 Repatha® sales. Based on either of these estimates, Amgen’s bundled price for Repatha® with

 ESI Commercial under the discount attribution test was well below cost using any reasonable

 estimate of its cost.

         109.    93. This is true for 2021 as well. Based upon an analysis of Amgen’s publicly

 reported earnings and other market data, Repatha®’s estimated gross sales at ESI Commercial

 would have been $134.24 million in 2021 if Repatha® had all of ESI Commercial’s PCSK9i

 share. After attributing the entirety of the annual $90 million bundled rebate to Repatha®, and

 assuming that Repatha® had all of ESI Commercial’s PCSK9i share, Amgen thus would have

 generated net revenue of $44.24 million in 2021 through ESI Commercial. Using Amgen’s

 publicly reported costs of goods sold and distribution costs, Amgen’s approximate cost in 2021

 for Repatha® totaled $271.26 million.75 77 And the share of these costs attributable only to ESI

 Commercial is at least an estimated $51.54 million. Thus, with an annual net revenue of $44.24

 million for Repatha®, at a minimum, in 2021 Amgen would have lost approximately $7.3

 million on ESI Commercial-covered Repatha® net sales through the use of its illegal bundle.

         110.    The below-cost nature of the bundled rebate is particularly severe when

 considered based on the incremental market share that Amgen received as a result of offering it.

 As a result of Amgen offering the bundled rebate at ESI Commercial, for example, Amgen

 gained (and Regeneron lost) 20% share of gross PCSK9i sales.




 7577
     See Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN (Feb. 7, 2022),
 https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c35 (estimating Amgen’s
 costs by multiplying full year net sales for Repatha® of $557M in 2021 by 48.7 percent, the overall share
 of Amgen’s total cost of sales (26.6 percent) and selling, general, and administrative expenses (22.1
 percent) across total net sales of its drug portfolio).




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 market other hypothetical rivals who make products that cannot match the significant market

 power of the bundled products.

        113.    96. As explained above, Amgen has conditioned significant rebates for Enbrel®

 and Otezla® upon Repatha® exclusivity to exclude Praluent® from the formulary at ESI

 Commercial and ESI Part D in June 2020, and at UHC/Optum Commercial in July 2021, and

 CVS/Zinc Commercial in July 2023. And on information and belief, Amgen has offered similar

 rebates to other Third-Party Payors , including but not limited to Anthem, Humana, and Prime.

 Furthermore, Regeneron expects CVS Part D to follow CVS/Zinc Commercial in moving to

 exclusive Repatha® coverage. ESI Commercial (15.27 percent), ESI Part D (7.7 percent), and

 UHC/Optum Commercial (7.05 percent) that together alone account for over 30 percent of the

 total PCSK9i market by prescriptions covered. Amgen’s rebate strategy took advantage of, and

 dramatically increased, the Third-Party Payors not covering Praluent®. Combined with the

 formularies of other, relatively smaller Third-Party Payors inPraluent® is now substantially

 foreclosed from the PCSK9i market who covered Repatha® exclusively, such as Humana, Cigna,

 and Prime, Praluent® is “not covered” on formularies of Payors accounting for at least 50

 percent of the total prescriptions inwith no coverage on the majority of the formularies of the

 three largest Third-Party Payors, and the Third-Party Payors who follow their formularies, who

 collectively cover 80 percent of all insured lives in the United States. Praluent®’s current share of

 the PCSK9i market as of January 2022is less than 20 percent.

        114.    97. Amgen’s conduct leaves these Payors with no commercially viable option but

 to accept Amgen’s demands for Repatha® formulary coverage in the much smaller PCSK9i

 market in order to avoid paying higher prices on Amgen’s much larger drugsanti-inflammation

 portfolio, which includes Enbrel® and Otezla®. Even if Regeneron offered a lower net price for




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 Praluent® with competitive single-product rebate offers, as it has done in the past, those savings

 could not offset the artificial prices for Otezla® and Enbrel® that Amgen leverages to block such

 competitive single-product offers.      As a result, Praluent® is economically unable to avoid

 foreclosure at the formularies of ESI Commercial, ESI Part D and, UHC/Optum Commercial,

 CVS/Zinc Commercial, and other smaller PBMs. Due to Amgen’s practices, U.S. net sales for

 Praluent® fell by almost 10 percent from 2020 ($186 million) to 2021 ($170 million). 76 and by

 almost 25 percent from 2021 ($170 million) to 2022 ($130 million).78 By contrast, with its

 unlawful multi-product bundle at work, Amgen’s U.S. net sales for Repatha® have increased by

 over 21 percent in thatand 9 percent respectively in those same periods—from $459 million in

 2020 to $557 million in 2021. 77 to $608 million in 2022.79 The detrimental effect is clear,

 significant, and ongoing.

         115.    98. And while this impact is severe, these figures still do not reflect the full effect

 of Amgen’s anticompetitive conduct, due to significant “spillover” effects at both the Payor and

 prescriber levels that further entrench Repatha®’s market position. On the Payor side, Praluent®




 76
    Regeneron Reports Fourth Quarter and Full Year 2021 Financial and Operating Results,
 REGENERON           (Feb.    4,    2022),     https://investor.regeneron.com/news-releases/news-release-
 details/regeneron reports fourth quarter and full year 2021 financial.
 78
    Regeneron Reports Fourth Quarter and Full Year 2021 Financial and Operating Results,
 REGENERON           (Feb.    4,    2022),     https://investor.regeneron.com/news-releases/news-release-
 details/regeneron-reports-fourth-quarter-and-full-year-2021-financial.
 77
    Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN (Feb. 7, 2022),
 https://investors.amgen.com/static files/cc04ca13 faef 4672 a85a 3fd7c1df3c35            (“Repatha sales
 increased 8% year-over-year for the fourth quarter and 26% for the full year. Volume growth of 35% for
 the quarter and 40% for the full year was partially offset by lower net selling price”).
 79
    Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN (Feb. 7, 2022),
 https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c35            (“Repatha sales
 increased 8% year-over-year for the fourth quarter and 26% for the full year. Volume growth of 35% for
 the quarter and 40% for the full year was partially offset by lower net selling price”).


                                                   59
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 has beenis now substantially foreclosed from the formularies at key Payors accounting for at

 least 50 percent of total prescriptions inPCSK9i market with no coverage on the majority of the

 formularies of the three largest Third-Party Payors, and the Third-Party Payors who follow their

 formularies, who collectively cover 80 percent of all insured lives in the United States.

 Praluent®’s current share of the PCSK9i market as of January 2022is less than 20 percent. In

 addition to artificially suppressing Praluent®’s current level of access in the PCSK9i market, this

 exclusion diminishes Regeneron’s future ability to compete for formulary access because other

 Payors are less incentivized to include Praluent® on their formularies at this significant level of

 restricted access. Amgen’s exclusionary strategy is thus broadly eroding the competitiveness of

 Praluent®, the only PCSK9i alternative to Repatha® for years, and now the only one covered as a

 pharmacy benefit prescription drug, which, in turn, further reduces the pressure on Amgen to

 offer favorable terms to Payors. Furthermore, having secured exclusivity at a number of key

 Third-Party Payors, including twothree of the largest in the country, Amgen knows it is finishing

 off Praluent® by leveraging its much larger Repatha® sales force across its portfolio of drug

 products to make even comparable formulary coverage at the few remaining other Payors of a

 meaningful size a form of de facto exclusivity for Repatha®.

        116.    99. The exclusionary effect of Amgen’s conduct is also amplified by negative

 spillover effects at the prescriber level. Many doctors, who know that a significant number of

 their patients have health insurance coverage with formularies that exclude Praluent®, will

 instead prescribe Repatha®, even despite the unique benefits Praluent® offers. This is because

 physicians are often unable to take the extra time to inquire into which health plan covers which

 patient and whether Praluent® is available on each patient’s plan. If a physician is aware that

 Repatha® is not foreclosed from any specific formulary, then the physician often defaults to




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 Repatha® for all patients, despite the potential benefits associated with Praluent®. In addition, for

 patients who may have access to Praluent® through formularies only if they receive prior

 authorization from a physician, many physicians will not take the necessary extra steps to

 authorize patients for Praluent® if Repatha® is available without prior authorization

 requirements, even if the physician prefers Praluent®.

        117.    100. This additional spillover pressure from Payors and prescribers means that the

 effects of Amgen’s anticompetitive actions are already greater than they appear when measured

 only by the Third-Party Payors who have accepted Amgen’s bundled rebates to date. And the

 impact on Praluent® from Amgen’s conduct will only continue to compound: as Praluent®’s

 market share shrinks, Regeneron will be unable to offer Third-Party Payors even the levels of

 rebates it is currently offering to try to maintain the small access it currently has, which will

 likely have adverse net price impact for those Third-Party Payors and, as a result, further reduce

 competitive pressure on Amgen.

        118.    101. The end result of Amgen’s anticompetitive conduct is to artificially suppress

 and accelerate Praluent®’s already declining PCSK9i market share below a critical-mass level of

 20 percent. Already, Regeneron has been unable to compete viably in the PCSK9i market with

 Third-Party Payors being forced to take Amgen’s bundled rebate. Now, startingIn fact, in 2022,

 Regeneron willwas no longer even be able to make a profit selling Praluent®. And Praluent® is

 expected to be unprofitable again in 2023. Already, that is not a sustainable business model, and

 only promises to deteriorate further in the face of Amgen’s anti-competitive practices as

 Praluent®’s market access and market share both continue to fall.




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   AMGEN HAS MONOPOLY OR MARKET POWER IN THE RELEVANT MARKETS

        A.      The PCSK9i Market or The Pharmacy-Dispensed PCSK9i Sub-Market

        119.    102. PCSK9 inhibitors approved by the FDA to treat certain cardiovascular

 conditions by reducing low-density lipoprotein cholesterol (LDL-C) constitutes a relevant

 market—the “PCSK9i market.”

        120.    103. Other products are not reasonable substitutes for, and not functionally

 interchangeable with, PCSK9 inhibitors. As explained above, PCSK9 inhibitors have unique

 characteristics, including a novel mechanism of action for reducing LDL-C levels, and are used

 for a unique population. Furthermore, PCSK9 inhibitors do not compete against other, much

 cheaper cholesterol lowering products on price. In response to a small but significant and non-

 transitory increase in the price of PCSK9 inhibitors, U.S. physicians and patients would not

 meaningfully switch to any other product or treatment.

        121.    104. Within the PCSK9i market, there also is a sub-market for PCSK9i inhibitors

 that are dispensed through pharmacies—the “Pharmacy-dispensed PCSK9i sub-market.”

 Leqvio® is not dispensed through pharmacies, not covered by PBM formularies, and therefore

 does not compete with Praluent® and Repatha® for formulary positioning, rebates, or spillover

 sales. It therefore does not impact the price that PBMs pay for pharmacy-dispensed PCSK9

 inhibitors, Repatha® and Praluent®. The Supreme Court has held that “[t]he boundaries of such

 a submarket may be determined by examining such practical indicia as industry or public

 recognition of the submarket as a separate economic entity, the product’s peculiar characteristics

 and uses, unique production facilities, distinct customers, distinct prices, sensitivity to price

 changes, and specialized vendors.” Brown Shoe, Co. v. United States, 370 U.S. 294, 325 (1962).




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         122.    105. Until very recently, there were only two PCSK9 inhibitors approved in the

 United States, Repatha® and Praluent®.78 80 As previously explained, Praluent® and Repatha® are

 both dispensed through pharmacies, and market access for these drugs operates through

 Commercial and Medicare Part D Third-Party Payors.79 81 In December 2021, Novartis obtained

 FDA approval for another PCSK9 inhibitor called Leqvio®, which is now available through

 “specialty distributors” since January 2022.80      82
                                                          For the reasons discussed above, however,

 Leqvio® is not expected to meaningfully compete with Praluent® or Repatha® due to several

 particular characteristics.   Unlike Praluent® and Repatha®, which are self-administered by

 patients once every two weeks outside a medical office through subcutaneous injection, Leqvio®

 is administered by doctors twice a year through a subcutaneous injection. As a result, Leqvio® is

 not and will not be subject to the PBM contracting and rebating that drive patient access to

 Praluent® and Repatha®. While Praluent® and Repatha® are managed and reimbursed as a

 “prescription drug” benefits under Medicare Part D, Leqvio® will instead be managed and

 reimbursed as a “medical benefit” under Medicare Part B. Upon information and belief, Third-

 Party Payors administering commercial insurance will manage Leqvio® the same way as a

 “medical benefit.” Consistent with industry recognition and other practical indicia, Novartis

 itself considers Leqvio® to be very different from Praluent® and Repatha®.8183


 7880
     As explained above, see supra ¶¶ 42–44, and in this section, Novartis recently obtained FDA
 approval for another PCSK9 inhibitor called Leqvio®, but Leqvio® is not going to meaningfully compete
 with Praluent® or Repatha®.
 7981
     See supra ¶¶ 45–51. For PCSK9 inhibitors that are dispensed through pharmacies, there are no
 practically available alternative means of distribution or specialized selling channels through which to
 make sales.
 8082
          See      Q42021        Results       Investor        Presentation,   (Feb.     2,      2022),
 https://www.novartis.com/sites/novartis_com/files/q4-2021-investor-presentation.pdf at 30 (noting that
 Leqvio® is “available from specialty distributors since early January.”).
    Angus Liu, Novartis aims to avoid pitfalls of earlier PCSK9 launches with its new blockbuster
 8183

 hopeful Leqvio, FIERCE Pharma (Dec. 22, 2021), https://www.fiercepharma.com/marketing/novartis-


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             123.     106. Leqvio®’s distribution and pricing also substantially differ from those of

 Praluent® and Repatha®. Leqvio® has been launched using a “buy-and-bill” payment system

 where physicians and providers buy the drug and bill the costs to Medicare after administering it

 to patients.82       84
                           By contrast, Praluent® and Repatha® use a PBM-driven payment structure in

 which PBMs negotiate rebates and formulary positioning for the drug on behalf of Third-Party

 Payors and their plan beneficiaries. Additionally, the list price of Leqvio® at launch is reported

 to be $3,250 per injection, or $9,750 for the first year based on a schedule of three doses, and

 $6,500 annually for two doses per subsequent year. That is over 60 percent more than the

 current list prices for Praluent® and Repatha® for the first year of treatment, and nearly 10

 percent more for subsequent years.

             124.     107. Further, Leqvio®’s particular mechanism of action is distinct from the two

 pharmacy-dispensed PCSK9 inhibitors. While Praluent® and Repatha® are antibody therapies

 that bind to the PCSK9 protein to prohibit it from binding to LDL-C receptors, Leqvio® is a

 small interfering RNA (“siRNA”) therapy that interferes with the synthesis of the PCSK9 protein
              85
 itself.83          As a result, the manufacturing and production equipment and processes for Praluent®



 hopeful Leqvio, FIERCE Pharma (Dec. 22, 2021), https://www.fiercepharma.com/marketing/novartis-
 belated-leqvio-fda-approval-avoid-pitfalls-amgen-regeneron-pcsk9-cholesterol (Novartis’s Head of U.S.
 Pharmaceuticals: “While Praluent and Repatha are injections that patients can give themselves at home,
 Leqvio is administered by a healthcare professional. That means Leqvio’s reimbursement will be routed
 through the medical benefit pathway, where drug utilization isn’t as restrictive as the pharmacy benefit
 side.”).
 8284
     Jonathan Gardner, Novartis wins FDA approval for new heart drug, but faces uphill sales battle,
 BIOPHARMADIVE (Dec. 22, 2021), https://www.biopharmadive.com/news/novartis-leqvio-inclisiran-
 fda-approval-cholesterol-heart/611170/.
 8385
     See id.; see also Novartis delivers mid single digit sales growth, margin expansion and advancement
 of robust pipeline, NOVARTIS (Feb. 2, 2022), https://www.novartis.com/sites/novartis_com/files/q4-
 2021-media-release-en.pdf at 5 (noting that Leqvio was “[a]pproved in the US as the first and only
 (siRNA) therapy for LDL-C reduction.”). Additionally, unlike Praluent, which demonstrated a
 meaningful mortality benefit and is indicated to lower dangerous cardiovascular events in patients with
 established cardiovascular diseases, “the effect of LEQIVO® on cardiovascular morbidity and mortality


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 and Repatha® differ from Leqvio®. And unlike the FDA-approval process for Praluent® and

 Repatha®, Leqvio®’s clinical trials “were conducted exclusively with healthcare provider

 administration.”84 86

        125.    108. Leqvio® is therefore not a reasonable substitute for pharmacy-dispensed

 PCSK9 inhibitors like Praluent® and Repatha®. Assuming there are no issues with the launch of

 Leqvio®, the substantially different method of payment, location and frequency of

 administration, customers and vendors, pricing, and drug mechanism for the product does not

 allow Leqvio® to place meaningful competitive constraints on Praluent® or Repatha®.

 Importantly, Leqvio® does not compete against Praluent® or Repatha® on price. In response to a

 small but significant and non-transitory increase in the price of pharmacy-dispensed PCSK9

 inhibitors, PBMs and Payors cannot switch to Leqvio® because it is managed as a Part B medical

 benefit with no involvement in the PBM contracting and rebating that drive patient access to

 Praluent® and Repatha®. Upon information and belief, U.S. physicians and patients would not

 meaningfully switch to Leqvio® due to the materially distinct characteristics described above.

        126.    109. The United States is the relevant geographic market for PCSK9 inhibitors.

 In order to be sold in the United States, PCSK9 inhibitors must be approved by the U.S. FDA, a

 process that is difficult, expensive, and time consuming. As a result, U.S. Third-Party Payors

 and physicians cannot turn to products that are not approved for sale in the United States as an




 has not been determined.” See Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1,
 (last visited May 25, 2022), https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf.
 8486
     Jonathan Gardner, Novartis wins FDA approval for new heart drug, but faces uphill sales battle,
 BIOPHARMADIVE (Dec. 22, 2021), https://www.biopharmadive.com/news/novartis-leqvio-inclisiran-
 fda-approval-cholesterol-heart/611170/.


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 alternative, and would not be able to even if the price of PCSK9 inhibitors were to increase by a

 small, but significant and non-transitory amount.

        127.     110. From at least September 2017 until now, Amgen possessed monopoly power

 in the PCSK9i market with Repatha®. Specifically, Repatha® has had a durable and increasing

 share crossing 60 percent of the PCSK9i market in September 2017 and is now nearlymore than

 80 percent and will only increase as Amgen continues to undermine the only historical

 competitor to Repatha®, and the only one marketed as a pharmaceutical benefit drug namely,

 Praluent®. Significant and substantial commercial, developmental, regulatory, and other barriers

 insulate the PCSK9i market from new entry and expansion.

        128.     111. Repatha®’s monopoly power is further evidenced by its high and increasingly

 durable share of the PCSK9i market. Thus, Amgen’s continued use of bundled rebates to attain

 even simple access to formulary lists at a parity position would further foreclose Regeneron’s

 Praluent® from the market.

        129.     112. The unlawful actions described in this Complaint were committed by Amgen

 for the purpose of maintaining and increasing Repatha®’s monopoly power in the PCSK9i

 market. Repatha®’s market dominance will continue to grow if Amgen is allowed to offer its

 bundled rebates to Third-Party Payors and substantially foreclose the rest of the PCSK9i market

 to Praluent®.

        B.       Moderate-to-Severe Psoriasis Market (Otezla®)

        130.     113. Amgen also has monopoly power in the moderate-to-severe psoriasis

 market—power Amgen is leveraging to further cement its monopoly position in the unrelated

 market for PCSK9 inhibitors.




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        131.    114. Oral drug products approved by the FDA to treat moderate-to-severe

 psoriasis in the United States constitute a relevant market—the “moderate-to-severe psoriasis

 market.”

        132.    115. The United States is the relevant geographic market for oral drug products

 used to treat moderate-to-severe psoriasis. In order to be sold in the United States, oral drug

 products used to treat moderate-to-severe psoriasis must be approved by the U.S. FDA, a process

 that is difficult, expensive, and time consuming. As a result, U.S. physicians and patients cannot

 turn to products that are not approved for sale in the United States as an alternative, and would

 not be able to even if the price of oral drug products used to treat moderate-to-severe psoriasis

 were to increase by a small, but significant and non-transitory amount.

        133.    116. According to the FTC, “Otezla® is the most significant oral product []

 approved to treat moderate-to-severe psoriasis in the United States.”85 87 It is currently the only

 orally consumed treatment widely prescribed88 by doctors to treat moderate-to-severe psoriasis.

 All other moderate-to-severe psoriasis treatments widely marketed are administered by injection

 or are applied topically. Although other, older oral medications exist, the FTC concluded that




 8587
     Complaint at 2, In the Matter of Bristol-Meyers Squibb Company and Celgene Corp., No. C-4690
 (FTC,                             Nov.                         15,                            2019),
 https://www.ftc.gov/system/files/documents/‌cases/191_0061_c4690_‌bms_‌celgene_‌complaint_0.pdf.
 88
   Bristol Myers Squibb’s (“BMS”) Sotyktu™ was approved for the treatment of adults with moderate-to-
 severe plaque psoriasis on September 9, 2022. See U.S. Food and Drug Administration Approves
 SotyktuTM (deucravacitinib), Oral Treatment for Adults with Moderate-to-Severe Plaque Psoriasis,
 Bristol Myers Squibb (Sept. 9, 2022), https://news.bms.com/news/details/2022/U.S.-Food-and-Drug-
 Administration-Approves-Sotyktu-deucravacitinib-Oral-Treatment-for-Adults-with-Moderate-to-Severe-
 Plaque-Psoriasis/default.aspx. However, BMS reported only $25 million in global net sales in Q2 2023.
 See        Q2        2023       Results,      Bristol      Myers        Squibb         (July       27,
 2023), https://s21.q4cdn.com/104148044/files/doc presentations/2023/BMY-2023-Q2-Results-Investor-
 Presentation-pdf.pdf at 17.


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 “doctors now prescribe agents that have better efficacy, better safety, or a more favorable side

 effect profile for patients with moderate-to-severe psoriasis who desire an oral treatment.”86 89

        134.    117. Otezla® has possessed durable monopoly power in the moderate-to-severe

 psoriasis market at all relevant times since its initial FDA approval in 2014. As Amgen

 explained in its press release describing its Q2 2021 financial results: “In the U.S., Otezla®

 continued to maintain first-line share leadership in psoriasis.”87 90 Otezla®’s monopoly power

 facilitates Amgen’s ability to raise prices for Otezla® without any loss in sales. In fact, despite

 Amgen’s list price increases of 7.4 percent for Otezla®88 91 in 2020—which would account for

 increased revenue of over $130 million on Otezla®’s $1.79 billion 2020 U.S. net sales, an

 increase equivalent to about half of Praluent®’s total 2020 net sales—the number of prescriptions

 filled has not decreased but rather increased by 13 percent in 2020 alone.89         92
                                                                                           In particular,

 according to GoodRx, Amgen has increased the list price for Otezla® “just shy of 94 percent

 from 2020 to 2022”—the largest increase for any drug treatment during that time.90                   93



 Notwithstanding this massive price increase, the number of Otezla® prescriptions filled increased




 86
   Id89 Complaint at 2, In the Matter of Bristol-Meyers Squibb Company and Celgene Corp., No. C-4690
 (FTC,                             Nov.                           15,                          2019),
 https://www.ftc.gov/system/files/documents/‌cases/191 0061 c4690 ‌bms ‌celgene ‌complaint 0.pdf.
 8790
      See Amgen Reports Second Quarter 2021 Financial Results, AMGEN, at 3 (Aug. 3, 2021),
 https://investors.amgen.com/news-releases/news-release-details/amgen-reports-second-quarter-2021-
 financial-results.
 8891
      THIS IS THE WAY … TO ANALYZE CHANGES TO BRAND DRUG LIST PRICES, 46brooklyn,
 https://www.46brooklyn.com/branddrug-boxscore (choose “Amgen Inc” from Select Drugmaker (this
 filter applies to all Stat Boxes) dropdown; then scroll to “Stat Box #8: WAC Changes on Top Medicaid
 Brand Name Drugs”).
 8992
      See Amgen Q4 2020 Earnings Call, at 22 (Feb. 2, 2021), https://investors.amgen.com/static-
 files/35869c22-d9f4-4be2-bae1-a8ea6462e94d.
 9093
     See Paul Schloesser, A new report tracks hundreds of new drug price hikes, along with a look at the
 top 10, ENDPOINTSNEWS, (Feb. 18, 2022).


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 by another 2 percent in 2021, demonstrating Amgen’s monopoly power.91                  94
                                                                                             Otezla® has

 dominated the moderate-to-severe psoriasis market because many patients believe that Otezla® is

 the most convenient way to treat their psoriasis. Since acquiring Otezla®, Amgen has capitalized

 on the high demand for safe, oral anti-psoriasis drugs, generating around $2.2 billion in global

 sales in both 202092 95 and 20219396. This multi-billion-dollar-a-year drug consistently maintains

 high net product sales each year: $1.279 billion in 2017,94 97 $1.608 billion in 2018,95 98 and

 $1.607 billion in 20199699.

              135.   118. Otezla®’s monopoly power is also durable, as evidenced by the absence of

 any new entrants into its market. There have been no recent entrants into orally administered

 treatments for moderate-to-severe psoriasis. Otezla®’s durability is one of the reasons why




 9194
     Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN, at 3 (Feb. 7, 2022),
 https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c3.
    Amgen Reports Fourth Quarter and Full Year 2020 Financial Results, AMGEN, at 2 (Feb. 2, 2021),
 9295

 https://investors.amgen.com/node/30746/pdf. This figure is particularly notable given the disruption
 caused from COVID-19, decreasing patient interactions with their doctors and decreasing the number of
 new-to-brand patients. See id. at 1–2.
    Amgen Reports Fourth Quarter and Full Year 2021 Financial Results, AMGEN, at 7–9 (Feb. 7,
 9396

 2022), https://investors.amgen.com/static-files/cc04ca13-faef-4672-a85a-3fd7c1df3c3.
 9497
     Celgene Reports Fourth Quarter and Full Year 2018 Operating and Financial Results, Celgene, at 13
 (Jan. 31, 2019), https://ir.celgene.com/press-releases-archive/press-release-details/2019/Celgene-Reports-
 Fourth-Quarter-and-Full-Year-2018-Operating-and-Financial-Results/default.aspx.
 9598
        Id.
 9699
     Because Amgen’s acquisition of Otezla® was finalized on November 21, 2019, this figure combines
 the data from Celgene’s First through Third Quarters financial reporting and Amgen’s Fourth Quarter
 financial reporting. See Celgene Reports First Quarter 2019 Operating and Financial Results, Celgene
 (Apr. 25, 2019), https://s24.q4cdn.com/483522778/files/doc_financials/2019/q1/Q1-2019-Earnings-
 Press-Release_FINAL_FINAL_04_25_19.pdf; Celgene Reports Second Quarter 2019 Operating and
 Financial              Results,           Celgene             (July           30,             2019),
 https://s24.q4cdn.com/483522778/files/doc_financials/2019/q2/Q2-2019-Earnings-Press-
 Release_FINAL_with-tables.pdf; Celgene Reports Third Quarter 2019 Operating and Financial Results,
 Celgene (Oct. 31, 2019), https://s24.q4cdn.com/‌483522778/files/doc_downloads/Q3-2019-Earnings-
 Press-Release_FINAL_APPROVED_with-rec-tables.pdf; Amgen Reports Fourth Quarter And Full Year
 2020 Financial Results, AMGEN (Feb. 2, 2021), https://investors.amgen.com/node/30746/pdf.


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 Amgen was able to justify paying a record amount (more than $13 billion) for the drug in

 connection with the FTC-ordered divestiture sale.         As explained above, the FTC ordered

 Otezla®’s divestiture because of the absence of competitive alternatives to Otezla® and Amgen

 acquired Otezla® through the largest divestiture sale ever ordered by the FTC to settle the

 agency’s complaint that the BMS-Celgene merger would harm consumers in the moderate-to-

 severe psoriasis market by eliminating future competition.           While the FTC cited BMS’s

 development product, BMS 986165, as a potential future competitor to Otezla®, BMS 986165

 has not been approved by the FDA, having encountered difficulties in the approval process, and

 is not approved for use in any other country. Even if BMS 986165 is approved by the FDA and

 is available, it would be the only other oral treatment for moderate-to-severe psoriasis and is

 unlikely to significantly erode Otezla®’s dominance, particularly if Amgen continues to offer

 Otezla® in multi-product cross-class bundles, as Amgen is wont to do, as reflected by its conduct

 here and its prior settlement of another antitrust dispute involving bundling.97 100

         C.     Rheumatoid Arthritis Market (Enbrel®)

         136.   119. Finally, Amgen has market power in the rheumatoid arthritis market. And as

 with its monopoly power in the moderate-to-severe psoriasis market, Amgen is likewise using its

 market power in the rheumatoid arthritis market to further cement its monopoly position in the

 unrelated market for PCSK9 inhibitors.

         137.   120. Drug products that are approved by the FDA treat moderate-to-severe

 rheumatoid arthritis constitute a relevant market—the “rheumatoid arthritis market.”




     See Deena Beasley, Mark Porter & Gary Hill, Amgen to pay J&J $200 million to settle antitrust suit,
 97100

 REUTERS,        (July      11,      2008),       https://www.reuters.com/article/us-amgen-jj-lawsuit-
 idUSN1136149420080711.


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         138.   121. The United States is the relevant geographic market for drug products used

 to treat moderate-to-severe rheumatoid arthritis. In order to be sold in the United States, drug

 products used to treat moderate-to-severe rheumatoid arthritis must be approved by the U.S.

 FDA, a process that is difficult, expensive, and time consuming. As a result, U.S. physicians and

 patients cannot turn to products that are not approved for sale in the United States as an

 alternative, and would not be able to even if the price of drug products used to treat moderate-to-

 severe rheumatoid arthritis were to increase by a small, but significant and non-transitory

 amount.

         139.   122. Enbrel® possesses market power in the rheumatoid arthritis market. Enbrel®

 was deemed “one of the world’s most profitable drugs” by the U.S. House of Representatives

 Committee on Oversight and Reform in an October 2020 staff report describing Amgen’s

 uninhibited price increases for Enbrel® and Sensipar® (the “Staff Report”). According to the

 Staff Report, Enbrel® was priced at $5,556 per month as of October 2020—a 457 percent

 increase from the date Amgen acquired the drug in 2002.98           101
                                                                           While Enbrel® began losing

 market share to Humira® starting in 2017, it is still Amgen’s largest product by U.S. net sales,

 generating $4.85 billion in 2020 and $4.35 billion in 2021.99 102

         140.   As the FTC recognized in its complaint, Enbrel wields enormous market power,

 evidenced by its influence—as a must-have drug—over the formulary-decision making of Third-

 Party Payors. See FTC Complaint ¶ 4 (“Due to the enormous sales and consistent volume of




 98101
       Drug Pricing Investigation: Amgen—Enbrel and Sensipar,” Staff Report, Committee on Oversight
 and Reform, U.S. House of Representatives, at 5 (October 2020), https://oversight.house.gov/
 ‌sites/democrats.oversight.house.gov/files/Amgen%20Staff%20Report%2010-1-20.pdf.
 99102
        Id.; Amgen’s Letter to Shareholders, at F-17 (2021), https://investors.amgen.com/static-
 files/35869c22-d9f4-4be2-bae1-a8ea6462e94d.


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 Amgen’s blockbuster drugs—such as Enbrel, which last year generated over $4 billion in global

 sales—even small enhancements to rebates can ensure payers accept such contracts.”).

           123. Enbrel®’s market power is also evidenced by Amgen’s ability to increase prices

 without losing sales. According to the Staff Report, “Amgen’s price increases for Enbrel® have

 contributed to billions of dollars in net revenue for the company,”100 103 and the same is true for

 Amgen’s price increases for Otezla®.101         104
                                                       As illustrated by Figures 1 and 3 from the Staff

 Report, Enbrel’s annual net sales steadily grew from $1.25 billion in 2003 to a peak of $5.72

 billion in 2016 despite repeated and significant price increases during that time102105:




 1030103
        Drug Pricing Investigation: Amgen—Enbrel and Sensipar,” Staff Report, Committee on Oversight
 and      Reform,      U.S.       House     of     Representatives,      at  12    (October   2020),
 https://oversight.house.gov/‌sites/democrats.oversight.house.gov/files/Amgen%20Staff%20Report%2010-
 1-20.pdf.
 1041104
         Amgen’s list price for Otezla® has increased 7.4 percent since acquiring the drug, see THIS IS
 THE WAY … TO ANALYZE CHANGES TO BRAND DRUG LIST PRICES, 46brooklyn,
 https://www.46brooklyn.com/branddrug-boxscore (choose “Amgen Inc” from Select Drugmaker (this
 filter applies to all Stat Boxes) dropdown, then scroll to “Stat Box #8: WAC Changes on Top Medicaid
 Brand Name Drugs”), which would account for increased revenue of over $130 million on Otezla®’s
 $1.79 billion 2020 U.S. net sales, all while the number of prescriptions filled has increased by 13 percent
 in 2020 alone. See Amgen’s Q4 2020 Earnings Call Presentation, at 22 (Feb. 2, 2021),
 https://investors.amgen.com/static-files/35869c22-d9f4-4be2-bae1-a8ea6462e94d.
 1052105
         Drug Pricing Investigation: Amgen—Enbrel and Sensipar, Staff Report, Committee on Oversight and
 Reform,        U.S.       House        of       Representatives,       at    2,     4     (October     2020),
 https://oversight.house.gov/‌sites/democrats.oversight house.gov/files/Amgen%20Staff%20Report%2010-1-20.pdf.



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 copies until the patents have run (for example, Otezla®’s patents run through 2024). And, as

 described above, even when patents do not protect a product, a company like Amgen can use the

 patent system to try to keep a rival product off the market, delay its entry, and hobble its launch.

            144.   126. Second, a company must invest substantial time and money into research and

 development of a new drug. It takes years to identify a new drug and assess whether it has the

 potential to safely treat a condition. For example, one study analyzed 63 new drugs and

 biologics approved by the FDA between 2009 and 2018, accounted for the cost of failed trials,

 and found that the estimated median research and development investment to bring a drug to

 market was $985.3 million and that the estimated mean research and development investment

 was $1335.9 million.103        106
                                      In addition, research and development costs for drugs that

 successfully yield FDA approval have continued to increase over the last twenty to twenty-five

 years.104107

            145.   127. Third, even if a new drug shows promise in pre-clinical studies, it is then

 subject to years of clinical trials, during which it is tested on large cohorts of patients to

 determine its safety and efficacy. Clinical trials typically occur in three phases. During Phase 1,

 researchers determine the drug’s basic properties and safety profile in humans using healthy

 individuals; during Phase 2, efficacy trials begin on a group of volunteers who are part of the

 drug’s target population; during the most expensive and time-consuming stage, Phase 3, human

 testing continues after meeting with the FDA and discussing any concerns.105 108 For a chronic
 1063106
         Olivier J. Wouters, Martin McKee & Jeroen Luyten, Estimated Research and Development
 Investment Needed to Bring a New Medicine to Market, 2009-2018, JAMA, at 5 (Mar. 3, 2020),
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7054832/?report=reader.
 1074107
           Joseph A. DiMasi, Henry G. Grabowski & Ronald W. Hansen, Innovation in the pharmaceutical
 industry: New estimates of R&D costs, 47 J. Health Econ. 20, 31 (2016)
 https://dukespace.lib.duke.edu/dspace/bitstream/handle/10161/12742/DiMasi-Grabowski-Hansen-RnD-
 JHE-2016.pdf.
      Aylin Sertkaya, Anna Birkenbach, Ayesha Berlind & John Eyraud, Examination of Clinical Trial
 1085108

 Costs and Barriers for Drug Development, at 1–2 (July 25, 2014), https://aspe.hhs.gov/


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 condition like cardiovascular disease, clinical trials “tend to involve complex and expensive

 testing, large numbers of patients, and long timeframes,” which all lead to higher costs

 associated with the clinical trials.106    109
                                                  Unsurprisingly, a large majority of drugs fail during

 clinical trials. A recent study measuring the clinical development success rates from 2011 to

 2020 concluded that likelihood that a drug that treats cardiovascular disease will progress from

 Phase 1 clinical trials to approval is 4.8 percent.107 110 Indeed, in 2016, Pfizer discontinued its

 Phase 3 clinical trials for its investigational PCSK9 inhibitor, bococizumab.108 111 Although the

 cost of clinical trials range based on the number of patients enrolled and the type of drug, one

 study found that each clinical trial cost between $12.2 million and $33.1 million.109 112

             146.    128. Finally, even if these trials are successful, the drug company must compile

 the data and submit a new drug application to the FDA, which can take a year or more to

 process, and often takes considerably longer if the FDA finds deficiencies in the data or

 application. New Drug Applications are detailed and “must contain data from specific technical

 viewpoints for review, including chemistry, pharmacology, medical, biopharmaceutics, and




  Costs and Barriers for Drug Development, at 1–2 (July 25, 2014), https://aspe.hhs.gov/
 ‌sites/default/files/private/pdf/77166/rpt_erg.pdf.
 1096109
           Id. at 2–4.
      Clinical Development Success Rates and Contributing Factors 2011-2020, PharmaIntelligence
 107110

 Informa, at 10–11 (Feb. 2021), https://pharmaintelligence.informa.com/~/media/informa-shop-
 window/pharma/2021/files/reports/2021-clinical-development-success-rates-2011-2020-v17.pdf.
 108111
       Pfizer Discontinues Global Development of Bococizumab, Its Investigational PCKS9 Inhibitor,
 Pfizer        (Nov.        1,      2016),      https://www.pfizer.com/news/press-release/press-release-
 detail/pfizer_‌discontinues_global_development_of_bococizumab_its_investigational_pcsk9_inhibitor.
 109112
       Thomas J. Moore, Hanzhe Zhang, Gerard Anderson & C. Caleb Alexander, Estimated Costs of
 Pivotal Trials for Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-
 2016,      178      JAMA       Internal     Med.      1451,     1457     (Sept.   24,      2018),
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6248200/#!po=68.7500.


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 statistics.”110   113
                         The FDA’s stated goal is to process a New Drug Application within ten

 months. However, as demonstrated by the delay in FDA-approval of Novartis’ new drug

 Leqvio®, the process may take much longer.111 114 All told, the average development time for a

 new drug from conception to approval on average takes 12 years, and in the vast majority of

 attempts result in failure.

           147.    129. The PCSK9i Market and Pharmacy-Dispensed PCSK9i Sub-Market: In

 addition to the barriers above, unique barriers to entry exist in the PCSK9i market and

 Pharmacy-dispensed PCSK9i sub-market. PCSK9 inhibitors are a novel treatment and were first

 marketed in 2015. Although PCSK9 inhibitors are a critical new drug for a high-risk population,

 that population is relatively small. While about 25 percent of Americans over 40 years old take a

 statin to lower their cholesterol,112 115 the high-risk population who would be candidates to take a

 PCSK9 inhibitor includes about just one in every 250 Americans.113 116 These disincentives to

 enter the market, especially the Pharmacy-dispensed PCSK9i sub-market, are compounded by

 the tight control that Third-Party Payors—including, in particular, the three main PBMs that

 contract on behalf of nearly 80 percent of covered prescriptions in the Pharmacy-dispensed

 PCSK9i sub-market—exert by requiring that beneficiaries first fail other treatments and then

 using formulary positioning to limit coverage to exclusive or preferred drugs within the class.



       New
 1130113
                 Drug        Application        (NDA),       Drugs@FDA          Glossary,      FDA,
 https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=glossary.page.
       See Novartis receives complete response letter from U.S. FDA for inclisiran, NOVARTIS (Dec.
 1141114

 18, 2020), https://www.novartis.com/news/media-releases/novartis-receives-complete-response-letter-
 from-us-fda-inclisiran.
 1152115
        Qiuping Gu, Ryne Paulose-Ram, Vicki L. Burt & Brian K. Kitel, Prescription Cholesterol-
 lowering Medication Use in Adults Aged 40 and Over: United States, 2003–2012, NCHS Data Brief No.
 177, (Dec. 2014), https://www.cdc.gov/nchs/data/databriefs/db177.pdf.
 1163116
              Familial       Hypercholesterolemia,         CDC         (Feb.        10,        2022),
 https://www.cdc.gov/‌genomics/disease/fh/FH.htm.


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 Thus, it is difficult for potential entrants to justify high research and development, regulatory,

 and intellectual property costs given the high risk and limited sales opportunities in the PCSK9i

 market and Pharmacy-dispensed PCSK9i sub-market.

           148.   130. Moderate-to-Severe Psoriasis Market: Unique barriers to entry also exist

 in the moderate-to-severe psoriasis market, the market in which Amgen’s Otezla® is sold. As

 explained previously, Otezla® has dominated the oral medication moderate-to-severe psoriasis

 market. The FDA first approved Otezla® to treat psoriasis in 2014; seven years later, even the

 most likely apparent competitor has not yet entered the market. In addition, only recently have

 scientists learned more about the role the immune system plays on targeting and treating

 psoriasis. All of these factors make it difficult for potential new competitors to enter this market.

           149.   131. The Rheumatoid Arthritis Market: Unique barriers to entry similarly exist

 in the rheumatoid arthritis market, the market in which Amgen’s Enbrel® is sold.                The

 rheumatoid arthritis market has a high concentration of biosimilar drugs. A biosimilar is a drug

 that is a “highly similar” drug without “clinically meaningful differences” in a drug’s safety and

 effectiveness.114 117 Although having a high number of biosimilar drugs may suggest that fewer

 barriers to entry exist, biosimilar drugs face increased regulatory and patent challenges, delaying

 the path to the market and increasing overall costs.

           150.   132. In particular, marketing biosimilar drugs is associated with a flurry of patent

 litigation. For example, adalimumab (more commonly known as Humira®), a competitor of

 Enbrel®, has over a hundred patents, most of which were filed after adalimumab’s launch. As

 one doctor explained in a recent FDA and FTC workshop: “So you just think about that and




       See Biosimilar and Interchangeable Products, (last visited
 1174117
                                                                                  May    25,    2022),
 https://www.fda.gov/drugs/biosimilars/biosimilar-and-interchangeable-products.


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 think about the barrier to having a biosimilar for that particular medication, or any others into the

 marketplace, it’s certainly a lot more complicated to wade through that patent thicket.”115 118

 According to the Staff Report, Amgen has wielded the patent thicket to its advantage in this

 market: the Staff Report concluded that “Amgen exploited the U.S. patent system to limit

 biosimilar competition for Enbrel®.”116 119 Amgen’s primary patent covering Enbrel® was filed

 in 1990 and expired in 2010.117         120
                                               But Amgen has filed a total of 57 patent applications for

 Enbrel®, and, as of 2018, 19 of those were active patent applications or granted patents.118 121

 Amgen stands to retain exclusivity until 2029.119 122 This means that Amgen has and will enjoy

 decades of exclusivity since Enbrel® was first approved in 1998.120 123

                151.   133. Biosimilar drugs also face immense skepticism from patients and

 prescribers. Prescribers are hesitant to switch patients from an existing treatment to a new drug,

 even if it is FDA-approved as a biosimilar.

                         ANTITRUST INJURY IN THE PCSK9I MARKET AND
                          PHARMACY-DISPENSED PCSK9I SUB-MARKET

                152.   134. Amgen’s conduct has already harmed and, if left unaddressed, will continue

 to harm competition in the U.S. PCSK9i market and Pharmacy-dispensed PCSK9i sub-market.



 1185118
        FDA/FTC Workshop on a Competitive Marketplace for Biosimilar, at 50:11–17 (Mar. 9, 2020),
 https://www.ftc.gov/system/files/documents/public_events/1568297/fda-
 ftc_biosimilars_‌workshop_‌transcript_‌3-9-20.pdf.
 1196119
        Drug Pricing Investigation: Amgen—Enbrel and Sensipar, Staff Report, Committee on Oversight
 and      Reform,      U.S.      House     of     Representatives,      at  22    (October    2020),
 https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Amgen%20Staff%20Report
 %2010-1-20.pdf.
      Overpatented, Overpriced Special Edition Enbrel, I-MAK, at 3 (2018), https://www.i-mak.org/wp-
 117120

 content/uploads/2018/12/i-mak.enbrel.report-2018-11-30F.pdf.
 118121
          Id.
 119122
          Id.
 1230123
           Id.


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 As a result, Regeneron has suffered and will continue to suffer injury to its business or property,

 including lost sales, business opportunities, and ability to recoup the significant investments

 spent on the development and U.S. commercialization of Praluent®, including (as described

 above) the tens of millions of dollars ordinarily required to fund clinical trials.

           153.   135. Competition in the PCSK9i market has been harmed by Amgen’s below-cost

 pricing and bundled conditional rebate scheme. Amgen has reduced patient choice in the

 PCSK9i market by leveraging its largest (Enbrel®) and third-largest (Otezla®) products by U.S.

 sales—two substantially larger products than Repatha® from unrelated classes where Regeneron

 has no drugs that compete for the same indications—to exclude or restrict access for Praluent®

 through the formularies of key Third-Party Payors. As explained above, Amgen’s bundle results

 in a price for Repatha® that is below any appropriate measure of Amgen’s costs.

           154.   136. The threat of increased prices for Otezla® and Enbrel® leaves these Payors

 with no commercially reasonable choice but to accept Amgen’s demands for Repatha® in the

 much smaller PCSK9i market, lest they be forced to pay higher prices on Enbrel® and Otezla®,

 and thereby incur much greater aggregate net costs across these three products. This is a classic

 example of a “rebate wall” under the definition authored by the FTC to refer to a situation “in

 which a dominant pharmaceutical manufacturer uses rebate strategies in its contracts with

 third-party payors to maintain market power, by giving its products preferred status in drug

 formularies, and to prevent sales of competing products.”121 124 According to the FTC, Third-

 Party Payors will not turn to rival drugs in this situation, because they cannot afford to pay the




 1241124
          See Federal Trade Commission, Report on Rebate Walls, at 1 (May 28, 2021),
 https://www.ftc.gov/system/files/documents/reports/federal-trade-commission-report-rebate-
 walls/‌federal_trade_commission_report_on_rebate_walls_.pdf.


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 full list price when the drug manufacturer stops paying the rebate.122        125
                                                                                     So even when

 Regeneron has offered a lower price with competitive single-product rebate offers—as it has

 done—those savings do not offset the much higher prices for Otezla® and Enbrel® given their

 sales volumes that Amgen is leveraging to block competitive single-product offers.

             155.    137. As a result of Amgen’s conduct, as of January 2022, Praluent® has beenis

 now substantially foreclosed from at least 50 percent of the PCSK9i sales that aremarket with no

 coveredage byon the majority of the formularies of the three largest Third-Party Payors, and the

 Third-Party Payors who follow their formularies, who collectively cover 80 percent of all insured

 lives in the United States who have been coerced to cover Repatha® exclusively on their

 formularies. Praluent® currently holds less than 20 percent of the PCSK9i market. As explained

 above, because of negative spillover effects, increased consolidation among PBMs whereby the

 big three PBMs wield outsized influence over the formularies of other PBMs, and alignment of

 Commercial and Part D formularies, the degree of foreclosure resulting from Amgen’s conduct is

 even greater than the portion of the market from which Praluent® has been expressly foreclosed.

 This is fatal to Praluent®—which now stands to loset money in 2022—forcing Regeneron to

 consider investing its resources elsewhere with an exit from the market altogether. There is a

 large addressable segment of the U.S. population at risk for high cholesterol and for which

 PCSK9 inhibitors are the best treatment, and Amgen’s conduct will prevent the expansion of this

 drug class to meet the needs of those patients.

             156.    138. Amgen’s below-cost pricing and conditional bundled rebate scheme is

 already pushing Praluent® below a critical mass of market share necessary to compete for access




 1252125
           Id. at 2–3.


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 and remain viable, thereby entrenching Repatha® as the dominant product the PCSK9i market,

 and the only product in the Pharmacy-dispensed PCSK9i sub-market.                      Unless stopped,

 Regeneron’s exit would leave Amgen as the dominant player in the PCSK9i market, and the only

 player in the Pharmacy-dispensed PCSK9i sub-market, with ample opportunity to make up for

 any losses it incurred and continues to incur through its below-cost pricing and bundled rebate

 schemes. Without Praluent® as a viable competitor, patients will be worse off with reduced

 choice in PCSK9i inhibitors and increased prices for Repatha®.

           157.   139. Since Praluent® launched in 2015, Regeneron has been a disruptive force to

 drive net prices lower with creative access arrangements. As explained above, in arguing for an

 injunction that would have taken Praluent® off the market outright, Amgen acknowledged that

 Praluent®’s presence in the PCSK9i market “erod[ed] Amgen’s net price for Repatha” by

 enabling Third-Party Payors to “extract larger and larger rebates and other concessions as a

 condition to being included (even in a parity position) on national formularies.” PI Motion at 6.

 Amgen’s below-cost pricing and bundled rebate scheme is thus designed to rid Repatha® of the

 procompetitive, price-lowering competition Praluent® brings to the marketplace. Based on

 Amgen’s public financial disclosures, Repatha®’s net price has not been lowered due to the

 bundled rebates offered to Third-Party Payors.123 126

           158.   140. Moreover, there are serious medical risks and costs of forcing tens or even

 hundreds of thousands of Praluent® patients to switch to Repatha®.124           127
                                                                                       Practitioners have



 1263126
        See Amgen Reports Second Quarter 2021 Financial Results,” AMGEN, at 2–3, 5 (Aug. 3, 2021)
 https://investors.amgen.com/static-files/b9db54f1-427b-4266-817a-5451ed692c09 (highlighting lower
 net selling price for Repatha® only “as a result of an increase in the number of U.S. Medicare Part D
 patients receiving Repatha and entering the coverage gap”).
 1274127
       The medical risks and costs associated with switching patients to Leqvio® are not yet known, but
 Praluent® provides benefits to patients that have not been demonstrated with respect to Leqvio®,
 including all-cause mortality and reduction of risk of heart attack and stroke. Regeneron Pharmaceuticals,


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 expressed concerns that switching patients to Repatha® would require lengthy and extensive

 review by insurance companies, which would disrupt any treatment for patients awaiting

 approval.125     128
                        Switching patients to Repatha® would also deny them and their doctors the

 option of using Praluent®’s 75mg low dose, which currently accounts for the majority of ESI’s

 PCSK9 inhibitor utilization. Additionally, practitioners have explained that for certain patients,

 Repatha® simply does not work.126           129
                                                   And certain high-risk patients may suffer the most

 because Praluent® is the only PCSK9 inhibitor associated with an observed reduction in all-cause

 mortality and reduced the risk of death for those patients by 29 percent.127            130



           159.    141. Moreover, Amgen’s bundling of Otezla® and Enbrel® to block access for

 Praluent® sets a dangerous precedent for competition in the pharmaceutical industry. Allowing

 this conduct will encourage large pharmaceutical companies like Amgen to exclude smaller,

 innovative entrants by bundling larger products from unrelated classes where a new entrant

 offers no competitive product and cannot offer an alternative competitive bundle. This type of

 exclusionary bundling has already reduced, and will continue to reduce, consumer choice in the

 PCSK9i market and the Pharmacy-dispensed PCSK9i sub-market to the detriment of patients.




 Praluent®           (alirocumab)           package            insert          (April           2021),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2021
  /125559s029s030lbl.pdf; Novartis Pharmaceuticals Corporation, Leqvio® (package insert), at 1, (last
 visited May 25, 2022), https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/214012lbl.pdf.
 1285128
        See Response of Amicus Curiae Practitioners Who Currently Treat Patients with Praluent in
 Support of Appellants’ Motion for Stay Pending Appeal at 8, filed in Sanofi v. Amgen, Inc., No. 17-1480
 (Fed. Cir. Jan. 24, 2017), ECF No. 40.
       E.g., id. at 7 (“[T]here is a lack of any reliable research indicating that their patients taking Praluent
 1296129

 will actually respond to Repatha”).
 127130
        See PCSK9 Therapy: An Example of Value-Based Care, Express Scripts (May 1, 2018),
 https://www.express-scripts.com/corporate/articles/pcsk9-therapy-example-value-based-care.


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 And it will have the same harmful anticompetitive effects across countless other therapeutic

 classes if left unchecked.

                                     CLAIMS FOR RELIEF

                     Count One: Monopolization of the PCSK9i Market and
                      Pharmacy-Dispensed PCSK9i Sub-Market Through
                     Bundling in Violation of Section 2 of the Sherman Act

         160.    142. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

         161.    143. Section 2 of the Sherman Act prohibits the monopolization of any part of the

 trade or commerce among the several States. 15 U.S.C. § 2.

         162.    144. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two such PCSK9

 inhibitors approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor

 was approved by the FDA in December 2021 (Leqvio®), it is not a meaningful competitive

 constraint on Repatha® and Praluent®. In response to a small but significant and non-transitory

 increase in the price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully

 switch to any other product or treatment.

         163.    145. From at least September 2017 until now, Amgen possessed monopoly power

 in the PCSK9i market and the Pharmacy-dispensed PCSK9i sub-market with Repatha®.

 Repatha®’s share of the PCSK9i market by total prescriptions iswas almost 80 percent as of

 February 2022, and a significant portion of the remainder corresponded to CVS/Zinc




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 Commercial, which went Repatha®-exclusive in July 2023.             Significant and substantial

 commercial, developmental, regulatory, and other barriers insulate the PCSK9i market, and

 especially the Pharmacy-dispensed PCSK9i sub-market, from new entry and expansion.

        164.    146. Amgen unlawfully maintained and entrenched its monopoly power in the

 PCSK9i market through an anticompetitive bundling scheme. Specifically, Amgen purposely

 and knowingly bundled its sales of Otezla®, Enbrel®, and Repatha® in a unified portfolio rebate

 offer to require that Third-Party Payors exclude Praluent® in order to obtain highly valuable and

 lucrative product rebates on the wholly unrelated Otzela® and Enbrel® products, which possess

 monopoly power and market power, respectively, in the relevant markets. Amgen leverages

 these unrelated and much larger products from its portfolio to exclude Praluent® through a

 bundled rebate offer to Third-Party Payors that cannot be matched by Regeneron, which lacks

 comparable products to Otezla® and Enbrel®, and is unable to match Amgen’s rebates given the

 relatively more limited size of Regeneron’s product portfolio and the distribution channels for

 those products.

        165.    147. By conditioning rebates for its combination of blockbuster drugs Otezla® and

 Enbrel® upon Repatha® exclusivity or de facto exclusivity on Third-Party formularies, Amgen

 was able to hinder and artificially limit competition in the PCSK9i market from Praluent®. The

 effect of Amgen’s conduct has been to forecloseis that Praluent® from at least 50 percent ofis

 now substantially foreclosed from the PCSK9i market and Pharmacy-dispensed PCSK9i sub-

 marketwith no coverage on the majority of the formularies of the three largest Third-Party

 Payors, and the Third-Party Payors who follow their formularies, who collectively cover 80

 percent of all insured lives in the United States. The degree of foreclosure resulting from

 Amgen’s conduct is even greater due to negative “spillover” effects at the Payor and prescriber




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 levels, consolidation among PBMs, and coordination of formulary decision-making between

 Commercial and Part D plans. Because Third-Party Payors serve as the gateway for distribution

 and sale of PCSK9 inhibitors to patients, the Third-Party Payors’ selection of coverage for

 Repatha® over Praluent® forces patients and providers to choose Repatha® over Praluent®.

        166.    148. Given that Repatha®’s net price has not been lowered due to the bundled

 rebates offered to Third-Party Payors, Amgen’s pricing for Repatha® is not the clearly

 predominant means by which it forecloses competition in the PCSK9i market and Pharmacy-

 dispensed PCSK9i sub-market. Amgen forecloses competition by bundling Repatha® with

 Otezla® and Enbrel®—substantially larger products from unrelated classes where Regeneron has

 no drugs that compete for the same indications and no way to match Amgen’s rebates given

 Regeneron’s current and future drug portfolio and distribution channels.                Amgen’s

 anticompetitive conduct is designed and intended to cement its existing monopoly in the PCKS9i

 market and Pharmacy-dispensed PCSK9i sub-market by leveraging significant and coercive

 rebates for Otezla® and Enbrel® that Payors must take, thereby leaving Payors with no viable

 choice but to exclude Praluent® from their formularies.

        167.    149. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property and harmed competition in the PCSK9i market and Pharmacy-dispensed

 PCSK9i sub-market. The anticompetitive effect of Amgen’s scheme is amplified by spillover

 effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

 sales force across its much larger portfolio of drug products to make even equal formulary

 coverage achieved by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive

 for Repatha®. As a result, Regeneron has suffered and will continue to suffer injury to its

 business or property, including lost sales, business opportunities, and ability to recoup the




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 significant investments spent on the development and U.S. commercialization of Praluent®.

 Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the

 dominant product in the PCSK9i market, and the only product in the Pharmacy-dispensed

 PCSK9i sub-market.

            168.    150. Regeneron’s injuries are of the type that the U.S. antitrust laws are intended

 to prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of

 the Sherman Act. Amgen has acknowledged that competition between Repatha® and Praluent®

 is a key driver of pricing in the PCSK9i market.128 131 Additionally, there are serious medical

 risks and costs of forcing tens or even hundreds of thousands of Praluent® patients to switch to

 Repatha®. Without Praluent® as a viable competitor, patients would be worse off with reduced

 choice in the PCSK9i market and increased prices for Repatha®.

            169.    151. Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as

 well as attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15

 and 26.

                   Count Two: Attempted Monopolization of the PCSK9i Market and
                          Pharmacy-Dispensed PCSK9i Sub-Market Through
                         Bundling in Violation of Section 2 of the Sherman Act

            170.    152. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

            171.    153. Section 2 of the Sherman Act prohibits the monopolization of any part of the

 trade or commerce among the several States. 15 U.S.C. § 2.




 128131
          See PI Motion at 6–9.


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        172.    154. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.”        For many years, there were only two PCSK9

 inhibitors approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor

 was approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

        173.    155. Amgen’s bundled rebate scheme constitutes anticompetitive conduct taken

 with the specific intent to monopolize the PCSK9i market and Pharmacy-dispensed PCSK9i sub-

 market in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. Specifically, Amgen

 purposely and knowingly bundled its sales of Otezla®, Enbrel®, and Repatha® to require that

 Third-Party Payors provide exclusivity to Repatha®—and exclude Praluent®—in order to obtain

 highly valuable and lucrative product rebates on the wholly unrelated Otzela® and Enbrel®

 products. By exploiting its leverage from the combination of blockbuster drugs Otezla® and

 Enbrel®—which possess monopoly power and market power, respectively, in the relevant

 markets—Amgen was able to hinder and artificially limit competition in the PCSK9i market

 from Praluent®. Amgen leverages these unrelated and much larger products from its portfolio to

 exclude Praluent® through a bundled rebate offer to Third-Party Payors that cannot be matched

 by Regeneron, which lacks comparable products to Otezla® and Enbrel®, and is unable to match




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 Amgen’s rebates given the relatively more limited size of Regeneron’s product portfolio and the

 distribution channels for those products.

        174.    156. The effect of Amgen’s conduct has been to forecloseis that Praluent® from

 at least 50 percent ofis now substantially foreclosed from the PCSK9i market with no coverage

 on the majority of the formularies of the three largest Third-Party Payors, and the Third-Party

 Payors who follow their formularies, who collectively cover 80 percent of all insured lives in the

 United States. The degree of foreclosure resulting from Amgen’s conduct is even greater due to

 negative “spillover” effects at the Payor and prescriber levels, consolidation among PBMs, and

 coordination of formulary decision-making between Commercial and Part D plans.           Because

 Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to patients,

 the purchasers’ selection of coverage of Repatha® over Praluent® forces patients and providers to

 choose Repatha® over Praluent®.

        175.    157. Given that Repatha®’s net price has not been lowered due to the bundled

 rebates offered to Third-Party Payors, pricing for Repatha® is not the clearly predominant means

 by which Amgen’s bundled rebate scheme forecloses competition in the PCSK9i market and the

 Pharmacy-dispensed PCSK9i sub-market. Amgen forecloses competition by bundling Repatha®

 with Otezla® and Enbrel®—substantially larger products from unrelated classes where

 Regeneron has no drugs that compete for the same indications and no way to match Amgen’s

 rebates given Regeneron’s current and future drug portfolio and distribution channels. Amgen’s

 anticompetitive conduct is designed and intended to cement its existing monopoly in the PCKS9i

 market by leveraging significant and coercive rebates for Otezla® and Enbrel® that Payors must

 take, thereby leaving Payors with no viable choice but to exclude Praluent® from their

 formularies.




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        176.    158. Amgen has acted with the specific intent to monopolize the PCSK9i market

 and Pharmacy-dispensed PCSK9i sub-market in violation of Section 2 of the Sherman Act, 15

 U.S.C. § 2. Since Praluent®’s and Repatha®’s U.S. launches in 2015, Amgen has repeatedly

 attempted to block Praluent® from competing in the PCSK9i market, including by trying, and

 failing, to exclude Praluent® from the market under U.S. patent law and utilizing its sales force to

 spread misleading facts about Praluent®. Having failed in its previous attempts to rid Repatha®

 of competition from Regeneron’s Praluent®—the only competition Amgen faces in the

 Pharmacy-dispensed PCSK9i sub-market—Amgen has turned to an unlawful bundled rebate

 scheme to cement its monopoly position.

        177.    159. There is a dangerous probability that Amgen will succeed in monopolizing

 the PCSK9i market and the Pharmacy-dispensed PCSK9i sub-market by eliminating competition

 from Praluent®. Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the

 dominant product in the PCSK9i market, and the only product in the Pharmacy-dispensed

 PCSK9i market. If Amgen coerces another key Third-Party Payor to exclude Praluent® from its

 formulary, foreclosure will be well above 50 percent and it could be fatal to Praluent®, forcing

 Regeneron to consider investing its resources elsewhere with an exit from the PCSK9i market

 altogether or some other significant scaling back of the product.

        178.    160. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. The anticompetitive effect of Amgen’s scheme is amplified by spillover

 effects at the Third-Party Payor and prescriber levels, as well as Amgen’s ability to leverage its

 much larger sales force across its portfolio of drug products to make even equal formulary

 coverage achieved by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive




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 for Repatha®. As a result, Regeneron has suffered and will continue to suffer injury to its

 business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®.

 Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the

 dominant product in the PCSK9i market, and the only product in the Pharmacy-dispensed

 PCSK9i sub-market.

            179.    161. Regeneron’s injuries are of the type that the U.S. antitrust laws are intended

 to prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of

 the Sherman Act, 15 U.S.C. § 2. Amgen has acknowledged that competition between Repatha®

 and Praluent® is a key driver of pricing in the PCSK9i market.129         132
                                                                                 Additionally, there are

 serious medical risks and costs of forcing tens or even hundreds of thousands of Praluent®

 patients to switch to Repatha®. Without Praluent® as a viable competitor, patients would be

 worse off with reduced choice in the PCSK9i market and increased prices for Repatha®.

            180.    162. Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as

 well as attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15

 and 26.

                       Count Three: Monopolization of the PCSK9i Market and
                         Pharmacy-Dispensed PCSK9i Sub-Market Through
                    Below-Cost Pricing in Violation of Section 2 of the Sherman Act

            181.    163. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.




 129132
          See PI Motion at 6–9.


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        182.    164. Section 2 of the Sherman Act prohibits the attempted monopolization of any

 part of the trade or commerce among the several States. 15 U.S.C. § 2.

        183.    165. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

        184.    166. From at least September 2017 until now, Amgen possessed monopoly power

 in the PCSK9i market with Repatha®.        Repatha®’s share of the PCSK9i market by total

 prescriptions is approximately 80 percent as of February 2022. Significant and substantial

 commercial, developmental, regulatory, and other barriers insulate the PCSK9i market from new

 entry and expansion.

        185.    167. Amgen unlawfully maintained and entrenched its monopoly power in the

 PCSK9i market by using a below-cost offer for Repatha® to secure exclusivity, or de facto

 exclusivity, for Repatha® and exclude Praluent® from the formularies of Third-Party Payors. For

 example, Amgen conditioned rebates of $210 million over two years and four months—about

 $90 million per year—on a three-product bundle consisting of Otezla®, Enbrel® and Repatha®.

 As explained in more detail above, after allocating the entirety of Amgen’s bundled rebates to




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 Repatha®, Amgen is pricing Repatha® below an appropriate measure of its costs.            Upon

 information and belief, Amgen has used and is using a below-cost offer for Repatha® to secure

 exclusivity or de facto exclusivity for Repatha®, and exclude Praluent® from the formularies of

 other Third-Party Payors. Amgen’s below-cost prices cannot be matched by Regeneron unless it

 sells Praluent® below cost.

        186.    168. The effect of Amgen’s conduct has been to foreclose Praluent® from at least

 50 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is

 even greater than the absolute portion of the market from which Praluent® has been foreclosed

 due to negative “spillover” effects at the Payor and prescriber levels, consolidation among

 PBMs, and coordination of formulary decision-making between Commercial and Part D plans.

 Because Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to

 patients, the purchasers’ selection of coverage for Repatha® over Praluent® forces patients and

 providers to choose Repatha® over Praluent®.

        187.    169. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property, and harmed competition by foreclosing Regeneron from at least 50

 percent of the PCSK9i market. The anticompetitive effect of Amgen’s scheme is amplified by

 spillover effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its

 much larger sales force across its portfolio of drug products to make even equal formulary

 coverage achieved by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive

 for Repatha®. As a result, Regeneron has suffered and will continue to suffer injury to its

 business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®.




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             188.    170. Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical

 mass of market share necessary to compete for access and remain viable. This has the effect of

 entrenching Repatha® as the dominant product in the PCSK9i market, and the only product in the

 Pharmacy-dispensed PCSK9i sub-market, with no constraint on Amgen’s ability to control and

 raise prices going forward, as well as allowing Amgen to recoup its investment from its

 anticompetitive bundling scheme.

             189.    171. Regeneron’s injuries are of the type that the U.S. antitrust laws are intended

 to prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of

 the Sherman Act, 15 U.S.C. § 2. Amgen has acknowledged that competition between Repatha®

 and Praluent® is a key driver of pricing in the PCSK9i market.130           133
                                                                                   Additionally, there are

 serious medical risks and costs of forcing tens or even hundreds of thousands of Praluent®

 patients to switch to Repatha®. Without Praluent® as a viable competitor, patients would be

 worse off with reduced choice in the PCSK9i market and increased prices for Repatha®.

             190.    172. Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as

 well as attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15

 and 26.

                   Count Four: Attempted Monopolization of the PCSK9i Market
                          and Pharmacy-Dispensed PCSK9i Sub-Market
               Through Below-Cost Pricing in Violation of Section 2 of the Sherman Act

             191.    173. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

             192.    174. Section 2 of the Sherman Act prohibits the attempted monopolization of any

 part of the trade or commerce among the several States. 15 U.S.C. § 2.


 1330133
           See id.


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        193.    175. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

        194.    176. Amgen’s below-cost pricing scheme constitutes anticompetitive conduct

 taken with the specific intent to monopolize the PCSK9i market in violation of Section 2 of the

 Sherman Act, 15 U.S.C. § 2. Specifically, Amgen conditioned rebates of $210 million over two

 years and four months—about $90 million per year—on a three-product bundle consisting of

 Otezla®, Enbrel® and Repatha®. As explained in more detail above, after allocating the entirety

 of Amgen’s bundled rebates to Repatha®, Amgen is pricing Repatha® below an appropriate

 measure of its costs. Upon information and belief, Amgen has used and is using a below-cost

 offer for Repatha® to secure exclusivity or de facto exclusivity for Repatha® and exclude

 Praluent® from the formularies of other Third-Party Payors. Amgen’s below-cost prices cannot

 be matched by Regeneron unless it sells Praluent® below cost.

        195.    177. The effect of Amgen’s conduct has been to foreclose Praluent® from at least

 50 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is

 even greater than the absolute portion of the market from which Praluent® has been foreclosed




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 due to negative “spillover” effects at the Payor and prescriber levels, consolidation among

 PBMs, and coordination of formulary decision-making between Commercial and Part D plans.

 Because Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to

 patients, the purchasers’ selection of coverage for Repatha® over Praluent® forces patients and

 providers to choose Repatha® over Praluent®.

        196.   178. Amgen has acted with the specific intent to monopolize the PCSK9i market

 and Pharmacy-dispensed PCSK9i sub-market in violation of Section 2 of the Sherman Act, 15

 U.S.C. § 2. Since Praluent®’s and Repatha®’s U.S. launch in 2015, Amgen has repeatedly

 attempted to block Praluent® from competing in the PCSK9i market. First, Amgen attempted,

 and failed, to exclude Praluent® from the market under U.S. patent law. Amgen then utilized its

 sales force to spread misleading facts regarding Praluent®’s safety and availability. Having

 failed in its previous attempts rid Repatha® of competition from Regeneron’s Praluent®—the

 only competition Amgen faces in the PCSK9i market—Amgen next turned to an unlawful

 bundled rebate scheme to cement its monopoly position.

        197.   179. There is a dangerous probability that Amgen will succeed in monopolizing

 the PCSK9i market by eliminating Praluent®. Amgen’s conduct is pushing Praluent® below a

 critical mass of market share necessary to compete for access and remain viable, thereby

 entrenching Repatha® as the dominant product in the PCSK9i market, and the only product in the

 Pharmacy-dispensed PCSK9i sub-market. If Amgen coerces another key Payor to exclude

 Praluent® from its formulary, foreclosure will be well above 50 percent and it could be fatal to

 Praluent® forcing Regeneron to consider investing its resources elsewhere with an exit from the

 PCSK9i market altogether or some other significant scaling back of the product.




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            198.    180. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. The anticompetitive effect of Amgen’s scheme is amplified by spillover

 effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

 sales force across its portfolio of drug products to make even equal formulary coverage achieved

 by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive for Repatha®. As a

 result, Regeneron has suffered and will continue to suffer injury to its business or property,

 including lost sales, business opportunities, and ability to recoup the significant investments

 spent on the development and U.S. commercialization of Praluent®. Most harmful of all,

 Amgen’s conduct is pushing Praluent® below a critical mass of market share necessary to

 compete for access and remain viable, thereby entrenching Repatha® as the dominant product in

 the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-market, with

 no constraint on Amgen’s ability to control and raise prices going forward, as well as allowing

 Amgen to recoup its investment from its anticompetitive bundling scheme.

            199.    181. Regeneron’s injuries are of the type that the U.S. antitrust laws are intended

 to prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 2 of

 the Sherman Act, 15 U.S.C. § 2. Amgen has acknowledged that competition between Repatha®

 and Praluent® is a key driver of pricing in the PCSK9i market.131         134
                                                                                 Additionally, there are

 serious medical risks and costs of forcing tens or even hundreds of thousands of Praluent®

 patients to switch to Repatha®. Without Praluent® as a viable competitor, patients would be

 worse off with reduced choice in the PCSK9i market and increased prices for Repatha®.




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           200.   182. Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as

 well as attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15

 and 26.

                             Count Five: Unreasonable Restraint of Trade
                             in Violation of Section 1 of the Sherman Act

           201.   183. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

           202.   184. Section 1 of the Sherman Act prohibits “[e]very contract, combination in the

 form of trust or otherwise, or conspiracy, in restraint of trade or commerce among the several

 States.” 15 U.S.C. § 1.

           203.   185. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

           204.   186. Amgen has entered into agreements with at least ESI Commercial, ESI Part

 D, and UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned

 and tied the availability of rebates for Otezla® and Enbrel® upon exclusive or de facto exclusive

 formulary coverage for the purchase Repatha®. These three products are separate and sold in



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 distinct markets, and doctors prescribe each of them to treat different medical conditions and

 serve different patient preferences. Each agreement between Amgen and the Third-Party Payors

 that tied rebates for Otezla® and Enbrel® to Repatha® is an unreasonable restraint of trade that

 was entered into in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        205.    187. Specifically, Amgen used a three-product bundle consisting of Otezla®,

 Enbrel®, and Repatha® to condition drug formulary exclusivity for Repatha®. Amgen’s conduct

 unlawfully excluded Praluent® from competing for formulary access in the PCSK9i market by

 tying Repatha® exclusivity to coercive rebates for much larger products in other drug classes

 where Regeneron has no drugs that compete for the same indications.

        206.    188. Otezla® possesses monopoly power in the U.S. market for orally ingested

 drug products approved by the FDA for the treatment of moderate-to-severe psoriasis. Enbrel® is

 Amgen’s largest product and possesses market power in the rheumatoid arthritis market.

 Amgen’s scheme excludes Praluent® through a bundled rebate offer to Third-Party Payors that

 cannot be matched by Regeneron, which lacks comparable products to Otezla® and Enbrel®, and

 is unable to match Amgen’s rebates.

        207.    189. The effect of Amgen’s conduct has been to foreclose Praluent® from at least

 50 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is

 even greater than the absolute portion of the market from which Praluent® has been foreclosed

 due to negative “spillover” effects at the Payor and prescriber levels, consolidation among

 PBMs, and coordination of formulary decision-making between Commercial and Part D plans.

 Because Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to

 patients, the Third-Party Payors’ selection of coverage for Repatha® over Praluent® forces

 patients and providers to choose Repatha® over Praluent®.




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            208.    190. The threat of increased prices for Otezla® and Enbrel® leaves Third-Party

 Payors like ESI, CVS and UHC/Optum with no choice but to accept Amgen’s demands for

 favorable formulary positioning for Repatha®. Even if Regeneron offered a lower price for the

 PCSK9i market with competitive single-product rebate offers, as it has done, those savings do

 not and cannot offset the increased prices for Otezla® and Enbrel® that Amgen leverages to block

 such competitive single-product offers.

            209.    191. Amgen’s unlawful agreements have directly and proximately caused injury

 to Regeneron’s business and property. As a result, Regeneron has suffered and will continue to

 suffer injury to its business or property, including lost sales, business opportunities, and ability to

 recoup the significant investments spent on the development and U.S. commercialization of

 Praluent®. Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of

 market share necessary to compete for access and remain viable, thereby entrenching Repatha®

 as the dominant product in the PCSK9i market, and the only product in the Pharmacy-dispensed

 PCSK9i sub-market.

            210.    192. Regeneron’s injuries are of the type that the U.S. antitrust laws are intended

 to prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 1 of

 the Sherman Act, 15 U.S.C. § 1. Amgen has acknowledged that competition between Repatha®

 and Praluent® is a key driver of pricing in the PCSK9i market.132         135
                                                                                 Additionally, there are

 serious medical risks and costs of forcing tens or even hundreds of thousands of Praluent®

 patients to switch to Repatha®. Without Praluent® as a viable competitor, patients would be

 worse off with reduced choice in the PCSK9i market and increased prices for Repatha®.




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           See PI Motion at 6–9.


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           211.   193. Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as

 well as attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15

 and 26.

                        Count Six: Sale on Condition to Exclude Praluent®
                           in Violation of Section 3 of the Clayton Act

           212.   194. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

           213.   195. Section 3 of the Clayton Act prohibits the sale or contract for sale of goods

 on the condition, agreement or understanding that the purchaser shall not use or deal in the goods

 of a competitor of the seller “where the effect of such lease, sale, or contract for sale or such

 condition, agreement, or understanding may be to substantially lessen competition or tend to

 create a monopoly in any line of commerce.” 15 U.S.C. § 14.

           214.   196. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

           215.   197. Amgen has entered into agreements with at least ESI Commercial, ESI Part

 D, and UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned



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 and tied the availability of rebates for Otezla® and Enbrel® upon exclusive, or de facto, exclusive

 formulary coverage for the purchase of Repatha®. These three products are separate and sold in

 distinct markets, and doctors prescribe each of them to treat different medical conditions and

 serve different patient preferences. Each agreement between Amgen and the Third-Party Payors

 that tied rebates for Otezla® and Enbrel® to Repatha®, is a contract for sale of goods on the

 condition, agreement or understanding that the purchaser shall not use or deal in the goods of a

 competitor of the seller and was entered into in violation of Section 3 of the Clayton Act, 15

 U.S.C. § 14.

        216.    198. Specifically, Amgen used a three-product bundle—consisting of Otezla®,

 Enbrel®, and Repatha®—to condition drug formulary exclusivity for Repatha®. Amgen’s conduct

 unlawfully excluded Praluent® from competing for formulary access in the PCSK9i market by

 tying Repatha® exclusivity to coercive rebates for much larger products in other drug classes

 where Regeneron has no drugs that compete for the same indications. Amgen’s agreements with

 Third-Party Payors govern the terms of sale for Otezla®, Enbrel® and Repatha®, to consumers

 and thus relate to the sale of goods under Section 3 of the Clayton Act, 15 U.S.C. § 14.

        217.    199. Otezla® possesses monopoly power in the U.S. market for orally ingested

 drug products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

 Amgen’s third largest product, generating $1.79 billion in 2020. Enbrel® is Amgen’s largest

 product with $4.85 billion in U.S. net sales in 2020, and possesses market power in the

 rheumatoid arthritis market. By comparison, Repatha® generated $459 million in U.S. net sales

 in 2020. Amgen’s scheme leverages this enormous gap in sales to exclude Praluent® through a

 bundled rebate offer to Third-Party Payors that cannot be matched by Regeneron.




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        218.    200. The effect of Amgen’s conduct has been to substantially lessen competition

 or tend to create a monopoly in the PCSK9i market by foreclosing Praluent® from at least 50

 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is

 even greater than the absolute portion of the market from which Praluent® has been foreclosed

 due to negative “spillover” effects at the Payor and prescriber levels, consolidation among

 PBMs, and coordination of formulary decision-making between Commercial and Part D plans.

 Because Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to

 patients, the purchasers’ selection of certain coverage of Repatha® over Praluent® chooses for

 patients and providers whether Praluent® is available as an option.

        219.    201. The threat of increased prices for Otezla® and Enbrel® leaves Third-Party

 Payors with no choice but to accept Amgen’s demands for favorable formulary positioning for

 Repatha®. Even if Regeneron offered a lower price for the PCSK9i market with competitive

 single-product rebate offers, as it has done, those savings would not offset the increased prices

 for Otezla® and Enbrel® that Amgen leverages to block such competitive single-product offers.

        220.    202. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. The anticompetitive effect of Amgen’s scheme is amplified by spillover

 effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

 sales force across its portfolio of drug products to make even equal formulary coverage de facto

 exclusive for Repatha®. As a result, Regeneron has suffered and will continue to suffer injury to

 its business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®.

 Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the




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 dominant product in the PCSK9i market, and the only product in the Pharmacy-dispensed

 PCSK9i sub-market.

             221.    203. Regeneron’s injuries are of the type that the U.S. antitrust laws are intended

 to prohibit, and flow directly from Amgen’s anticompetitive conduct in violation of Section 3 of

 the Clayton Act, 15 U.S.C. § 14. Amgen has acknowledged that competition between Repatha®

 and Praluent® is a key driver of pricing in the PCSK9i market.133          136
                                                                                  Additionally, there are

 serious medical risks and costs of forcing tens or even hundreds of thousands of Praluent®

 patients to switch to Repatha®. Without Praluent® as a viable competitor, patients would be

 worse off with reduced choice in the PCSK9i market and increased prices for Repatha®.

             222.    204. Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as

 well as attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15

 and 26.

               Count Seven: Violation of California’s Unfair Competition Law (“UCL”),
                                Cal. Bus. & Prof. Code § 17200 et seq.

             223.    205. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

             224.    206. California Business and Professions Code Section 17200, which is part of

 California’s Unfair Competition Law, prohibits any person engaged in business in California

 from engaging in “any unlawful, unfair or fraudulent business act or practice.”

             225.    207. Amgen is engaged in business in California, and has provided or offered to

 provide bundled rebates of its products to customers at below-cost prices to customers in the




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           See id.


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 United States for the purposes of injuring Regeneron, destroying fair competition in the PCSK9i

 market, and maintaining monopoly power.

        226.    208. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

        227.    209. From at least September 2017 until now, Amgen possessed monopoly power

 in the PCSK9i market with Repatha®.         Repatha®’s share of the PCSK9i market by total

 prescriptions is approximately 80 percent as of February 2022. Significant and substantial

 commercial, developmental, regulatory, and other barriers insulate the PCSK9i market from new

 entry and expansion.

        228.    210. Amgen unlawfully maintained and entrenched its monopoly power in the

 PCSK9i market though an anticompetitive bundling scheme. Specifically, Amgen purposely and

 knowingly bundled its sales of Otezla®, Enbrel®, and Repatha® to require that Third-Party Payors

 exclude Praluent® outright in order to obtain highly valuable and lucrative product rebates on the

 wholly unrelated Otzela® and Enbrel® products. By conditioning rebates for its combination of

 blockbuster drugs Otezla® and Enbrel® upon Repatha® exclusivity or de facto exclusivity on




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 Third-Party formularies, Amgen was able to hinder and artificially limit competition in the

 PCSK9i market from Praluent®.

        229.   211. Otezla® possesses monopoly power in the U.S. market for orally ingested

 drug products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

 Amgen’s third largest product by U.S. net sales, generating $1.79 billion in 2020. Enbrel® is

 Amgen’s largest product with $4.85 billion in U.S. net sales in 2020, and possesses market

 power in the rheumatoid arthritis market. Amgen leverages these unrelated and much larger

 products from its portfolio to exclude Praluent® through a bundled rebate offer to Third-Party

 Payors that cannot be matched by Regeneron, which lacks comparable products to Otezla® and

 Enbrel® and is unable to match Amgen’s rebates given the relatively more limited size of

 Regeneron’s product portfolio and distribution channels for those products.

        230.   212. The effect of Amgen’s conduct has been to foreclose Praluent® from at least

 50 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is

 even greater than the absolute portion of the market from which Praluent® has been foreclosed

 due to negative “spillover” effects at the Payor and prescriber levels, consolidation among

 PBMs, and coordination of formulary decision-making between Commercial and Part D plans.

 Because Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to

 patients, the Third-Party Payors’ selection of coverage for Repatha® over Praluent® forces

 patients and providers to choose Repatha® over Praluent®.

        231.   213. The threat of increased prices for Otezla® and Enbrel® leaves Third-Party

 Payors like ESI, CVS and UHC/Optum with no choice but to accept Amgen’s demands for

 favorable formulary positioning for Repatha®. Even if Regeneron offered a lower price for the

 PCSK9i market with competitive single-product rebate offers, as it has done, those savings do



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 not and cannot offset the increased prices for Otezla® and Enbrel® that Amgen leverages to block

 such competitive single-product offers.

            232.    214. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property and harmed competition by foreclosing Regeneron from at least 50 percent

 of the PCSK9i market. The anticompetitive effect of Amgen’s scheme is amplified by spillover

 effects at the Payor and prescriber levels, as well as Amgen’s ability to leverage its much larger

 sales force across its portfolio of drug products to make even equal formulary coverage achieved

 by subsidizing PCSK9i rebates using Otezla® and Enbrel® de facto exclusive for Repatha®. As a

 result, Regeneron has suffered and will continue to suffer injury to its business or property,

 including lost sales, business opportunities, and ability to recoup the significant investments

 spent on the development and U.S. commercialization of Praluent®. Most harmful of all,

 Amgen’s conduct is pushing Praluent® below a critical mass of market share necessary to

 compete for access and remain viable, thereby entrenching Repatha® as the dominant product in

 the PCSK9i market, and the only product in the Pharmacy-dispensed PCSK9i sub-market.

            233.    215. Regeneron’s injuries are of the type that the U.S. and California antitrust and

 competition laws are intended to prohibit, flow directly from Amgen’s anticompetitive conduct,

 and is an illegal business practice under the unfair and unlawful prongs in violation California’s

 Unfair Practices Act, Cal. Bus. & Prof. Code § 17200 et seq. Amgen has acknowledged that

 competition between Repatha® and Praluent® is a key driver of pricing in the PCSK9i market.134
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       Additionally, there are serious medical risks and costs of forcing tens or even hundreds of

 thousands of Praluent® patients to switch to Repatha®. Without Praluent® as a viable competitor,




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 patients would be worse off with reduced choice in the PCSK9i market and increased prices for

 Repatha®.

         234.     216. Amgen’s conduct was a substantial factor in causing Regeneron harm.

         235.     217. This conduct is unfair and unlawful as an illegal business practice in

 violation of California’s Unfair Competition Law.

         236.     218. As a result of Amgen’s continuing violation of California’s UCL, Regeneron

 has been and will continue to be damages through the date of trial, for which Regeneron intends

 to seek monetary relief (disgorgement and/or restitution) and injunctive relief as permitted by

 applicable law.

                Count Eight: Violation of California’s Unfair Practices Act (“UPA”),
                              Cal. Bus. & Prof. Code § 17043 et seq.

         237.     219. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

         238.     220. California Business and Professions Code Section 17043, which is part of

 California’s UPA, prohibits any person engaged in business in California from selling or offering

 to sell “any article or product at less than the cost thereof to such vendor, or to give away any

 article or product, for the purpose of injuring competitors or destroying competition.” California

 enacted the UPA “to safeguard the public against the creation or perpetuation of monopolies and

 to foster and encourage competition, by prohibiting unfair, dishonest, deceptive, destructive,

 fraudulent and discriminatory practices by which fair and honest competition is destroyed or

 prevented.” Cal. Bus. & Prof. Code § 17001.

         239.     221. Amgen is engaged in business in California, and has provided or offered to

 provide bundled rebates of its products to customers at below-cost prices to customers in the




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 United States for the purposes of injuring Regeneron, destroying fair competition in the PCSK9i

 market, and maintaining monopoly power.

        240.    222. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

        241.    223. From at least September 2017 until now, Amgen possessed monopoly power

 in the PCSK9i market with Repatha®.         Repatha®’s share of the PCSK9i market by total

 prescriptions is approximately 80 percent as of February 2022. Significant and substantial

 commercial, developmental, regulatory, and other barriers insulate the PCSK9i market from new

 entry and expansion.

        242.    224. Amgen unlawfully maintained and entrenched its monopoly power in the

 PCSK9i market by using a below-cost offer to secure exclusivity or de facto exclusivity for

 Repatha® and exclude Praluent® from the formularies of Third-Party Payors. Specifically,

 Amgen conditioned rebates of $210 million over two years and four months—about $90 million

 per year—on a three-product bundle consisting of Otezla®, Enbrel® and Repatha®. As explained

 in more detail above, after allocating the entirety of Amgen’s bundled rebates to Repatha®,




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 Amgen is pricing Repatha® below an appropriate measure of its costs. Amgen has purposely

 structured its multi-product bundled rebate so that Regeneron cannot match it, or even compete

 with it, unless Regeneron sells Praluent® for a loss.

        243.    225. The purpose of Amgen’s conduct was to injure Regeneron and destroy

 competition in the PCSK9i market in violation of Section 17403 of California’s UPA. Since

 Praluent®’s and Repatha®’s U.S. launch in 2015, Amgen has repeatedly attempted to block

 Praluent® from competing in the PCSK9i market. First, Amgen attempted, and failed, to exclude

 Praluent® from the market under U.S. patent law. Amgen then utilized its sales force to spread

 misleading facts regarding Praluent®’s safety and availability. Having failed in its previous

 attempts to rid Repatha® of competition from Regeneron’s Praluent®—the only competition

 Amgen faces in the PCSK9i market—Amgen next turned to an unlawful bundled rebate scheme

 to cement its monopoly position.

        244.    226. The effect of Amgen’s conduct has been to foreclose Praluent® from at least

 50 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is

 even greater than the absolute portion of the market from which Praluent® has been foreclosed

 due to negative “spillover” effects at the Payor and prescriber levels, consolidation among

 PBMs, and coordination of formulary decision-making between Commercial and Part D plans.

 Because Third-Party Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to

 patients, the purchasers’ selection of coverage for Repatha® over Praluent® forces patients and

 providers to choose Repatha® over Praluent®.

        245.    227. Amgen’s conduct was a substantial factor in causing Regeneron harm.

        246.    228. This conduct is unlawful as an illegal business practice in violation of

 California’s Unfair Practices Act.




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         247.    229. As a result of Amgen’s continuing violation of California’s UPA, Regeneron

 has been and will continue to be damages through the date of trial, for which Regeneron intends

 to seek damages, trebled, and injunctive relief as permitted by applicable law.

                      Count Nine: Violation of California’s Cartwright Act,
                            Cal. Bus. & Prof. Code §§ 16720, 16727

         248.    230. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

         249.    231. California Business and Professions Code Section 16700 et seq., which is

 part of California’s Cartwright Act, prohibits any person engaged in business in California from

 “leas[ing] or mak[ing] a sale or contract for the sale of goods, merchandise, machinery, supplies,

 commodities for use within the State, or [] fix[ing] a price charged therefor, or discount from, or

 rebate upon, such price, on the condition, agreement or understanding that the lessee or

 purchaser thereof shall not use or deal in the goods, merchandise, machinery, supplies,

 commodities, or services of a competitor or competitors of the lessor or seller, where the effect

 of such lease, sale, or contract for sale or such condition, agreement or understanding may be to

 substantially lessen competition or tend to create a monopoly in any line of trade or commerce in

 any section of the State.” Cal. Bus. & Prof. Code § 16727.

         250.    232. Amgen is engaged in business in California, and has provided or offered to

 provide bundled rebates of its products to customers at below-cost prices to customers in the

 United States for the purposes of injuring Regeneron, destroying fair competition in the PCSK9i

 market, and maintaining monopoly power.

         251.    233. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-



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 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

        252.    234. Amgen has entered into agreements with at least ESI Commercial, ESI Part

 D, and UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned

 and tied the availability of rebates for Otezla® and Enbrel® upon exclusive or de facto exclusive

 formulary coverage for Repatha®. These three products are separate and sold in distinct markets,

 and doctors prescribe each of them to treat different medical conditions and serve different

 patient preferences. Each agreement between Amgen and the Third-Party Payors that tied

 rebates for Otezla® and Enbrel®, to Repatha®, is an unreasonable restraint of trade that was

 entered into in violation of California’s Cartwright Act, Cal. Bus. & Prof. Code § 16700 et. seq.

        253.    235. Specifically, Amgen used a three-product bundle—consisting of Otezla®,

 Enbrel®, and Repatha®—to condition drug formulary exclusivity for Repatha®. Amgen’s conduct

 unlawfully excluded Praluent® from competing for formulary access in the PCSK9i market by

 tying Repatha® exclusivity to coercive rebates for much larger products in other drug classes

 where Regeneron has no drugs that compete for the same indications.

        254.    236. Otezla® possesses monopoly power in the U.S. market for orally ingested

 drug products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

 Amgen’s third largest product by U.S. net sales, generating $1.79 billion in 2020. Enbrel® is




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 Amgen’s largest product with $4.85 billion in U.S. net sales in 2020, and possesses market

 power in the rheumatoid arthritis market. Amgen leverages these unrelated and much larger

 products from its portfolio to exclude Praluent® through a bundled rebate offer to Third-Party

 Payors that cannot be matched by Regeneron, which lacks comparable products to Otezla® and

 Enbrel® and is unable to match Amgen’s rebates given the relatively more limited size of

 Regeneron’s product portfolio and distribution channels for those products.

        255.    237. The effect of Amgen’s conduct has been to foreclose Praluent® from at least

 50 percent of the PCSK9i market. The degree of foreclosure resulting from Amgen’s conduct is

 even greater than the absolute portion of the market from which Praluent® has been foreclosed

 due to negative “spillover” effects at the Payor and prescriber levels. Because Third-Party

 Payors serve as the gateway for distribution and sale of PCSK9 inhibitors to patients, the Third-

 Party Payors’ selection of coverage for Repatha® over Praluent® forces patients and providers to

 choose Repatha® over Praluent®.

        256.    238. The threat of increased prices for Otezla® and Enbrel® leaves Third-Party

 Payors like ESI, CVS and UHC/Optum with no choice but to accept Amgen’s demands for

 favorable formulary positioning for Repatha®. Even if Regeneron offered a lower price for the

 PCSK9i market with competitive single-product rebate offers, as it has done, those savings do

 not and cannot offset the increased prices for Otezla® and Enbrel® that Amgen leverages to block

 such competitive single-product offers.

        257.    239. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. As a result, Regeneron has suffered and will continue to suffer injury to

 its business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®.




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 Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the

 dominant product in the PCSK9i market, and the only product in the Pharmacy-dispensed

 PCSK9i sub-market.

            258.    240. Regeneron’s injuries are of the type that the U.S. antitrust laws are intended

 to prohibit, and flow directly from Amgen’s anticompetitive conduct and is an illegal business

 practice in violation of California’s Cartwright Act, Cal. Bus. & Prof. Code § 16700 et. seq.

 Amgen has acknowledged that competition between Repatha® and Praluent® is a key driver of

 pricing in the PCSK9i market.135 138 Additionally, there are serious medical risks and costs of

 forcing tens or even hundreds of thousands of Praluent® patients to switch to Repatha®. Without

 Praluent® as a viable competitor, patients would be worse off with reduced choice in the PCSK9i

 market and increased prices for Repatha®.

            259.    241. Amgen’s conduct was a substantial factor in causing Regeneron harm.

            260.    242. This conduct is unlawful as it an illegal business practice in violation of

 California’s Cartwright Act.

            261.    243. As a result of Amgen’s continuing violation of the California’s Cartwright

 Act, Regeneron has been and will continue to be damages through the date of trial, for which

 Regeneron intends to seek damages, trebled, and injunctive relief as permitted by applicable law.

                           Count Ten: Violation of New York’s Donnelly Act,
                          § 340 of New York’s General Business Law (“GBL”)

            262.    244. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.



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           See PI Motion at 6–9.


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        263.    245. FDA-approved PCSK9 inhibitors that treat certain cardiovascular conditions

 by reducing LDL-C constitute a relevant product market—the “PCSK9i market”—for which the

 United States is the relevant geographic market. Within the PCSK9i market, there is a sub-

 market for PCSK9i inhibitors approved by the FDA that are dispensed through pharmacies—the

 “Pharmacy-dispensed PCSK9i sub-market.” Historically, there were only two PCSK9 inhibitors

 approved in the United States: Repatha® and Praluent®. While a third PCSK9 inhibitor was

 approved by the FDA in December 2021 (Leqvio®), it is not a competitive constraint on

 Repatha® and Praluent®. In response to a small but significant and non-transitory increase in the

 price of PCSK9 inhibitors, U.S. physicians and patients would not meaningfully switch to any

 other product or treatment.

        264.    246. Amgen has entered into agreements with at least ESI Commercial, ESI Part

 D, and UHC/Optum Commercial, and CVS/Zinc Commercial whereby Amgen has conditioned

 and tied the availability of rebates for Otezla® and Enbrel® upon exclusive or de facto exclusive

 formulary coverage for the purchase Repatha®. These three products are separate and sold in

 distinct markets, and doctors prescribe each of them to treat different medical conditions and

 serve different patient preferences. Each agreement between Amgen and the Third-Party Payors

 that tied rebates for Otezla® and Enbrel® to Repatha®, is an unreasonable restraint of trade that

 was entered into in violation of New York’s Donnelly Act, N.Y. Gen. Bus. Law § 340 et seq.

        265.    247. Specifically, Amgen used a three-product bundle—consisting of Otezla®,

 Enbrel®, and Repatha®—to condition drug formulary exclusivity for Repatha®. Amgen’s conduct

 unlawfully excluded Praluent® from competing for formulary access in the PCSK9i market by

 tying Repatha® exclusivity to coercive rebates for much larger products in other drug classes

 where Regeneron has no drugs that compete for the same indications.




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        266.    248. Otezla® possesses monopoly power in the U.S. market for orally ingested

 drug products approved by the FDA for the treatment of moderate-to-severe psoriasis. Otezla® is

 Amgen’s third largest product by U.S. net sales, generating $1.79 billion in 2020. Enbrel® is

 Amgen’s largest product with $4.85 billion in U.S. net sales in 2020, and possesses market

 power in the rheumatoid arthritis market. Amgen’s scheme leverages this enormous gap in sales

 to exclude Praluent® through a bundled rebate offer to Third-Party Payors that cannot be matched

 by Regeneron, which lacks comparable products to Otezla® and Enbrel®, and is unable to match

 Amgen’s rebates given the relatively more limited size of Regeneron’s product portfolio and

 distribution channels for those products.

        267.    249. The effect of Amgen’s conduct has been to substantially lessen competition

 in the PCSK9i market by foreclosing Praluent® from at least 50 percent of the PCSK9i market.

 The degree of foreclosure resulting from Amgen’s conduct is even greater than the absolute

 portion of the market from which Praluent® has been foreclosed due to negative “spillover”

 effects at the Payor and prescriber levels, consolidation among PBMs, and coordination of

 formulary decision-making between Commercial and Part D plans. Because Third-Party Payors

 serve as the gateway for distribution and sale of PCSK9 inhibitors to patients, the purchasers’

 selection of certain coverage of Repatha® over Praluent® chooses for patients and providers

 whether Praluent® is available as an option.

        268.    250. The threat of increased prices for Otezla® and Enbrel® leaves Third-Party

 Payors with no choice but to accept Amgen’s demands for favorable formulary positioning for

 Repatha®. Even if Regeneron offered a lower price for the PCSK9i market with competitive

 single-product rebate offers, as it has done, those savings would not offset the increased prices

 for Otezla® and Enbrel® that Amgen leverages to block such competitive single-product offers.




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             269.    251. Amgen’s conduct has directly and proximately caused injury to Regeneron’s

 business and property. As a result, Regeneron has suffered and will continue to suffer injury to

 its business or property, including lost sales, business opportunities, and ability to recoup the

 significant investments spent on the development and U.S. commercialization of Praluent®.

 Most harmful of all, Amgen’s conduct is pushing Praluent® below a critical mass of market share

 necessary to compete for access and remain viable, thereby entrenching Repatha® as the

 dominant product in the PCSK9i market, and the only product in the Pharmacy-dispensed

 PCSK9i sub-market.

             270.    252. Regeneron’s injuries flow directly from Amgen’s anticompetitive

 agreements in violation of N.Y. Gen. Bus. Law § 340 et seq. Amgen has acknowledged that

 competition between Repatha® and Praluent® is a key driver of pricing in the PCSK9i market,

 allowing Payors to “pit the parties against each other to extract larger and larger rebates” and

 “forc[ing] Amgen to give [] unprecedented concessions.”136 139 Additionally, there are serious

 medical risks and costs of forcing tens or even hundreds of thousands of Praluent® patients to

 switch to Repatha®, which does not offer a lower 75mg dosage like Praluent® and lacks other key

 benefits of Praluent®. Certain high-risk patients will suffer the most because Praluent® is the only

 PCSK9i inhibitor associated with an observed reduction in all-cause mortality and meaningfully

 reduced the risk of death for those patients by 29 percent. Without Praluent® as a viable

 competitor, patients would be worse off with reduced choice in the PCSK9i market and

 increased prices for Repatha®.




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         271.    253. It is appropriate to bring this action under N.Y. Gen. Bus. Law § 340 et seq.

 Amgen’s illegal conduct has substantially affected New York commerce by harming Regeneron,

 a business headquartered in New York with its principal place of business in New York.

         272.    254. Regeneron seeks actual damages, trebled, plus interest, as well as attorneys’

 fees and costs under NY Gen. Bus. Law § 340(5).

         273.    255. As a result of Amgen’s continuing violation of the NY Gen. Bus. Law § 340

 et seq., Regeneron has been and will continue to be damages through the date of trial, for which

 Regeneron intends to seek damages and injunctive relief as permitted by applicable law.

         274.    256. Plaintiffs have complied with the notice requirements of New York’s

 Donnelly Act by sending a letter alerting the state’s Attorney General of this action

 contemporaneous with the filing of this Complaint. N.Y. Gen. Bus. Law § 340 et seq.

           Count Eleven: Tortious Interference with Prospective Business Relations

         275.    257. Regeneron incorporates by reference all of the allegations set forth above as

 if fully set forth below.

         276.    258. At all relevant times, Amgen has had knowledge of Regeneron’s prospective

 business relations with the Third-Party Payors. Amgen has competed against Praluent® for

 formulary access in the PCSK9i market since Praluent® launched in 2015. Until December

 2021, Repatha® and Praluent® were the only two PCSK9 inhibitors approved in the United

 States, so they were the only two PCSK9 inhibitors that Third-Party Payors could possibly be

 referencing in contract negotiations. Amgen thus had knowledge of Regeneron’s business

 relations with Third-Party Payors.

         277.    259. By engaging in the anticompetitive practices set forth above, including

 negotiating and contracting with Third-Party Payors to achieve below-cost pricing, bundling, and




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 tying, and by engaging in other unfair and deceptive practices, Amgen knowingly, intentionally,

 and unjustifiably interfered with actual and identifiable prospective business relations between

 Regeneron and third-party business partners.        Specifically, Amgen acted with a wrongful

 purpose by bundling its sales of Otezla®, Enbrel®, and Repatha® through coercive rebates

 designed to rid the PCSK9i market of Amgen’s competition. Amgen’s significant rebates that

 rendered the effective price of Repatha® below cost made it impossible for Regeneron to

 compete on the merits. In addition, Amgen acted with dishonest, unfair, or improper means by

 utilizing its sales force to spread misleading facts regarding Praluent®’s safety and availability.

        278.    260. But for Amgen’s interference, Regeneron would have received or would

 receive the expected economic advantage from its business relations with Third-Party Payors.

 For example, prior to Amgen’s wrongful and anticompetitive conduct, Regeneron had contracts

 with ESI and, UHC/Optum, and CVS that included Praluent® on their formularies.                   ESI

 acknowledged Praluent® to offer distinctive clinical benefits and described its relationship with

 Regeneron as a proud moment for ESI, providing an “innovative therapy” to its members with an

 “innovative payment model.” But for Amgen’s interference, Regeneron’s business relationship

 would have continued.

        279.    261. Amgen’s interference with Regeneron’s relationships with Third-Party

 Payors has caused and continues to cause damage to Regeneron, including, but not limited to,

 lost revenues, profits, and business volume.

        280.    262. Amgen’s interference with these relationships causes harm to consumers,

 depriving them of a choice between PCSK9 inhibitors and of access to Praluent®.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Regeneron prays:




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         A.     For judgment that:

                (i)      Defendant Amgen’s conduct as stated in this Complaint violates Section 1

 of the Sherman Act, 15 U.S.C. § 1;

                (ii)     Defendant Amgen’s conduct as stated in this Complaint violates Section 2

 of the Sherman Act, 15 U.S.C. § 2;

                (iii)    Defendant Amgen’s conduct as stated in this Complaint violates Section 3

 of the Clayton Act, 15 U.S.C. § 14;

                (iv)     Defendant Amgen’s conduct as stated in this Complaint violates

 California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq.; California’s

 Unfair Practices Act, Cal. Bus. & Prof. Code § 17000, et. seq. California’s Cartwright Act, Cal.

 Bus. & Prof. Code § 16700 et seq.; and New York’s Donnelly Act, N.Y. Gen. Bus. Law § 340 et

 seq.;

                (v)      Defendant Amgen’s conduct as stated in this Complaint constitutes

 tortious interference with prospective business relations;

         B.     For injunctive relief restraining and enjoining Defendant Amgen from continuing

 its unlawful conduct;

         C.     That Defendant Amgen be required to pay to Plaintiff Regeneron:

                (i)      three times the actual damages sustained by Plaintiff as a result of

 Defendant’s Sherman Act and certain state law violations complained of herein;

                (ii)     additional forms of monetary relief, including punitive damages, sustained

 by Plaintiff as a result of Defendant’s state law violations complained of herein;

                (iii)    Plaintiff’s costs, disbursements, expenses, and reasonable attorneys’ fees

 in bringing this action; and




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       D.    For any such other relief that this Court deems just and proper.




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                                        JURY DEMAND

         Pursuant to Federal Rule of Civil Procedure 38(b), Regeneron demands a trial by jury on

 all issues triable by jury.



 Dated: May 27August 18, 20223             By: /s/ David E. Wilks
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                                    Summary report:
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       Style name: Default Style
       Intelligent Table Comparison: Active
       Original filename: [DRAFT] Praluent Complaint WEIL 98059667 62.DOCX
       Modified filename: Regeneron v Amgen - Amended
       Complaint WEIL 99248126 19.docx
       Changes:
       Add                                                    716
       Delete                                                 634
       Move From                                              3
       Move To                                                3
       Table Insert                                           0
       Table Delete                                           0
       Table moves to                                         0
       Table moves from                                       0
       Embedded Graphics (Visio, ChemDraw, Images etc.)       0
       Embedded Excel                                         0
       Format changes                                         0
       Total Changes:                                         1356
